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                 ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                       )
                                       )
 RISE ST. JAMES, et al.,               )
                                       )
       Petitioners,                    )
                                       )
       v.                              )
                                       )
                                               No. 20-1336
                                       )
 U.S. ENVIRONMENTAL                    )       (and consolidated cases)
 PROTECTION AGENCY and                 )
 ANDREW WHEELER, Administrator, )
 U.S. Environmental Protection Agency, )
                                       )
                                       )
       Respondents.
                                       )
                                       )

              FILING OF UNDERLYING AGENCY DECISION

      Environmental Petitioners RISE St. James, Louisiana Bucket Brigade,

Louisiana Environmental Action Network, Texas Environmental Justice Advocacy

Services, Air Alliance Houston, Community In-Power & Development

Association, Clean Air Council, Center for Biological Diversity, Environmental

Integrity Project, and Sierra Club hereby submit the attached copy of the

underlying agency decision from which the petition arises, “National Emission

Standards for Hazardous Air Pollutants: Generic Maximum Achievable Control

Technology Standards Residual Risk and Technology Review for Ethylene

Production,” 85 Fed. Reg. 40,386 (July 6, 2020).
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 DATED:    October 8, 2020             Respectfully submitted,

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                                       Brigade, Louisiana Environmental
                                       Action Network, Texas Environmental
                                       Justice Advocacy Services, Air Alliance
                                       Houston, Community In-Power &
                                       Development Association, Clean Air
                                       Council, Center for Biological
                                       Diversity, Environmental Integrity
                                       Project, and Sierra Club




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                      Attachment
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     ENVIRONMENTAL PROTECTION                                 available only in hard copy form.                     EMACT Ethylene Production MACT
     AGENCY                                                   Publicly available docket materials are               EPA Environmental Protection Agency
                                                              available either electronically through               FTIR Fourier transform infrared
     40 CFR Part 63                                           https://www.regulations.gov/, or in hard                spectrometry
                                                                                                                    gpm gallons per minute
     [EPA–HQ–OAR–2017–0357; FRL–10006–87–                     copy at the EPA Docket Center, WJC                    GMACT Generic Maximum Achievable
     OAR]                                                     West Building, Room Number 3334,                        Control Technology
                                                              1301 Constitution Ave. NW,                            HAP hazardous air pollutant(s)
     RIN 2060–AT02                                            Washington, DC. The Public Reading                    HI hazard index
                                                              Room hours of operation are 8:30 a.m.                 HQ hazard quotient
     National Emission Standards for                          to 4:30 p.m., Eastern Standard Time                   IBR incorporation by reference
     Hazardous Air Pollutants: Generic                        (EST), Monday through Friday. The                     ICR Information Collection Request
     Maximum Achievable Control                               telephone number for the Public                       IFR internal floating roof
     Technology Standards Residual Risk                       Reading Room is (202) 566–1744, and                   km kilometer
     and Technology Review for Ethylene                                                                             kPa kilopascals
                                                              the telephone number for the EPA                      LDAR leak detection and repair
     Production                                               Docket Center is (202) 566–1742.                      LEL lower explosive limit
     AGENCY: Environmental Protection                         FOR FURTHER INFORMATION CONTACT: For                  MACT maximum achievable control
     Agency (EPA).                                            questions about this final action, contact              technology
     ACTION: Final rule.                                      Mr. Andrew Bouchard, Sector Policies                  m3 cubic meter
                                                              and Programs Division (E143–01), Office               Mg/yr megagrams per year
     SUMMARY: This action finalizes the                       of Air Quality Planning and Standards,                MIR maximum individual risk
                                                                                                                    MTVP maximum true vapor pressure
     residual risk and technology review                      U.S. Environmental Protection Agency,                 NAICS North American Industry
     (RTR) conducted for the Ethylene                         Research Triangle Park, North Carolina                  Classification System
     Production source category regulated                     27711; telephone number: (919) 541–                   NESHAP national emission standards for
     under National Emission Standards for                    4036; and email address:                                hazardous air pollutants
     Hazardous Air Pollutants (NESHAP). In                    bouchard.andrew@epa.gov. For specific                 NHVcz net heating value in the combustion
     addition, the U.S. Environmental                         information regarding the risk modeling                 zone gas
     Protection Agency (EPA) is taking final                  methodology, contact Mr. Mark Morris,                 NHVvgnet heating value in the vent gas
     action to correct and clarify regulatory                 Health and Environmental Impacts                      NOCS Notification of Compliance Status
     provisions related to emissions during                   Division (C539–02), Office of Air                     NPDES National Pollutant Discharge
                                                                                                                      Elimination System
     periods of startup, shutdown, and                        Quality Planning and Standards, U.S.
                                                                                                                    NRDC Natural Resources Defense Council
     malfunction (SSM), including removing                    Environmental Protection Agency,                      NTTAA National Technology Transfer and
     general exemptions for periods of SSM,                   Research Triangle Park, North Carolina                  Advancement Act
     adding work practice standards for                       27711; telephone number: (919) 541–                   OMB Office of Management and Budget
     periods of SSM where appropriate, and                    5416; and email address: morris.mark@                 POM polycyclic organic matter
     clarifying regulatory provisions for                     epa.gov. For information about the                    ppm parts per million
     certain vent control bypasses. The EPA                   applicability of the NESHAP to a                      ppmv parts per million by volume
     is also taking final action to revise                    particular entity, contact Ms. Marcia                 PRA Paperwork Reduction Act
     requirements for heat exchange systems;                  Mia, Office of Enforcement and                        PRD pressure relief device(s)
     add monitoring and operational                                                                                 psig pounds per square inch gauge
                                                              Compliance Assurance, U.S.
                                                                                                                    REL reference exposure level
     requirements for flares; add provisions                  Environmental Protection Agency, WJC                  RFA Regulatory Flexibility Act
     for electronic reporting of performance                  South Building, 1200 Pennsylvania Ave.                RTR residual risk and technology review
     test results and other reports; and                      NW, Washington, DC 20460; telephone                   SCAQMD South Coast Air Quality
     include other technical corrections to                   number: (202) 564–7042; and email                       Management District
     improve consistency and clarity. We                      address: mia.marcia@epa.gov.                          SSM startup, shutdown, and malfunction
     estimate that these final amendments                     SUPPLEMENTARY INFORMATION:                            TAC Texas Administrative Code
     will reduce hazardous air pollutants                       Preamble acronyms and                               TCEQ Texas Commission on Environmental
     (HAP) emissions from this source                         abbreviations. We use multiple                          Quality
     category by 29 tons per year (tpy) and                                                                         The Court United States Court of Appeals
                                                              acronyms and terms in this preamble.                    for the District of Columbia Circuit
     reduce excess emissions of HAP from                      While this list may not be exhaustive, to             TOSHI target organ-specific hazard index
     flares by an additional 1,430 tpy.                       ease the reading of this preamble and for             tpy tons per year
     DATES: This final rule is effective on July              reference purposes, the EPA defines the               UMRA Unfunded Mandates Reform Act
     6, 2020. The incorporation by reference                  following terms and acronyms here:                    VCS voluntary consensus standards
     (IBR) of certain publications listed in                  ACC American Chemistry Council                        VOC volatile organic compound(s)
     the rule is approved by the Director of                  APCD air pollution control device                        Background information. On October
     the Federal Register as of July 6, 2020.                 ASME American Society of Mechanical                   9, 2019, the EPA proposed revisions to
     ADDRESSES: The EPA has established a                       Engineers                                           the Generic Maximum Achievable
                                                              BAAQMD Bay Area Air Quality
     docket for this action under Docket ID                     Management District
                                                                                                                    Control Technology (GMACT)
     No. EPA–HQ–OAR–2017–0357. All                            BTF beyond-the-floor                                  Standards NESHAP based on our RTR
     documents in the docket are listed on                    Btu/scf British thermal units per standard            for the Ethylene Production source
     the https://www.regulations.gov/                           cubic foot                                          category. In this action, we are finalizing
     website. Although listed, some                           CAA Clean Air Act                                     decisions and revisions for the rule. We
     information is not publicly available,                   CBI Confidential Business Information                 summarize some of the more significant
     e.g., Confidential Business Information                  CDX Central Data Exchange                             comments we timely received regarding
     (CBI) or other information whose                         CEDRI Compliance and Emissions Data                   the proposed rule and provide our
                                                                Reporting Interface
     disclosure is restricted by statute.                     CFR Code of Federal Regulations                       responses in this preamble. A summary
     Certain other material, such as                          CO2 carbon dioxide                                    of all other public comments on the
     copyrighted material, is not placed on                   CRA Congressional Review Act                          proposal and the EPA’s responses to
     the internet and will be publicly                        EFR external floating roof                            those comments is available in the


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     Summary of Public Comments and                                           (3) for the Ethylene Production source                               Order 13563: Improving Regulation and
     Responses for Risk and Technology                                        category?                                                            Regulatory Review
     Review for Ethylene Production, in                                    D. What are the final rule amendments                                B. Executive Order 13771: Reducing
     Docket ID No. EPA–HQ–OAR–2017–                                           addressing emissions during periods of                               Regulations and Controlling Regulatory
                                                                              SSM?                                                                 Costs
     0357. A ‘‘tracked changes’’ version of                                E. What other changes have been made to                              C. Paperwork Reduction Act (PRA)
     the regulatory language that                                             the NESHAP?                                                       D. Regulatory Flexibility Act (RFA)
     incorporates the changes in this action                               F. What are the effective and compliance                             E. Unfunded Mandates Reform Act
     is available in the docket.                                              dates of the standards?                                              (UMRA)
        Organization of this document. The                               IV. What is the rationale for our final                                F. Executive Order 13132: Federalism
     information in this preamble is                                          decisions and amendments for the                                  G. Executive Order 13175: Consultation
     organized as follows:                                                    Ethylene Production source category?                                 and Coordination With Indian Tribal
                                                                           A. Residual Risk Review for the Ethylene                                Governments
     I. General Information
                                                                              Production Source Category                                        H. Executive Order 13045: Protection of
        A. Does this action apply to me?
                                                                           B. Technology Review for the Ethylene                                   Children From Environmental Health
        B. Where can I get a copy of this document
                                                                              Production Source Category                                           Risks and Safety Risks
          and other related information?
                                                                           C. Amendments Pursuant to CAA Section                                I. Executive Order 13211: Actions
        C. Judicial Review and Administrative
          Reconsideration                                                     112(d)(2) and (d)(3) for the Ethylene                                Concerning Regulations That
     II. Background                                                           Production Source Category                                           Significantly Affect Energy Supply,
        A. What is the statutory authority for this                        D. Amendments Addressing Emissions                                      Distribution, or Use
          action?                                                             During Periods of SSM                                             J. National Technology Transfer and
        B. What is the Ethylene Production source                          E. Technical Amendments to the EMACT                                    Advancement Act (NTTAA) and 1 CFR
          category and how does the NESHAP                                    Standards                                                            part 51
          regulate HAP emissions from the source                         V. Summary of Cost, Environmental, and                                 K. Executive Order 12898: Federal Actions
          category?                                                           Economic Impacts and Additional                                      To Address Environmental Justice in
        C. What changes did we propose for the                                Analyses Conducted                                                   Minority Populations and Low-Income
          Ethylene Production source category in                           A. What are the affected facilities?                                    Populations
          our October 9, 2019, RTR proposal?                               B. What are the air quality impacts?                                 L. Congressional Review Act (CRA)
     III. What is included in this final rule?                             C. What are the cost impacts?
        A. What are the final rule amendments                              D. What are the economic impacts?                                 I. General Information
          based on the risk review for the Ethylene                        E. What analysis of environmental justice
          Production source category?                                         did we conduct?                                                A. Does this action apply to me?
        B. What are the final rule amendments                              F. What analysis of children’s
          based on the technology review for the                              environmental health did we conduct?                             Regulated entities. Categories and
          Ethylene Production source category?                           VI. Statutory and Executive Order Reviews                           entities potentially regulated by this
        C. What are the final rule amendments                              A. Executive Orders 12866: Regulatory                             action are shown in Table 1 of this
          pursuant to CAA section 112(d)(2) and                               Planning and Review and Executive                              preamble.

                            TABLE 1—NESHAP AND INDUSTRIAL SOURCE CATEGORIES AFFECTED BY THIS FINAL ACTION
                                     Source category                                                                                NESHAP                                              NAICS 1 code

     Ethylene Production ...................................................................    GMACT Standards .....................................................................         325110
        1 North American Industry Classification System.




        Table 1 of this preamble is not                                  modacrylic-fibers-carbon-black-                                     by this final rule may not be challenged
     intended to be exhaustive, but rather to                            hydrogen. Following publication in the                              separately in any civil or criminal
     provide a guide for readers regarding                               Federal Register, the EPA will post the                             proceedings brought by the EPA to
     entities likely to be affected by the final                         Federal Register version and key                                    enforce the requirements.
     action for the source category listed. To                           technical documents at this same                                      Section 307(d)(7)(B) of the CAA
     determine whether your facility is                                  website.                                                            further provides that only an objection
     affected, you should examine the                                       Additional information is available on                           to a rule or procedure which was raised
     applicability criteria in the appropriate                           the RTR website at https://                                         with reasonable specificity during the
     NESHAP. If you have any questions                                   www.epa.gov/stationary-sources-air-                                 period for public comment (including
     regarding the applicability of any aspect                           pollution/risk-and-technology-review-                               any public hearing) may be raised
     of this NESHAP, please contact the                                  national-emissions-standards-                                       during judicial review. This section also
     appropriate person listed in the                                    hazardous. This information includes                                provides a mechanism for the EPA to
     preceding FOR FURTHER INFORMATION                                   an overview of the RTR program and                                  reconsider the rule if the person raising
     CONTACT section of this preamble.                                   links to project websites for the RTR                               an objection can demonstrate to the
     B. Where can I get a copy of this                                   source categories.                                                  Administrator that it was impracticable
     document and other related                                          C. Judicial Review and Administrative                               to raise such objection within the period
     information?                                                        Reconsideration                                                     for public comment or if the grounds for
                                                                                                                                             such objection arose after the period for
       In addition to being available in the                                Under the Clean Air Act (CAA)                                    public comment (but within the time
     docket, an electronic copy of this final                            section 307(b)(1), judicial review of this                          specified for judicial review) and if such
     action will also be available on the                                final action is available only by filing a                          objection is of central relevance to the
     internet. Following signature by the                                petition for review in the United States                            outcome of the rule. Any person seeking
     EPA Administrator, the EPA will post a                              Court of Appeals for the District of                                to make such a demonstration should
     copy of this final action at: https://                              Columbia Circuit (the Court) by                                     submit a Petition for Reconsideration to
     www.epa.gov/stationary-sources-air-                                 September 4, 2020. Under CAA section                                the Office of the Administrator, U.S.
     pollution/acetal-resins-acrylic-                                    307(b)(2), the requirements established                             EPA, Room 3000, WJC South Building,


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     1200 Pennsylvania Ave. NW,                               categories or subcategories with fewer                 emissions from ethylene production
     Washington, DC 20460, with a copy to                     than 30 sources). In developing MACT                   units located at major sources. An
     both the person(s) listed in the                         standards, we must also consider                       ethylene production unit is a chemical
     preceding FOR FURTHER INFORMATION                        control options that are more stringent                manufacturing process unit in which
     CONTACT section, and the Associate                       than the floor under CAA section                       ethylene and/or propylene are produced
     General Counsel for the Air and                          112(d)(2). We may establish standards                  by separation from petroleum refining
     Radiation Law Office, Office of General                  more stringent than the floor, based on                process streams or by subjecting
     Counsel (Mail Code 2344A), U.S. EPA,                     the consideration of the cost of                       hydrocarbons to high temperatures in
     1200 Pennsylvania Ave. NW,                               achieving the emissions reductions, any                the presence of steam. The EMACT
     Washington, DC 20460.                                    non-air quality health and                             defines the affected source as all storage
                                                              environmental impacts, and energy                      vessels, ethylene process vents, transfer
     II. Background                                           requirements.                                          racks, equipment, waste streams, heat
     A. What is the statutory authority for                      In the second stage of the regulatory               exchange systems, and ethylene
     this action?                                             process, the CAA requires the EPA to                   cracking furnaces and associated
                                                              undertake two different analyses, which                decoking operations that are associated
        Section 112 of the CAA establishes a
                                                              we refer to as the technology review and               with each ethylene production unit
     two-stage regulatory process to address
                                                              the residual risk review. Under the                    located at a major source as defined in
     emissions of HAP from stationary
                                                              technology review, we must review the                  CAA section 112(a).
     sources. In the first stage, we must
                                                              technology-based standards and revise                    As of January 1, 2017, there were 26
     identify categories of sources emitting
                                                              them ‘‘as necessary (taking into account               facilities in operation and subject to the
     one or more of the HAP listed in CAA                     developments in practices, processes,                  EMACT standards. We are also aware of
     section 112(b) and then promulgate                       and control technologies)’’ no less                    the expansion and construction of
     technology-based NESHAP for those                        frequently than every 8 years, pursuant                several facilities. Based upon this
     sources. ‘‘Major sources’’ are those that                to CAA section 112(d)(6). Under the                    anticipated growth for the Ethylene
     emit, or have the potential to emit, any                 residual risk review, we must evaluate                 Production source category, we estimate
     single HAP at a rate of 10 tpy or more,                  the risk to public health remaining after              that a total of 31 facilities will
     or 25 tpy or more of any combination of                  application of the technology-based                    ultimately be subject to the EMACT
     HAP. For major sources, these standards                  standards and revise the standards, if                 standards and complying with this final
     are commonly referred to as maximum                      necessary, to provide an ample margin                  rule over the course of the next 3 years.
     achievable control technology (MACT)                     of safety to protect public health or to               The source category and the EMACT
     standards and must reflect the                           prevent, taking into consideration costs,              standards are further described in the
     maximum degree of emission reductions                    energy, safety, and other relevant                     October 9, 2019, RTR proposal. See 84
     of HAP achievable (after considering                     factors, an adverse environmental effect.              FR 54278.
     cost, energy requirements, and non-air                   The residual risk review is required
     quality health and environmental                                                                                C. What changes did we propose for the
                                                              within 8 years after promulgation of the               Ethylene Production source category in
     impacts). In developing MACT                             technology-based standards, pursuant to
     standards, CAA section 112(d)(2) directs                                                                        our October 9, 2019, RTR proposal?
                                                              CAA section 112(f). In conducting the
     the EPA to consider the application of                   residual risk review, if the EPA                          On October 9, 2019, the EPA
     measures, processes, methods, systems,                   determines that the current standards                  published a proposed rule in the
     or techniques, including, but not limited                provide an ample margin of safety to                   Federal Register for the EMACT
     to, those that reduce the volume of or                   protect public health, it is not necessary             standards of the GMACT NESHAP, 40
     eliminate HAP emissions through                          to revise the MACT standards pursuant                  CFR part 63, subparts XX and YY, that
     process changes, substitution of                         to CAA section 112(f).1 For more                       took into consideration the RTR
     materials, or other modifications;                       information on the statutory authority                 analyses. We proposed to find that the
     enclose systems or processes to                          for this rule, see 84 FR 54278, October                risks from the source category are
     eliminate emissions; collect, capture, or                9, 2019.                                               acceptable, the current standards
     treat HAP when released from a process,                                                                         provide an ample margin of safety to
     stack, storage, or fugitive emissions                    B. What is the Ethylene Production                     protect public health, and more
     point; are design, equipment, work                       source category and how does the                       stringent standards are not necessary to
     practice, or operational standards; or                   NESHAP regulate HAP emissions from                     prevent an adverse environmental
     any combination of the above.                            the source category?                                   effect. In addition, pursuant to the
        For these MACT standards, the statute                   The Ethylene Production MACT                         technology review for the Ethylene
     specifies certain minimum stringency                     standards (herein called the EMACT                     Production source category, we
     requirements, which are referred to as                   standards) for the Ethylene Production                 proposed that no revisions to the
     MACT floor requirements, and which                       source category are contained in the                   current standards are necessary for
     may not be based on cost                                 GMACT NESHAP which also includes                       ethylene process vents, transfer racks,
     considerations. See CAA section                          MACT standards for several other                       equipment leaks, and waste streams;
     112(d)(3). For new sources, the MACT                     source categories. The EMACT                           however, we did propose changes for
     floor cannot be less stringent than the                  standards were promulgated on July 12,                 storage vessels and heat exchanger
     emission control achieved in practice by                 2002 (67 FR 46258), and codified at 40                 systems. We proposed revisions to the
     the best-controlled similar source. The                  CFR part 63, subparts XX and YY. The                   storage vessels control applicability
     MACT standards for existing sources                      EMACT standards regulate HAP                           requirements, pursuant to CAA section
     can be less stringent than floors for new                                                                       112(d)(6), to tighten both the threshold
     sources, but they cannot be less                           1 The Court has affirmed this approach of            for maximum true vapor pressure
     stringent than the average emission                      implementing CAA section 112(f)(2)(A): NRDC v.         (MTVP) of total organic HAP (i.e.,
     limitation achieved by the best-                         EPA, 529 F.3d 1077, 1083 (DC Cir. 2008) (‘‘If EPA      decreasing it from 3.4 kilopascals (kPa)
                                                              determines that the existing technology-based
     performing 12 percent of existing                        standards provide an ‘ample margin of safety,’ then
                                                                                                                     or greater to 0.69 kPa or greater) and the
     sources in the category or subcategory                   the Agency is free to readopt those standards during   threshold for storage vessel capacity
     (or the best-performing five sources for                 the residual risk rulemaking.’’).                      (i.e., decreasing it from 95 cubic meter


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     (m3) to 59 m3) and to require storage                      • IBR of an alternative test method for             section 112(d)(6) to tighten the control
     vessels meeting these criteria to reduce                 EPA Method 320 (with caveats); and                    applicability thresholds for MTVP of
     emissions of total organic HAP by 98                       • several minor editorial and                       total organic HAP (i.e., decreasing it
     weight-percent or use a floating roof                    technical changes in the subpart.                     from 3.4 kPa or greater to 0.69 kPa or
     storage vessel subject to the                            III. What is included in this final rule?             greater) and storage vessel capacity (i.e.,
     requirements of 40 CFR part 63, subpart                                                                        decreasing it from 95 m3 to 59 m3).
     WW. In addition, we proposed revisions                      This action finalizes the EPA’s                       For heat exchange systems, we
     to the heat exchange system                              determinations pursuant to the RTR                    determined that there are developments
     requirements, pursuant to CAA section                    provisions of CAA section 112 for the                 in practices, processes, and control
     112(d)(6), to require owners or operators                Ethylene Production source category                   technologies that warrant revisions to
     to use the Modified El Paso Method and                   and amends the EMACT standards                        the EMACT standards for this source
     repair leaks of total strippable                         based on those determinations. This                   category. Therefore, to satisfy the
     hydrocarbon concentration (as methane)                   action also finalizes other changes to the            requirements of CAA section 112(d)(6),
     in the stripping gas of 6.2 parts per                    NESHAP, including adding                              we are revising the EMACT standards,
     million by volume (ppmv) or greater.                     requirements and clarifications for                   consistent with the October 9, 2019,
        We also proposed the following                        periods of SSM and bypasses; revisions                RTR proposal, to include revisions to
     amendments:                                              to the operating and monitoring                       the heat exchange system requirements
        • Revisions to the operating and                      requirements for flares used as APCDs;                to require owners or operators to use the
     monitoring requirements for flares used                  adding provisions for electronic                      Modified El Paso Method and repair
     as air pollution control devices                         reporting of performance test results and             leaks of total strippable hydrocarbon
     (APCDs), pursuant to CAA section                         reports, NOCS reports, and Periodic                   concentration (as methane) in the
     112(d)(2) and (3);                                       Reports; and other minor editorial and                stripping gas of 6.2 ppmv or greater. In
        • requirements and clarifications for                 technical changes. This action also                   addition, based on comments received
     periods of SSM and bypasses, including                   reflects several changes to the October 9,            on the proposed rulemaking, we are also
     for pressure relief device(s) (PRD)                      2019 RTR proposal in consideration of                 including an alternative mass-based leak
     releases, bypass lines on closed vent                    comments received during the public                   action level of total strippable
     systems, in situ sampling systems,                       comment period as described in section                hydrocarbon equal to or greater than
     maintenance activities, and certain                      IV of this preamble.                                  0.18 kilograms per hour for heat
     gaseous streams routed to a fuel gas                     A. What are the final rule amendments                 exchange systems with a recirculation
     system, pursuant to CAA section                          based on the risk review for the Ethylene             rate of 10,000 gallons per minute (gpm)
     112(d)(2) and (3);                                       Production source category?                           or less.
        • work practice standards for                                                                                  Section IV.B.3 of this preamble
     decoking ethylene cracking furnaces                         This section describes the final                   provides a summary of key comments
     (i.e., minimizing emissions from the                     amendments to the EMACT standards                     we received on the technology review
     coke combustion activities in an                         being promulgated pursuant to CAA                     and our responses.
     ethylene cracking furnace), pursuant to                  section 112(f). The EPA proposed no
                                                              changes to the EMACT standards based                  C. What are the final rule amendments
     CAA section 112(d)(2) and (3);                                                                                 pursuant to CAA section 112(d)(2) and
        • revisions to the SSM provisions of                  on the risk reviews conducted pursuant
                                                                                                                    (3) for the Ethylene Production source
     the NESHAP (in addition to those                         to CAA section 112(f). In this action, we
                                                              are finalizing our proposed                           category?
     related to flares, vent control bypasses,
     or ethylene cracking furnace decoking                    determination that risks from this                       Consistent with Sierra Club v. EPA
     operations) in order to ensure that they                 source category are acceptable, and that              551 F. 3d 1019 (D.C. Cir. 2008) and the
     are consistent with the Court decision in                the standards provide an ample margin                 October 9, 2019, RTR proposal, we are
     Sierra Club v. EPA, 551 F. 3d 1019 (DC                   of safety to protect public health and                revising monitoring and operational
     Cir. 2008), which vacated two                            prevent an adverse environmental                      requirements for flares to ensure that
     provisions that exempted source owners                   effect. Section IV.A.3 of this preamble               ethylene production facilities that use
     and operators from the requirement to                    provides a summary of key comments                    flares as APCDs meet the EMACT
     comply with otherwise applicable CAA                     we received regarding risk review and                 standards at all times when controlling
     section 112(d) emission standards                        our responses.                                        HAP emissions. In addition, we are
     during periods of SSM;                                                                                         adding provisions and clarifications for
                                                              B. What are the final rule amendments                 periods of SSM and bypasses, including
        • a requirement for electronic                        based on the technology review for the
     submittal of performance test results                                                                          PRD releases, bypass lines on closed
                                                              Ethylene Production source category?                  vent systems, in situ sampling systems,
     and reports, and Notification of
     Compliance Status (NOCS) reports;                           The EPA is finalizing its proposed                 maintenance activities, and certain
        • removal of certain exemptions for                   determination in the technology review                gaseous streams routed to a fuel gas
     once-through heat exchange systems;                      that there are no developments in                     system to ensure that CAA section 112
        • overlap provisions for equipment at                 practices, processes, and control                     standards apply continuously. Also, for
     ethylene production facilities subject to                technologies that warrant revisions to                the same reason, we are adopting the
     both the EMACT standards and                             the EMACT standards for process vents,                proposed decoking operations work
     synthetic organic chemicals                              transfer racks, equipment leaks, and                  practice standards into the final rule
     manufacturing equipment leak                             waste streams in this source category.                with only minor changes, such as
     standards at 40 CFR part 60, subpart                     Therefore, we are not finalizing                      adding delay of repair provisions to the
     VVa;                                                     revisions to the EMACT standards for                  flame impingement inspection
        • IBR of an alternative test method for               these emission sources under CAA                      requirements, adding clarifying text to
     EPA Methods 3A and 3B (for the                           section 112(d)(6). Also, based on                     the carbon dioxide (CO2) monitoring,
     manual procedures only and not the                       comments received on the proposed                     coil outlet temperature monitoring, air
     instrumental procedures);                                rulemaking, we are not finalizing the                 removal, and radiant tube(s) treatment
        • IBR of an alternative test method for               proposed revisions to the EMACT                       requirements, and removing
     EPA Method 18 (with caveats);                            standards for storage vessels under CAA               unnecessary recordkeeping associated


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     with the time each isolation valve                       section 112 standard applies ‘‘at all                 E. What other changes have been made
     inspection is performed and the results                  times.’’ Other than for those specific                to the NESHAP?
     of that inspection even if no problem                    emission points discussed in section                     This rule also finalizes, as proposed,
     was found. For details about these                       III.C of this preamble, the EPA                       revisions to several other NESHAP
     minor changes, refer to Section 6.7 of                   determined that no additional standards               requirements. We describe these
     the document, Summary of Public                          are needed to address emissions during                revisions in this section as well as other
     Comments and Responses for the Risk                      periods of SSM.                                       revisions that have changed since
     and Technology Reviews for the                              We are also finalizing, as proposed,               proposal. To increase the ease and
     Ethylene Production Source Category,                                                                           efficiency of data submittal and data
                                                              eliminating SSM exemptions for waste
     available in the docket for this action.                                                                       accessibility, we are finalizing, as
        Lastly, based on comments received                    streams at facilities with a total annual
                                                              benzene less than 10 megagrams per                    proposed, a requirement that owners
     on the proposed rulemaking, we are
                                                              year (Mg/yr) and amending language in                 and operators of facilities in the
     adding a separate standard for storage
                                                              the definitions of ‘‘dilution steam                   Ethylene Production source category
     vessel degassing for storage vessels
                                                              blowdown waste stream’’ and ‘‘spent                   submit electronic copies of certain
     subject to the control requirements in
                                                              caustic waste stream’’ at 40 CFR                      required performance test results and
     Table 7 to 40 CFR 63.1103(e)(3)(b) and
                                                              63.1082(b) to remove the exclusion for                reports and NOCS reports through the
     (e)(3)(c).
        Section IV.C.3 of this preamble                       streams generated from sampling,                      EPA’s Central Data Exchange (CDX)
     provides a summary of key comments                       maintenance activities, or shutdown                   website using an electronic performance
     we received on the CAA section                           purges. In addition, we are finalizing a              test report tool called the Electronic
     112(d)(2) and (3) provisions and our                     revision to the performance testing                   Reporting Tool. In addition, in the final
     responses.                                               requirements at 40 CFR                                rule, we are correcting an error to clarify
                                                              63.1108(b)(4)(ii)(B). The final                       that Periodic Reports must also be
     D. What are the final rule amendments                    performance testing provisions do not                 submitted electronically (i.e., through
     addressing emissions during periods of                   include the language that precludes                   the EPA’s CDX using the appropriate
     SSM?                                                     startup and shutdown periods from                     electronic report template for this
        We are finalizing the proposed                        being considered ‘‘representative’’ for               subpart) beginning no later than the
     amendments to the EMACT standards to                     purposes of performance testing, and                  compliance dates specified in 40 CFR
     remove and revise provisions related to                  instead allows performance testing                    63.1102(c) or once the report template
     SSM. In its 2008 decision in Sierra Club                 during periods of startup or shutdown if              has been available on the Compliance
     v. EPA, 551 F.3d 1019 (D.C. Cir. 2008),                  specified by the Administrator.                       and Emissions Data Reporting Interface
     the Court vacated portions of two                        However, the final performance testing                (CEDRI) website for at least 1 year,
     provisions in the EPA’s CAA section                      provisions prohibit performance testing               whichever date is later. Furthermore, we
     112 regulations governing the emissions                  during malfunctions because these                     are finalizing, as proposed, provisions
     of HAP during periods of SSM.                            conditions are not representative of                  that allow facility operators the ability
     Specifically, the Court vacated the SSM                  normal operating conditions. The final                to seek extensions for submitting
     exemption contained in 40 CFR                            rule also requires that operators                     electronic reports for circumstances
     63.6(f)(1) and (h)(1), holding that under                maintain records to document that                     beyond the control of the facility, i.e.,
     section 302(k) of the CAA, emissions                     operating conditions during the test                  for a possible outage in the CDX or
     standards or limitations must be                         represent normal operations.                          CEDRI or for a force majeure event in
     continuous in nature and that the SSM                                                                          the time just prior to a report’s due date,
     exemption violates the CAA’s                                The legal rationale and detailed                   as well as the process to assert such a
     requirement that some CAA section 112                    changes for SSM periods that we are                   claim.
     standards apply continuously. As                         finalizing here are set forth in the                     To correct a disconnect between
     detailed in section IV.E.1 of the                        proposed rule. See 84 FR 54278,                       having a National Pollutant Discharge
     proposal preamble, the Ethylene                          October 9, 2019. Also, based on                       Elimination System (NPDES) permit
     Production NESHAP requires that                          comments received during the public                   that meets certain allowable discharge
     standards apply at all times (see 40 CFR                 comment period, we are revising 40 CFR                limits at the discharge point of a facility
     63.1108(a)(4)(i)), consistent with the                   63.1103(e)(9) to sufficiently address the             (e.g., outfall) and being able to
     Court decision in Sierra Club v. EPA,                    SSM exemption provisions from                         adequately identify a leak, we are
     551 F. 3d 1019 (D.C. Cir. 2008). We                      subparts referenced by the EMACT                      finalizing, as proposed, the removal of
     determined that facilities in this source                standards. For example, in addition to                certain exemptions for once-through
     category can generally meet the                          what we proposed, we are also                         heat exchange systems to comply with
     applicable EMACT standards at all                        clarifying that the certain referenced                cooling water monitoring requirements.2
     times, including periods of startup and                  provisions do not apply when                          Further, based on comments received on
     shutdown. As discussed in the proposal                   demonstrating compliance with the                     the proposed rulemaking, we are
     preamble, the EPA interprets CAA                         EMACT standards, such as phrases like                 clarifying that the calibration drift
     section 112 as not requiring emissions                   ‘‘other than a start-up, shutdown, or                 assessment provisions at 40 CFR
     that occur during periods of                             malfunction’’ in the recordkeeping and                60.485a(b)(2) apply only if the owner or
     malfunction to be factored into                          reporting requirements of 40 CFR 63,
     development of CAA section 112                           subparts SS and UU. We are also not                      2 Cooling water from a once-through heat

     standards, although the EPA has the                      removing as proposed the term                         exchange system at a petrochemical plant can be
     discretion to set standards for                          ‘‘breakdowns’’ in 40 CFR 63.998(b)(2)(i)              mixed with other sources of water (e.g., cooling
                                                              as well as 40 CFR 63.998(d)(1)(ii) in its             water used in once-through heat exchange systems
     malfunctions where feasible. Where                                                                             in non-ethylene source categories, stormwater,
     appropriate, and as discussed in section                 entirety.                                             treated wastewater, etc.) in sewers, trenches, and
     III.C of this preamble, we are also                         Section IV.D.3 of this preamble                    ponds prior to discharge from the plant. If this point
                                                                                                                    of discharge from the plant is into a ‘‘water of the
     finalizing alternative standards for                     provides a summary of key comments                    United States,’’ then the facility is required to have
     certain emission points during periods                   we received on the SSM provisions and                 a NPDES permit and to meet certain pollutant
     of SSM to ensure a continuous CAA                        our responses.                                        discharge limits.



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     operator is subject to those requirements                date of the final amendments or upon                  sources, and all new affected sources
     in 40 CFR part 60, subpart VVa [see the                  startup, whichever is later. As explained             that commence construction or
     40 CFR part 60, subpart VVa overlap                      in the preamble to the proposed rule (84              reconstruction after December 6, 2000,
     provisions in the final rule at 40 CFR                   FR 54278, October 9, 2019), the EPA                   and on or before October 9, 2019, is no
     63.1100(g)(4)(iii)].                                     recognizes the confusion that multiple                later than July 6, 2023, or upon startup,
       We are finalizing all of the revisions                 different compliance dates for                        whichever is later. The compliance date
     that we proposed for clarifying text or                  individual requirements would create                  of the final amendments for all ethylene
     correcting typographical errors,                         and the additional burden such an                     production new affected sources that
     grammatical errors, and cross-reference                  assortment of dates would impose; and                 commenced construction or
     errors. These editorial corrections and                  from our assessment of the timeframe                  reconstruction after October 9, 2019, is
     clarifications are summarized in Table 9                 needed for compliance with the entirety               the effective date of these final rule
     of the proposal. See 84 FR 54278,                        of the revised requirements, the EPA                  amendments to the EMACT standards of
     October 9, 2019. We are also including                   considers a period of 3 years after the               July 6, 2020, or upon startup, whichever
     several additional minor clarifying edits                effective date of the final rule to be the            is later.
     in the final rule based on comments                      most expeditious compliance period
     received during the public comment                       practicable. Furthermore, as discussed                IV. What is the rationale for our final
     period. We did not receive many                          in sections III and IV of this preamble,              decisions and amendments for the
     substantive comments on these other                      we are adding separate work practice                  Ethylene Production source category?
     amendments in the Ethylene Production                    standards to the final rule for the                     For each issue, this section provides
     RTR proposal. The comments and our                       following SSM activities/events: (1)                  a description of what we proposed and
     specific responses to these items can be                 Periods of SSM for when flares are used               what we are finalizing for the issue, the
     found in the document, Summary of                        as an APCD, (2) periods of SSM for
                                                                                                                    EPA’s rationale for the final decisions
     Public Comments and Responses for the                    certain vent streams (i.e. PRD releases
                                                                                                                    and amendments, and a summary of key
     Risk and Technology Reviews for the                      and maintenance vents), (3) vent control
     Ethylene Production Source Category,                                                                           comments and responses. For all
                                                              bypasses for certain vent streams (i.e.,
     available in the docket for this action.                                                                       comments not discussed in this
                                                              closed vent systems containing bypass
                                                                                                                    preamble, comment summaries and the
     F. What are the effective and                            lines, in situ sampling systems, and
                                                                                                                    EPA’s responses can be found in the
     compliance dates of the standards?                       flares connected to fuel gas systems),
                                                                                                                    comment summary and response
                                                              and (4) decoking operations for ethylene
        The revisions to the EMACT                                                                                  document available in the docket.
                                                              cracking furnaces. The provisions being
     standards being promulgated in this                      finalized are similar to the requirements             A. Residual Risk Review for the Ethylene
     action are effective on July 6, 2020.                    promulgated in the Petroleum Refinery                 Production Source Category
     From our assessment of the timeframe                     NESHAP. As we discovered during the
     needed for implementing the entirety of                  Petroleum Refinery NESHAP                             1. What did we propose pursuant to
     the revised requirements (see 84 FR                      rulemaking, the challenges faced by                   CAA section 112(f) for the Ethylene
     54278, October 9, 2019), the EPA                         affected sources in complying with                    Production source category?
     proposed a period of 3 years to be the                   these requirements necessitated
     most expeditious compliance period                                                                               Pursuant to CAA section 112(f), the
                                                              additional compliance time from what                  EPA conducted a residual risk review
     practicable. Although opposing                           was promulgated, eventually having to
     comments regarding the proposed                                                                                and presented the results of this review,
                                                              move the original compliance date of                  along with our proposed decisions
     compliance dates were received during                    these provisions from February 1, 2016,
     the public comment period, we are                                                                              regarding risk acceptability and ample
                                                              to August 1, 2018, an additional 2 and                margin of safety, in the October 9, 2019,
     finalizing the 3-year compliance period                  a half years.3 Therefore the 3 year
     as proposed. Amendments to EMACT                                                                               proposed rule for 40 CFR part 63,
                                                              compliance date that was proposed for                 subparts XX and YY (84 FR 54278). The
     standards for adoption under CAA                         the EMACT standards provides a
     sections 112(d)(2) and (3) and 112(d)(6)                                                                       results of the risk assessment for the
                                                              consistent time allowance to affected                 proposal are presented briefly in Table
     are subject to the compliance deadlines                  sources as was needed for Petroleum
     outlined in the CAA under section                                                                              2 of this preamble. More detail is in the
                                                              Refineries to fully implement the work                residual risk technical support
     112(i). For existing sources, CAA                        practice standards. Thus, the
     section 112(i) provides that the                                                                               document, Residual Risk Assessment for
                                                              compliance date of the final                          the Ethylene Production Source
     compliance date shall be as                              amendments for all existing affected
     expeditiously as practicable, but no later                                                                     Category in Support of the 2019 Risk
     than 3 years after the effective date of                   3 https://www.epa.gov/sites/production/files/
                                                                                                                    and Technology Review Proposed Rule,
     the standard. For new sources,                           2018-07/documents/petrefinery_compliance_ext_
                                                                                                                    which is available in the docket for this
     compliance is required by the effective                  factsheet.pdf.                                        rulemaking.




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                                       TABLE 2—ETHYLENE PRODUCTION INHALATION RISK ASSESSMENT RESULTS
                                 Maximum                        Estimated population at                Estimated annual                 Maximum chronic               Maximum
                                 individual                         increased risk of                  cancer incidence                noncancer TOSHI 3              screening
                                cancer risk                     cancer ≥ 1-in-1 million                (cases per year)                                            acute noncancer
                              (in 1 million) 2                                                                                           Based on . . .                  HQ 4
      Number of                                                      Based on . . .                     Based on . . .
      facilities 1           Based on . . .                                                                                                                           Based on
                                                                                                                                    Actual         Allowable
                                                                Actual           Allowable         Actual          Allowable                                           actual
                        Actual            Allowable                                                                                emissions       emissions
                                                               emissions         emissions        emissions        emissions                                          emissions
                       emissions          emissions                                                                                  level            level
                                                                 level              level           level             level                                             level
                         level               level

     31 ............            100                   100     2.8 million ...   4.6 million ...            0.1             0.2                 1               1   HQREL = <1
        1 Number of facilities evaluated in the risk analysis.
        2 Maximum individual excess lifetime cancer risk due to HAP emissions from the source category. There is only one census block, and one person, at this risk
     level.
        3 Maximum target organ-specific hazard index (TOSHI). The target organ systems with the highest TOSHI for the source category are neurological and reproduc-
     tive. The respiratory TOSHI was calculated using the California EPA chronic reference exposure level (REL) for acrolein.
        4 The maximum estimated acute exposure concentration was divided by available short-term threshold values to develop an array of hazard quotient (HQ) values.
     HQ values shown use the lowest available acute threshold value, which in most cases is the REL. When an HQ exceeds 1, we also show the HQ using the next low-
     est available acute dose-response value.


        Using actual emissions data, the                               guideline level, or emergency response                    reduce risk associated with emissions
     results of the proposed inhalation risk                           planning guidelines). In addition, at                     from the source category. We proposed
     assessment, as shown in Table 2 of this                           proposal, we identified emissions of                      that additional emissions controls for
     preamble, indicate the estimated cancer                           arsenic compounds, cadmium                                the Ethylene Production source category
     maximum individual risk (MIR) is 100-                             compounds, mercury compounds, and                         are not necessary to provide an ample
     in-1 million, with naphthalene and                                polycyclic organic matter (POM), all                      margin of safety to protect public health
     benzene as the major contributors to the                          HAP known to be persistent and bio-                       and that more stringent standards are
     risk. There is only one census block,                             accumulative in the environment. The                      not necessary to prevent an adverse
     and one person, at this risk level. The                           multipathway risk screening assessment                    environmental effect (section IV.C.2 of
     second-highest facility cancer risk is 30-                        resulted in a maximum Tier 2 cancer                       proposal preamble, 84 FR 54312,
     in-1 million. At proposal, the total                              screening value of 30 for arsenic and a                   October 9, 2019).
     estimated cancer incidence from this                              maximum Tier 3 noncancer screening
     source category was estimated to be 0.1                           value of 2 for mercury compounds.                            We also evaluate risk from whole
     excess cancer cases per year, or one                              Based on facility-specific analyses                       facility emissions in order to help put
     excess case in every 10 years.                                    performed for mercury for other source                    the risks in context. Whole facility (or
     Approximately 2.8 million people were                             categories, we concluded that such                        ‘‘facility-wide’’) emissions include those
     estimated to have cancer risks above 1-                           analyses would reduce the mercury                         regulated under this source category
     in-1 million from HAP emitted from the                            screening value to 1 or lower. In                         plus all other emissions generated at
     facilities in this source category. At                            addition, a screening-level evaluation of                 each facility. The results of the chronic
     proposal, the estimated maximum                                   the potential adverse environmental risk                  inhalation cancer risk assessment based
     chronic noncancer TOSHI for the source                            associated with emissions of arsenic,                     on facility-wide emissions are more
     category was 1 (neurological and                                  cadmium, hydrochloric acid,                               uncertain and rely on the quality of the
     respiratory) driven by emissions of                               hydrofluoric acid, lead, mercury, and                     emissions data collected for source
     manganese and epichlorohydrin.                                    POMs indicated that no ecological                         categories outside this regulatory
        Using the MACT-allowable emissions,                            benchmarks were exceeded.                                 review. These emissions sources may
     the risk results at proposal for the                                 We weighed all health risk factors,                    not undergo the same level of data
     inhalation risk assessment indicated                              including those shown in Table 2 of this                  quality review as those being assessed
     that the estimated cancer MIR was 100-                            preamble, in our risk acceptability                       in this regulatory assessment. The
     in-1 million with naphthalene and                                 determination and proposed that the                       estimated maximum lifetime individual
     benzene emissions driving the risks, and                          risks posed by the Ethylene Production                    cancer risk based on facility-wide
     that the estimated maximum chronic                                source category are acceptable (section                   emissions is 2,000-in-1 million, with
     noncancer TOSHI was 1 with                                        IV.C.1 of proposal preamble, 84 FR                        ethylene oxide from non-category (non-
     manganese and epichlorohydrin as the                              54311, October 9, 2019).
                                                                                                                                 ethylene production process) emissions
     major contributors to the TOSHI. At                                  We then considered whether the
                                                                       existing EMACT standards provide an                       driving the risk. The total estimated
     proposal, the total estimated cancer
                                                                       ample margin of safety to protect public                  cancer incidence based on facility-wide
     incidence from this source category
                                                                       health and whether, taking into                           emissions is 1 excess cancer case per
     considering allowable emissions was 0.2
     excess cancer cases per year or 1 excess                          consideration costs, energy, safety, and                  year. Approximately 6,500,000 people
     case in every 5 years. Based on                                   other relevant factors, more stringent                    are estimated to have cancer risks above
     allowable emission rates, 4.6 million                             standards are required to prevent an                      1-in-1 million from HAP emitted from
     people were estimated to have cancer                              adverse environmental effect. In                          all sources at the facilities in this source
     risks above 1-in-1 million.                                       considering whether the standards are                     category. The estimated maximum
        As shown in Table 2 of this preamble,                          required to provide an ample margin of                    chronic noncancer hazard index (HI)
     the reasonable worst-case acute HQ                                safety to protect public health, we                       based on facility-wide emissions is 4
     (based on the REL) at proposal was less                           considered the same risk factors that we                  (for the respiratory HI), driven by
     than 1. This value is the highest HQ that                         considered for our acceptability                          emissions of chlorine from non-category
     is outside facility boundaries. No                                determination and also considered the                     (non-ethylene production process)
     facilities were estimated to have an HQ                           costs, technological feasibility, and                     emissions. Approximately 200 people
     greater than or equal to 1 based on any                           other relevant factors related to                         are estimated to be exposed to
     benchmark (REL, acute exposure                                    emissions control options that might                      noncancer HI levels above 1.


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     2. How did the risk review change for                    environmental effects have changed. For               those required in the Benzene Waste
     the Ethylene Production source                           the reasons explained in the proposed                 Operations NESHAP and (2) treatment
     category?                                                rule, we determined that the risks from               of wastewater streams with a volatile
       We have not changed any aspect of                      the Ethylene Production source category               organic compounds (VOC) content of
     the risk assessment since the October 9,                 are acceptable, the current standards                 750 ppmv or higher by steam stripping
                                                              provide an ample margin of safety to                  prior to any other treatment process for
     2019, RTR proposal for the Ethylene
                                                              protect public health, and more                       facilities with high organic loading rates
     Production source category.
                                                              stringent standards are not necessary to              (i.e., facilities with total annualized
     3. What key comments did we receive                      prevent an adverse environmental                      benzene quantity of 10 Mg/yr or more).
     on the risk review, and what are our                     effect. Therefore, we are not revising the            However, based on the costs and
     responses?                                               EMACT standards to require additional                 emission reductions for each of the
       We received comments in support of                     controls pursuant to CAA section                      proposed options (for transfer racks,
     and against the proposed residual risk                   112(f)(2) based on the residual risk                  equipment leaks, and waste streams),
     review and our determination that no                     review, and we are readopting the                     we considered none of these options to
     revisions were warranted under CAA                       existing standards under CAA section                  be cost effective for reducing emissions
     section 112(f)(2) for the Ethylene                       112(f)(2).                                            from these emission sources at ethylene
     Production source category. Generally,                   B. Technology Review for the Ethylene                 production units, and we proposed that
     the comments that were not supportive                    Production Source Category                            it is not necessary to revise the EMACT
     of the determination from the risk                                                                             standards for these emission sources
     reviews suggested changes to the                         1. What did we propose pursuant to
                                                                                                                    pursuant to CAA section 112(d)(6).
     underlying risk assessment                               CAA section 112(d)(6) for the Ethylene
                                                              Production source category?                              Also, pursuant to CAA section
     methodology. For example, some                                                                                 112(d)(6), we proposed revisions to the
     commenters stated that the 100-in-1                         Pursuant to CAA section 112(d)(6),
                                                                                                                    current EMACT standards for storage
     million lifetime cancer risk cannot be                   the EPA proposed to conclude that no
                                                              revisions to the current EMACT                        vessels and heat exchange systems
     considered safe or ‘‘acceptable,’’ and the
                                                              standards are necessary for ethylene                  (sections IV.D.1 and IV.D.6 of proposal
     EPA should include emissions outside
                                                              process vents, transfer racks, equipment              preamble, 84 FR 54314, October 9,
     of the source categories in question in
                                                              leaks, and waste streams (sections                    2019). For storage vessels, we proposed
     the risk assessment and assume that
                                                              IV.D.2 through IV.D.5 of proposal                     tightening both the applicability
     pollutants with noncancer health risks
                                                              preamble, 84 FR 54314, October 9,                     threshold for MTVP of total organic
     have no safe level of exposure. After
                                                              2019). We did not find any                            HAP (i.e., decreasing it from 3.4 kPa or
     review of all the comments received, we
                                                              developments (since promulgation of                   greater to 0.69 kPa or greater) and the
     determined that no changes were
                                                              the original NESHAP) in practices,                    applicability threshold for storage vessel
     necessary. The comments and our
     specific responses can be found in the                   processes, and control technologies that              capacity (i.e., decreasing it from 95 m3
     document, Summary of Public                              could be applied to ethylene process                  to 59 m3) in Table 7 at 40 CFR
     Comments and Responses for the Risk                      vents and that could be used to reduce                63.1103(e)(3)(a)(1) and 40 CFR
     and Technology Reviews for the                           emissions from ethylene production                    63.1103(e)(3)(b)(1), respectively. For
     Ethylene Production Source Category,                     facilities. We also did not identify any              heat exchange systems, we proposed to
     available in the docket for this action.                 developments in work practices,                       add a new provision, 40 CFR 63.1086(e),
                                                              pollution prevention techniques, or                   that would require owners or operators
     4. What is the rationale for our final                   process changes that could achieve                    to use the Modified El Paso Method to
     approach and final decisions for the risk                emission reductions from ethylene                     monitor for leaks and to repair leaks of
     review?                                                  process vents. For transfer racks, we                 total strippable hydrocarbon
        As noted in our proposal, the EPA                     identified one emission reduction                     concentration (as methane) in the
     sets standards under CAA section                         option, at proposal, to revise the transfer           stripping gas of 6.2 ppmv or greater. We
     112(f)(2) using ‘‘a two-step standard-                   rack applicability threshold (for                     also proposed to add a new provision,
     setting approach, with an analytical first               volumetric throughput of liquid loaded)               40 CFR 63.1088(d), establishing a delay
     step to determine an ‘acceptable risk’                   from 76 m3 per day to 1.8 m3 per day                  of repair action level of total strippable
     that considers all health information,                   to reflect the more stringent                         hydrocarbon concentration (as methane)
     including risk estimation uncertainty,                   applicability threshold of other                      in the stripping gas of 62 ppmv, that if
     and includes a presumptive limit on                      chemical sector standards that regulate               exceeded during leak monitoring, would
     MIR of approximately 1-in-10                             emissions from transfer rack operations               require immediate repair (i.e., the leak
     thousand’’ (84 FR 54278, October 9,                      (i.e., 40 CFR part 63, subparts F and G               found cannot be put on delay of repair
     2019; see also 54 FR 38045, September                    and 40 CFR part 63, subpart FFFF). At                 and would be required to be repaired
     9, 1989). We weigh all health risk                       proposal, we also identified two                      within 30 days of the monitoring event).
     factors in our risk acceptability                        developments in leak detection and                    This would apply to both monitoring
     determination, including the cancer                      repair (LDAR) practices and processes                 heat exchange systems and individual
     MIR, cancer incidence, the maximum                       for equipment leaks: (1) Lowering the                 heat exchangers by replacing the use of
     cancer TOSHI, the maximum acute                          leak definition for valves in gas and                 any 40 CFR part 136 water sampling
     noncancer HQ, the extent of noncancer                    vapor service or in light liquid service              method with the Modified El Paso
     risks, the distribution of cancer and                    from 500 parts per million (ppm) to 100               Method and removing the option that
     noncancer risks in the exposed                           ppm and (2) lowering the leak definition              allows for use of a surrogate indicator of
     population, multipathway risks, and the                  for pumps in light liquid service from                leaks. Finally, we proposed to add a
     risk estimation uncertainties.                           1,000 ppm to 500 ppm. In addition, we                 new provision, 40 CFR 63.1087(c),
        Since proposal, neither the risk                      identified two emission reduction                     requiring re-monitoring at the
     assessment nor our determinations                        options, at proposal, for waste streams:              monitoring location where a leak is
     regarding risk acceptability, ample                      (1) specific performance parameters for               identified to ensure that any leaks found
     margin of safety, or adverse                             an enhanced biological unit beyond                    are fixed.


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     2. How did the technology review                         the proposed option, and costs                        effectiveness of the control option is
     change for the Ethylene Production                       necessary for control of the storage                  $108,000 per ton of VOC. The
     source category?                                         vessels that would be affected by the                 commenters said that their estimates
        The EPA has not changed any aspect                    proposed control option. After review of              account for materials and installation, in
     of the technology review for process                     all the comments received, we                         addition to the necessary cleaning and
     vents, transfer racks, equipment leaks,                  determined that it is not cost effective              preparation required to install the
     and waste streams since the October 9,                   to revise the storage vessel control                  floating roof or make the necessary
     2019, RTR proposal for the Ethylene                      requirements and are not finalizing                   connections to the closed vent system.
     Production source category. However,                     revisions for this emissions source                   The commenters asserted that degassing
                                                              under CAA section 112(d)(6).                          and cleaning do not appear to be
     based on comments received on the
                                                                 For heat exchange systems, the EPA                 included in the EPA’s cost calculation
     proposed rulemaking, we are not
                                                              received additional information from                  and should be added as these are
     finalizing the proposed revisions to the                 commenters on costs necessary for
     EMACT standards for storage vessels                                                                            necessary steps to prepare the tanks for
                                                              control of these sources as well as                   modification and ensure worker safety.
     under CAA section 112(d)(6) to tighten                   comments on a number of technical
     the applicability threshold for MTVP of                                                                        The commenter said that their cost
                                                              clarifications and allowance of                       estimate is much higher than the EPA’s
     total organic HAP (i.e., decreasing it                   compliance with an alternative mass-
     from 3.4 kPa or greater to 0.69 kPa or                                                                         estimate; and the commenters
                                                              based leak action level should the EPA                contended the EPA’s estimated capital
     greater) and the applicability threshold                 finalize the requirements for heat
     for storage vessel capacity (i.e.,                                                                             investment for the installation of an
                                                              exchange systems. After review of all                 internal floating roof (IFR) on an
     decreasing it from 95 m3 to 59 m3).                      the comments received, we determined
     Moreover, although we are revising the                                                                         existing fixed roof tank is unrealistic
                                                              that it is cost effective to revise the heat          and should be revised. The commenters
     EMACT standards for heat exchange                        exchange system requirements, and we
     systems consistent with the October 9,                                                                         stated that at least one facility would
                                                              are finalizing revisions for this                     install a new closed vent system to an
     2019, RTR proposal, we are also                          emissions source under CAA section
     including, based on comments received                                                                          existing control device, instead of an
                                                              112(d)(6) however, we are also                        IFR, due to more favorable economics or
     on the proposed rulemaking, an                           including, based on comments received
     alternative mass-based leak action level                                                                       site-specific constraints. The
                                                              on the proposed rulemaking, an                        commenters said that the cost of this
     of total strippable hydrocarbon equal to                 alternative mass-based leak action level
     or greater than 0.18 kilograms per hour                                                                        closed vent system is approximately
                                                              of total strippable hydrocarbon equal to              $825,000 per tank (materials and
     for heat exchange systems with a                         or greater than 0.18 kilograms per hour
     recirculation rate of 10,000 gpm or less.                                                                      installation). The commenters also
                                                              for heat exchange systems with a                      provided certain technical details and
     3. What key comments did we receive                      recirculation rate of 10,000 gpm or less.             cost information that they claimed as
     on the technology review, and what are                      This section provides comment and
                                                                                                                    CBI.
     our responses?                                           responses for the key comments
                                                              received regarding the technology                        Response: We are not finalizing the
        The EPA received comments in                          review amendments we proposed for                     proposed requirements to tighten the
     support of and against the proposed                      storage vessels and heat exchange                     storage vessel capacity and MTVP
     technology review amendments and our                     systems. Comment summaries and the                    thresholds in response to comments and
     determination that no revisions were                     EPA’s responses for additional issues                 additional costs information that the
     warranted under CAA section 112(d)(6)                    raised regarding the proposed                         EPA received on the proposal.
     for process vents, transfer racks,                       requirements resulting from our                       Specifically, we reviewed and agree
     equipment leaks, and waste streams in                    technology review are in the document,                with the additional information
     the Ethylene Production source category                  Summary of Public Comments and                        submitted by commenters on the
     and that revisions were warranted for                    Responses for the Risk and Technology                 specific storage vessels that would be
     storage vessels and heat exchange                        Reviews for the Ethylene Production                   affected (e.g., material composition and
     systems in the Ethylene Production                       Source Category, available in the docket              vapor pressure data, costs to control
     source category. Generally, for process                  for this action.                                      those storage vessels, and estimated
     vents, transfer racks, equipment leaks,                     Comment: We received comments in                   emissions reductions). Importantly, the
     and waste streams, the comments were                     support of and against the proposed                   CBI submitted by one commenter
     either supportive of the determination                   changes to the storage vessel capacity                provided details showing that
     that no cost-effective developments                      and vapor pressure thresholds and                     installation of an IFR was not an option
     from the technology review were found,                   corresponding control requirements.                   for their specific facility due to
     or that the Agency should re-open and                    Most of the commenters opposed to the                 technical constraints. In addition, given
     re-evaluate the MACT standards for                       proposed requirements said the EPA’s                  that the proposed option would result in
     these emission sources and not consider                  proposed changes to the capacity and                  10 tpy of VOC reductions nationwide
     cost in the technology review for the                    vapor pressure thresholds for control of              (and lower emissions reductions for
     emissions sources. Based on our review                   storage vessel emissions are not cost-                HAP) and cost over $1 million annually,
     of the comments received for process                     effective. The commenters said that                   we find the control of storage vessels at
     vents, transfer racks, equipment leaks,                  based on their analysis and using the                 $108,000 per ton for VOC (and higher
     and waste streams, we are finalizing our                 EPA percentages of annual cost                        cost effectiveness for HAP) is not cost
     determination that no cost-effective                     components (9.47-percent capital                      effective. Further, the proposed option
     developments exist and that it is not                    recovery, 5-percent maintenance, 4                    would only affect six of the
     necessary to revise these emission                       percent for taxes, insurance, and                     approximately 248 storage vessels in the
     standards under CAA section 112(d)(6).                   administration, $380 per ton of VOC                   source category [assuming an average of
        For storage vessels, the EPA received                 recovered), the average capital cost for              eight storage vessels per facility from
     additional information from                              control is approximately $1.2 million                 the CAA section 114 Information
     commenters on material composition,                      per tank, the average annual cost is                  Collection Request (ICR) data] and
     storage vessels that would be affected by                $216,000 per tank, and the cost                       would not meaningfully reduce overall


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     emissions from the source category.                      than evaluating costs based on ‘‘HAP                  must account for those. The commenter
     Given all of this information, we are not                cost effectiveness’’ as it does for other             further claimed that the EPA should
     finalizing the proposed requirements to                  source types, such as equipment leaks                 follow the plain text of CAA section
     tighten the storage vessel capacity and                  and waste streams.                                    112(d)(2)–(3) and applicable precedent
     MTVP thresholds and are keeping the                         The commenter argued that the EPA’s                requiring explicit authorization to
     current MACT level of control for                        decision to make cost-per-ton the                     consider cost. The commenter stated the
     storage vessels in place.                                standard-setting criterion and to choose              EPA’s cost-focused analysis ignores the
        Comment: A commenter stated that                      a number it deems unreasonable,                       statutory objective of assuring the
     the proposed technology review                           without a rational explanation, is                    ‘‘maximum’’ achievable degree of
     amendments do not represent MACT                         arbitrary and capricious. The                         emission reduction provided in CAA
     and noted three control options were                     commenter stated the cost-per-ton of                  section 112(d)(2), as implemented
     identified for storage vessels, but only                 HAP reduction does not indicate                       through the technology review. The
     one was adopted into the proposed rule.                  whether a stronger standard is feasible               commenter stated that this analysis also
     The commenter emphasized that many                       and does not consider whether the                     ignores the statutory goal of protecting
     new ethylene production facilities are                   industry could bear the costs of                      public health, per CAA section 112
     planned to be constructed or are under                   additional controls. The commenter                    (f)(2).
     construction and the EPA must address                    stated that the ethylene production                      The commenter also stated that
     their HAP emissions by applying the                      industry generated $50.8 billion in                   although the EPA initially considered
     most stringent control technologies.                     revenue in 2016 and the EPA cannot                    tightening the threshold for storage
        Similarly, another commenter stated                   plausibly claim that this industry                    vessel capacity from 95 m3 to 38 m3, the
     that it would be unlawful, arbitrary, and                cannot afford to implement the                        EPA proposed a threshold of 59 m3
     capricious for the EPA not to set                        identified storage vessel developments.               because it found that ‘‘it would not be
     stronger standards for emissions from                    The commenter noted that cost-per-ton                 cost-effective for this particular storage
     storage vessels. The commenter stated                    says nothing about health risk, and that              vessel to add additional controls due to
     that although the EPA identified two                     a ton of HAP is a very large amount. The              its infrequent use.’’ The commenter
     other developments in technology for                     commenter stated that the risk                        contended that the EPA cannot set a
     storage vessels: (1) Requiring LDAR for                  assessment for this source category                   higher capacity threshold simply based
     fittings on fixed roof storage vessels                   shows the pollutants emitted in                       on the cost of installing a control on one
     (e.g., access hatches) using EPA Method                  ethylene production are known to be                   affected vessel, especially without
     21, and the use of liquid level overfill                 hazardous at an exposure level of                     information or analysis.
     warning monitors and roof landing                        micrograms or less, and the carcinogens                  Response: We disagree with the
     warning monitors on storage vessels                      emitted (e.g., benzene, formaldehyde,                 comment that the EPA has an obligation
     with an IFR or external floating roof                    naphthalene) have no safe level of                    to review prior MACT determinations
     (EFR); and (2) the conversion of EFRs to                 exposure. In addition, the commenter                  and recalculate MACT floors as part of
     IFRs through use of geodesic domes, the                  asserted that no two HAP create the                   each CAA section 112(d)(6) review
     EPA declined to require these controls                   same health risks and that reducing tons              given that this argument has been
     simply because the control options were                  of one pollutant does not produce the                 repeatedly rejected by the Court. See,
     not cost effective. The commenter                        same benefit as reducing tons of                      e.g., Nat’l Ass’n of Surface Finishing v.
     insisted that the EPA failed to show                     another. The commenter added that the                 EPA, 795 F.3d 1 (DC Cir. 2015);
     why the cost-per-ton it found for storage                EPA should not base its final standards               Association of Battery Recyclers v. EPA,
     vessel developments are inappropriate                    on cost effectiveness at all; the Agency’s            716 F.3d 667, 673 (DC Cir. 2013);
     and failed to show why further                           job is simply to determine the                        Natural Resources Defense Council
     reductions are not required to satisfy                   ‘‘maximum’’ degree of reduction that                  (NRDC) v. EPA, 529 F.3d 1077 (DC Cir.
     CAA sections 112(d)(6) and (f)(2). The                   can be achieved considering cost, under               2008). In the proposal we neither re-
     commenter noted the costs the EPA                        CAA section 112(d)(2), and to assure an               evaluated nor re-opened the MACT
     found ($6,120 per ton HAP to $44,100                     ‘‘ample margin of safety to protect                   standard for storage vessels under CAA
     per ton HAP) are lower than other rules                  public health’’ under CAA section                     sections 112(d)(2) and (3) in this action.
     where the EPA determined the cost-per-                   112(f)(2). The commenter stressed that if             For storage vessels, the revisions we
     ton to be appropriate. As an example,                    the EPA wishes to consider cost                       proposed were as a result of the RTR
     the commenter cited the cost-per-ton                     effectiveness in any meaningful sense, it             under CAA sections 112(d)(6) and (f)(2).
     from secondary lead smelting that were                   cannot rely on the cost-per-ton, which                As also explained at proposal, under
     considered reasonable, ranging from                      says nothing about the true effectiveness             section 112(d)(6), the EPA is to review
     $330,000 per ton to $1,500,000 per ton                   of reducing emissions of highly toxic                 the ‘‘emission standards promulgated
     (77 FR 576, January 5, 2012). The                        pollutants, in terms of public health—                under’’ CAA section 112(d)(2) and (3).
     commenter stated that because the EPA                    which is a key factor missing from the                The EPA has consistently posited that
     found higher cost-reduction ratios                       EPA’s analysis. Thus, the commenter                   CAA section 112(d)(6) focuses on the
     appropriate, it is arbitrary and                         concluded it was arbitrary and                        review of developments that have
     capricious for the EPA not to require                    capricious for the EPA to decide that it              occurred in a source category since the
     greater reductions for storage vessels,                  was not necessary to update the                       original promulgation of a MACT
     when they are achievable and would                       standards to account for storage vessel               standard. Similarly, the EPA is to
     provide more protection for public                       developments based on cost.                           conduct a risk review that evaluates
     health, as statutorily provided. The                        The commenter also contended the                   whether the emission limits—the
     commenter asserted that several of these                 EPA may consider cost but CAA section                 ‘‘standards promulgated pursuant to
     developments are already widely in use                   112(d)(6) does not authorize the EPA to               subsection (d),’’ [CAA section
     or required by other regulatory agencies.                refuse to update standards based on                   112(f)(2)(A)]—should be made more
     The commenter further argued that the                    cost. The commenter stated the Court                  stringent to reduce the risk posed after
     EPA gives no explanation for why the                     has recognized that developments are                  compliance with the underlying MACT
     Agency considers ‘‘incremental cost                      the core requirement, and if                          standard. Therefore, the EPA does not
     effectiveness’’ to be determinative rather               developments have occurred, the EPA                   have an obligation in its technology and


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     residual risk review to consider                         of cost analysis, we find reasonable the              setting the size threshold for control in
     ‘‘hypothetical’’ facilities that is,                     EPA’s choice to consider costs on the                 our SV1 option evaluated under our
     facilities that have yet to begin                        per ton of emissions removed basis.’’).               CAA section 112(d)(6) review. As
     construction (or may never even be                       For storage vessels, we proposed to                   explained in the technology review
     constructed or operate) and where air                    tighten the capacity and MTVP                         memorandum, we first looked at other
     emissions from ethylene production                       thresholds for control (known as option               chemical sector and refinery NESHAP
     operations are merely anticipated                        SV1 in our technology review                          for storage vessel control thresholds for
     because said operations do not yet exist                 memorandum) and also evaluated two                    capacity and MTVP as a starting point
     and facilities have yet to start up. As                  other control options that built upon                 and then we used our CAA section 114
     also previously discussed we are not                     option SV1. Option SV1 was evaluated                  ICR data to further refine option SV1.
     finalizing these proposed revisions                      in concert with the two other options,                Based on our CAA section 114 data,
     under CAA section 112(d)(6) because                      including adding enhanced monitoring                  only one storage vessel (with a capacity
     they are not cost effective. In addition,                requirements (option SV2) and requiring               of 58 m3) met the most stringent
     the proposed revisions have little to no                 EFR storage vessels to convert to IFR                 requirements for control from other
     impact on HAP emissions for the source                   storage vessels via use of geodesic                   NESHAP compared to the option we
     category. With respect to the role of cost               domes (option SV3). The costs are                     evaluated and would be impacted were
     in our decisions under the technology                    presented such that the overall HAP                   we to evaluate this storage vessel in
     review, we note that the Court has not                   cost effectiveness for options SV2 and                option SV1 (along with the other 12
     required the EPA to demonstrate that a                   SV3 also include option SV1, while the                storage vessels we anticipated would
     technology is ‘‘cost-prohibitive’’ in                    incremental cost-effectiveness values for             also be affected at proposal). Using the
     order not to require adopting a new                      options SV2 and SV3 are the cost-                     information from our CAA section 114
     technology under CAA section                             effectiveness values only for requiring               request that was submitted for this
     112(d)(6); a simple finding that a control               enhanced monitoring and only for                      storage vessel (e.g., size, number of tank
     is not cost effective is enough. See                     requiring EFR storage vessels to convert              turnovers, stored material composition),
     Association of Battery Recyclers, et al. v.              to IFR storage vessels via use of geodesic            we conservatively estimated that this 58
     EPA, et al., 716 F.3d 667, 673–74 (D.C.                  domes, respectively. Simply put, the                  m3 storage vessel would only have
     Cir. 2015) (approving the EPA’s                          incremental cost-effectiveness values for             annual emissions of 0.005 tpy of HAP if
     consideration of cost as a factor in its                 options SV2 and SV3 do not include                    it had one full turnover (even though it
     CAA section 112(d)(6) decision-making                    costs and emissions reductions for                    reported having none in 2013).
     and the EPA’s reliance on cost                           option SV1. The commenter did not                     Considering the extreme case that all
     effectiveness as a factor in its standard-               provide additional details on costs or                these emissions would be reduced from
     setting).                                                emissions reductions on these options;                this storage vessel if it were required to
        The commenter’s comparison of cost-                   thus, we continue to believe these                    be controlled, and if we made several
     per-ton estimates against other rules and                options are not cost-effective and are not            other assumptions (e.g., retrofit with an
     other requirements within this final rule                finalizing them. An incremental cost-                 IFR, 12-foot diameter tank, one of each
     is also misplaced. The commenter                         effectiveness analysis was not needed                 of the various upgraded deck fittings),
     draws a comparison to an analysis for                    for equipment leaks or waste operations               we determined that controlling this one
     metal HAP in the Secondary Lead                          because we did not propose any                        storage vessel would have an
     NESHAP RTR, where those costs per ton                    revisions under our CAA section                       annualized cost of approximately $5,550
     were determined to be within the range
                                                              112(d)(6) technology review for these                 per year and not be cost effective (i.e.,
     of metal HAP values for other CAA
                                                              emission sources. We also did not                     over $1,000,000 per ton of HAP). We
     section 112 rules (see 77 FR 576,
                                                              consider control options for these                    note that this information was available
     January 5, 2012). However, organic HAP
                                                              emission sources that would build upon                in the docket for commenters to use and
     are the issue of concern for storage
                                                              each other and necessitate an evaluation              provide their own estimates of HAP
     vessels, and the EPA has historically
                                                              of incremental costs and, thus, the HAP               emissions and costs for control for this
     used a different and significantly lower
                                                              cost effectiveness for the options                    storage vessel. When considering this
     cost-effectiveness scale for organic HAP
                                                              presented in those analyses are                       information, we find the option to
     versus metal HAP due to their relative
                                                              equivalent to the incremental cost-                   tighten the capacity and MTVP
     toxicity. Generally, for organic HAP, we
     consider a cost effectiveness of $10,000/                effectiveness values presented for                    thresholds to be even less cost effective
     ton or more to be near the upper end of                  options SV2 and SV3 for storage vessels.              if you consider impacts requiring
     what the EPA has traditionally                           For further information on our                        control from the 58 m3 storage vessel.
     considered to be cost effective for                      technology review for storage vessels,                Thus, as previously discussed, we are
     control for these particular type of HAP.                see the technical memorandum, Clean                   not finalizing the proposed capacity and
        In addition, we disagree with the                     Air Act Section 112(d)(6) Technology                  MTVP thresholds we proposed for
     commenter that consideration of                          Review for Storage Vessels Located in                 storage vessels and are keeping the
     incremental cost effectiveness was an                    the Ethylene Production Source                        current MACT level of control for
     unreasonable approach for comparing                      Category, which is available in Docket                storage vessels in place.
     differing strategies that build upon one                 ID Item No. EPA–HQ–OAR–2017–0357–                        Comment: We received comments in
     another. We note that CAA section                        0014.                                                 support of and against the proposal to
     112(d)(6) does not prescribe a                              Lastly, we disagree with the                       require use of the Modified El Paso
     methodology for the agency’s costs                       commenter that it was unreasonable to                 Method for repairing leaks in heat
     analysis, and the EPA has sometimes                      consider an infrequently used storage                 exchange systems. A commenter that
     presented cost/ton-reduced numbers in                    vessel with a capacity of 58 m3 (i.e., a              supported the proposal noted that at
     the supporting analyses for regulations                  storage vessel with a capacity within the             least eight facilities in the source
     that we issue. See for example,                          threshold of 38 m3 and 59 m3, which we                category were already using the
     Husqvarna AB v. EPA, 254 F. 3d 195 at                    evaluated, but did not propose) with                  Modified El Paso Method. On the other
     200 (D.C. Cir. 2001) (‘‘Because section                  little emissions and an extremely high                hand, some commenters said the EPA’s
     213 does not mandate a specific method                   cost-effectiveness value for control in               proposed control requirements for heat


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     exchange systems were not cost                           costs exceed $1 million. The commenter                Also, commenters did not provide
     effective when considering the actual                    stated that the EPA acknowledged in the               additional information for us to evaluate
     costs to repair leaks. A commenter said                  preamble that emissions from heat                     the percentage of time additional leaks
     that the costs provided in Table 7 of the                exchange systems have an overall small                would have to be fixed under the
     memorandum, Clean Air Act Section                        contribution to cancer risk to the                    revised heat exchange system standards
     112(d)(6) Technology Review for Heat                     individual most exposed and that                      proposed under technology review
     Exchange Systems Located in the                          additional controls for heat exchange                 compared to the original MACT
     Ethylene Production Source Category,                     systems are not necessary to provide an               standards. Thus, we continue to believe
     significantly underestimates the true                    ample margin of safety.                               that the majority, if not all of the repair
     cost associated with leak repair at                         Response: We disagree with                         costs cited by commenters would have
     ethylene production facilities. The                      commenters that said the proposed                     been accounted for and incurred as a
     commenter contended that for purposes                    requirements for heat exchange systems                result of the existing MACT standards
     of leak repair, after identifying a leak,                to use the Modified El Paso Method and                and that simply plugging a leaking heat
     maintenance and operations personnel                     a leak definition of 6.2 ppmv of total                exchanger would more likely represent
     must develop a strategy and schedule to                  strippable hydrocarbon concentration                  the average cost additionally incurred
     remove the leaking exchanger from                        (as methane) in the stripping gas are not             by ethylene production sources as a
     service, which involves identifying and                  cost-effective. We are finalizing this                result of this technology review
     selecting options for: Bypassing the                     proposed development under CAA                        development. In addition, in the
     process stream from the leaking system,                  section 112(d)(6) with some minor                     proposed rule we explained that we
     the amount of production turndown                        technical clarifications that are                     considered a heat exchanger to
     necessary while the exchanger is out of                  discussed elsewhere in the rulemaking                 effectively be at the end of its useful life
     service, identifying and selecting the                   record (see our response in this                      if it was leaking to such an extent that
     appropriate contract personnel, and                      preamble to commenters’ requests to                   it would need to be replaced in order to
     scheduling the work so that it does not                  include an alternative mass-based leak                comply with the requirement; so the
     conflict with any other planned                          definition; also see the document,                    cost of replacing the heat exchanger
     maintenance. According to the                            Summary of Public Comments and                        would be an operational cost that would
     commenter, several different personnel                   Responses for the Risk and Technology                 be incurred by the facility as a result of
     would be involved in these planning                      Review for Ethylene Production, which                 routine maintenance and equipment
     tasks including management,                              is available in Docket ID No. EPA–HQ–                 replacement and not attributable to the
     maintenance, production, and                             OAR–2017–0357). We note that the                      proposed work practice standard that is
     engineering staff (128 hour estimate is                  existing MACT standards that were                     being finalized in this action (see the
     based on 32 hours × 4 persons). In                       finalized in 2002 (67 FR 46258, July 12,              technical memorandum, Clean Air Act
     addition to these planning costs, the                    2002) contained LDAR provisions and                   Section 112(d)(6) Technology Review for
     commenter said that the EPA did not                      many of the items commenters include                  Heat Exchange Systems in the Ethylene
     include costs for bypassing the leaking                  in their cost estimates are associated                Production Source Category, which is
     system to avoid a total shutdown which                   with repair costs that would have                     available in Docket ID No. EPA–HQ–
     may include renting and plumbing                         already been incurred under the existing              OAR–2017–0357). Thus, given all of this
     temporary heat exchangers. The                           MACT standards. These repair costs                    information, we continue to believe that
     commenter also said that the EPA did                     include, but are not limited to,                      those costs associated with the
     not include costs for the rental and                     planning, bypassing, various equipment                difference between conducting leak
     installation of cranes and scaffolding for               rental costs, costs for scaffolding, and              sampling using water sampling methods
     accessing the heat exchanger for repairs,                deheading. We also disagree with                      and leak sampling using the Modified El
     and costs for specialized contracted                     commenter’s cost estimates because                    Paso Method as well as costs associated
     maintenance support to de-head the                       most of the items that they claim are                 with combined operator and
     exchanger and perform the repair. Based                  associated with the proposed revision                 maintenance labor to find and repair a
     on maintenance records, the commenter                    will not be required by this final rule               leak by plugging are the only costs that
     contended that repair costs range from                   requirement (i.e., we determined that                 would be additionally incurred by the
     $200,000 to $400,000 per event, not                      the costs associated with the difference              technology review standards. Based on
     considering lost profit due to turndown                  between conducting leak sampling                      our analysis, we find that the revised
     or shutdown of the production unit.                      using water sampling methods and leak                 standards we proposed for heat
     Factoring in these additional costs and                  sampling using the Modified El Paso                   exchange systems are cost effective at
     using the EPA’s estimated HAP                            Method as well as costs associated with               $1,060 per ton of HAP without
     emissions reductions of 25 tpy, the                      combined operator and maintenance                     consideration of product recovery and
     commenter said the revised cost                          labor to find and repair a leak by                    result in a cost savings when you
     effectiveness becomes $16,200 per ton                    plugging are the only costs that would                consider product recovery. Therefore,
     of HAP. The commenter cited the RTR                      be additionally incurred by the                       we are finalizing the revisions for heat
     for Friction Materials Manufacturing                     technology review standards). Further,                exchange systems that we proposed
     Facilities (83 FR 19511, May 3, 2018)                    commenters failed to provide enough                   under CAA section 112(d)(6) with some
     where the EPA found that $3,700 per                      information demonstrating why their                   minor technical clarifications that are
     ton for a permanent total enclosure was                  costs information represents leak repair              discussed elsewhere in this preamble
     not cost effective, and the RTR for the                  costs for an average heat exchange                    and in the document, Summary of
     Petroleum Refinery Sector (79 FR 36916,                  system at an ethylene production                      Public Comments and Responses for the
     June 30, 2014) where the EPA found                       facility. For example, facilities may have            Risk and Technology Review for
     that $14,100 per ton for lowering leak                   additional heat exchange system                       Ethylene Production, which is available
     definitions was not cost effective. The                  capacity available at their facility and              in Docket ID No. EPA–HQ–OAR–2017–
     commenter also said that in cases where                  may opt to use this capacity to repair                0357.
     the leaking heat exchanger must be                       the leak, at no additional expense, yet                  Additionally, with respect to rules
     completely replaced to fix the leak, the                 this was not considered by commenters.                where we have determined that


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     requirements are not cost effective at                   where the concentration of methane was                presented in Tables 15 and 16 are used
     varying levels of cost effectiveness, we                 6.1 ppmv in the gas phase and just less               to determine the HAP cost effectiveness
     note that there can be other compelling                  than 80 parts per billion by weight                   for the source category on average. In
     factors beyond cost effectiveness that                   (ppbw) in the water phase, thus,                      other words, the nationwide impacts for
     play a role in the EPA’s determinations                  resulting in emissions of 0.64 pounds                 HAP cost effectiveness (without
     and that each rulemaking is unique and                   per hour based on a recirculation rate of             consideration of product recovery) at
     should be judged on its own merits.                      17,000 gpm. Using this information, the               $1,060/ton of HAP would be the HAP
     With respect to the two proposed rules                   commenter determined that an average                  cost effectiveness for an average heat
     commenters cited, we note that different                 cooling water system with a                           exchange system in the source category
     determinations likely would have                         recirculation rate of 100,000 gpm (the                that has a recirculation rate of
     resulted if some of the other variables in               average cooling water recirculation rate              approximately 100,000 gpm. We also
     those rulemaking records were not                        of the ethylene production industry                   generally consider that technology
     considered, such as for the Friction                     based on the responses the EPA                        review developments are not cost
     Materials RTR (83 FR 19511, May 3,                       received to the CAA section 114 ICR)                  effective for organic HAP if the cost
     2018) where no facilities in the source                  and a concentration of strippable                     effectiveness is more than $10,000/ton
     category would have been impacted by                     hydrocarbons in the water of 80 ppbw,                 (or approximately 10 times higher than
     rule revisions under the technology                      will have potential strippable                        the cost effectiveness estimated for the
     review due to process changes and use                    hydrocarbon emissions of 4 pounds per                 average heat exchange system at
     of non-HAP solvents. Similarly, for the                  hour.                                                 ethylene production sources). Since the
     Petroleum Refinery RTR (79 FR 36916,                        A commenter also recommended the                   recirculation rate directly correlates to
     June 30, 2014), consideration of other                   EPA adjust the ‘‘delay of repair’’ leak               mass emissions potential at the same
     fugitive emissions management                            action level in 40 CFR 63.1088(d)(3) to               leak concentration, the mass emissions
     techniques that were finalized (e.g.,                    40 pounds per hour of potential                       for a heat exchange system with
     fenceline monitoring) also had the                       strippable hydrocarbon emissions for                  recirculation rate of 10,000 gpm or less
     potential to help control equipment                      heat exchange systems with a                          would be at least 10 times smaller
     leaks in the Petroleum Refinery source                   recirculation rate of 100,000 gpm or                  compared to a 100,000 gpm
     category. Regardless, and as stated                      less, and maintain the ‘‘delay of repair’’            recirculation rate system and the annual
     above, we believe that the developments                  action level at a total strippable                    costs to find and repair leaks would not
     we identified for heat exchange systems                  hydrocarbon concentration (as methane)                change. As such, we determined that it
     used in the Ethylene Production source                   in the stripping gas of 62 ppmv                       is not cost effective to control leaks at
     category are cost effective and are                      (approximately 800 ppbw in the cooling                the leak action level of total strippable
     finalizing these revisions under CAA                     water) for heat exchange systems with a               hydrocarbon of 6.2 ppmv (as methane)
     section 112(d)(6).                                       recirculation rate greater than 100,000               for heat exchange systems with a
        Comment: Some commenters                              gpm.                                                  recirculation rate of 10,000 gpm or less,
     recommended the EPA revise 40 CFR                           Response: We agree with commenters                 because the HAP cost effectiveness
     63.1086(e)(i) through (iii) to include an                that an alternative mass-based leak                   would be approximately $10,000/ton of
     alternative mass-based leak definition.                  action level is warranted, and that by                HAP or more. Therefore, to alleviate the
     Commenters argued that by only                           not finalizing such an alternative,                   concern about disproportionally
     defining a leak on a concentration basis,                smaller heat exchange systems with low                impacting small heat exchange systems
     smaller facilities with lower heat                       recirculation rates would be                          with low HAP emissions potential, and
     exchange system recirculation rates                      disproportionally affected and forced to              to ensure our technology review
     would be forced to identify and fix leaks                repair leaks with a much lower potential              developments are cost effective for all
     with a much lower potential HAP                          HAP emissions rate than facilities with               heat exchange systems in the source
     emissions rate than facilities with larger               larger recirculation rate systems. We                 category, we are finalizing an alternative
     recirculation systems.                                   disagree with commenters, however,                    total hydrocarbon mass-based emissions
        A commenter said the EPA should                       that the foundation of the alternative                rate leak action level (as methane) of
     calculate the equivalent mass-based                      mass-based leak action level should be                0.18 kilograms per hour (0.4 pounds per
     emission rate using the 90th percentile                  based on the average recirculation rate               hour) for heat exchange systems in the
     heat exchange system recirculation rates                 in the source category of 100,000 gpm                 Ethylene Production source category
     (165,000 gpm) and the leak definition of                 or the 90th percentile heat exchange                  that have a recirculation rate of 10,000
     6.2 ppmv as methane in the stripping                     system recirculation rate of 165,000                  gpm or less. We also agree that for
     gas, assuming 100 percent of the                         gpm. As commenters allude to, the goal                consistency, and to not
     hydrocarbon is hexane, for an                            of this alternative is to not                         disproportionately impact small heat
     equivalent mass leak-based leak                          disproportionally impact small heat                   exchange systems, that an alternative
     definition of 6.1 pounds per hour (2.8                   exchange systems with low emissions                   mass-based leak action level of 1.8
     kilograms per hour) of Table 1 to 40 CFR                 potential. To that end and given that                 kilograms per hour (4.0 pounds per
     part 63, subpart XX HAP.                                 this is a technology review under CAA                 hour) for delay of repair for heat
        Another commenter said the EPA                        section 112(d)(6), consideration of                   exchange systems with a recirculation
     should modify the leak action level to                   where it is cost-effective to repair a                rate of 10,000 gpm or less is warranted.
     be defined as potential strippable                       leaking heat exchange system should be
     hydrocarbon emissions greater than 4.0                   a primary consideration for this                      4. What is the rationale for our final
     pounds per hour for heat exchange                        alternative. In our technology review                 approach for the technology review?
     systems with a recirculation flowrate                    memorandum, Clean Air Act Section                        Our technology review focused on the
     less than or equal to 100,000 gpm. The                   112(d)(6) Technology Review for Heat                  identification and evaluation of
     commenter asserted that the                              Exchange Systems Located in the                       developments in practices, processes,
     memorandum, CAA Section 112(d)(6)                        Ethylene Production Source Category, at               and control technologies that have
     Technology Review for Heat Exchangers                    Docket ID Item No. EPA–HQ–OAR–                        occurred since the EMACT standards
     Located in the Ethylene Production                       2017–0357–0011, the nationwide                        were originally promulgated on July 12,
     Source Category, mentions one case                       impacts and emissions reductions                      2002 (67 FR 46258). Specifically, we


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     focused our technology review on all                     C. Amendments Pursuant to CAA                         continuously, consistent with Sierra
     existing MACT standards for the various                  Section 112(d)(2) and (d)(3) for the                  Club v. EPA 551 F. 3d 1019 (D.C. Cir.
     emission sources in the Ethylene                         Ethylene Production Source Category                   2008). For PRD releases, we proposed at
     Production source category, including,                                                                         40 CFR 63.1103(e)(2) definitions of
                                                              1. What did we propose pursuant to
     storage vessels, ethylene process vents,                                                                       ‘‘pressure relief device’’ and ‘‘relief
                                                              CAA section 112(d)(2) and (3) for the
     transfer racks, equipment leaks, waste                                                                         valve’’ and proposed to add a work
                                                              Ethylene Production source category?
     streams, and heat exchange systems. In                                                                         practice standard at 40 CFR
                                                                 Under CAA section 112(d)(2) and (3)                63.1107(h)(3), (6), and (7) for PRDs that
     the proposal, we only identified cost-
                                                              we proposed to amend the operating                    vent to atmosphere that requires three
     effective developments for storage                       and monitoring requirements for flares
     vessels and heat exchange systems and                                                                          prevention measures and root cause
                                                              used as APCDs in the Ethylene                         analysis and corrective action when a
     proposed to tighten the standards for                    Production source category to ensure                  release occurs.4 We proposed to require
     these two emissions sources under                        that facilities that use flares as APCDs              that sources monitor PRDs that vent to
     technology review. We did not identify                   meet the EMACT standards at all times                 the atmosphere using a system that is
     developments in practices, processes, or                 when controlling HAP emissions. We                    capable of identifying and recording the
     control technologies for ethylene                        proposed to add a provision, 40 CFR                   time and duration of each pressure
     process vents, transfer racks, equipment                 63.1103(e)(4), to extend the application              release and of notifying operators that a
     leaks, and waste streams. Further                        of the Petroleum Refinery Flare Rule                  pressure release has occurred. We also
     rationale about the technology review                    requirements in 40 CFR part 63, subpart               proposed to add a provision, 40 CFR
     can be found in the proposed rule (84                    CC to flares in the Ethylene Production               63.1107(h)(4), to require PRDs that vent
     FR 54278, October 9, 2019) and in the                    source category with clarifications,                  through a closed vent system to a
     supporting materials in the rulemaking                   including, but not limited to, specifying             control device or to a process, fuel gas
     docket at Docket ID No. EPA–HQ–OAR–                      that several definitions in 40 CFR part               system, or drain system meet minimum
     2017–0357.                                               63, subpart CC, that apply to petroleum               requirements for the applicable control
                                                              refinery flares also apply to flares in the           system. In addition, we proposed to add
        During the public comment period,                     Ethylene Production source category,                  a provision, 40 CFR 63.1107(h)(5), to
     we received several comments on our                      adding a definition and requirements for              exclude the following types of PRDs
     proposed determinations for the                          pressure-assisted multi-point flares, and             from the work practice standard for
     technology review. The comments and                      specifying additional requirements                    PRDs that vent to the atmosphere: (1)
     our specific responses and rationale for                 when a gas chromatograph or mass                      PRDs with a design release pressure of
     our final decisions can be found in                      spectrometer is used for compositional                less than 2.5 pounds per square inch
     section IV.B.3 of this preamble and in                   analysis. Specifically, we proposed to                gauge (psig); (2) PRDs in heavy liquid
     the document, Summary of Public                          retain the General Provisions                         service; (3) PRDs that are designed
     Comments and Responses for the Risk                      requirements of 40 CFR 63.11(b) and 40                solely to release due to liquid thermal
     and Technology Reviews for the                           CFR 60.18(b) that flares used as APCDs                expansion; and (4) pilot-operated and
     Ethylene Production Source Category,                     in the Ethylene Production source                     balanced bellows PRDs if the primary
     available in the docket for this action.                 category operate pilot flame systems                  release valve associated with the PRD is
     No information presented by                              continuously and that flares operate                  vented through a control system.
     commenters has led us to change our                      with no visible emissions (except for                 Finally, we proposed to add a provision,
     proposed determination, under CAA                        periods not to exceed a total of 5                    40 CFR 63.1107(h)(8), to require future
     section 112(d)(6) for ethylene process                   minutes during any 2 consecutive                      installation and operation of non-
     vents, transfer racks, equipment leaks,                  hours) when the flare vent gas flow rate              flowing pilot-operated PRDs at all
                                                              is below the smokeless capacity of the                affected sources.
     and waste streams, and we are finalizing
                                                              flare. We also proposed to consolidate                   For bypass lines on closed vent
     our determination that no changes to
                                                              measures related to flare tip velocity                systems, we proposed to add a
     these standards are warranted.                           and new operational and monitoring
     Substantive information was submitted                                                                          provision, 40 CFR 63.1103(e)(6), to not
                                                              requirements related to the combustion                allow an owner or operator to bypass
     by commenters on proposed revisions                      zone gas. Further, in keeping with the
     for heat exchange systems, and based on                                                                        the APCD at any time, and if a bypass
                                                              elimination of the SSM exemption, we                  is used, then the owner or operator is to
     this information, we are finalizing                      proposed a work practice standard                     estimate and report the quantity of
     revisions for heat exchange systems and                  related to the visible emissions and                  organic HAP released. We proposed this
     making some technical clarifications to                  velocity limits during periods when the               revision to be consistent with Sierra
     allow compliance with an alternative                     flare is operated above its smokeless                 Club v. EPA, 551 F.3d 1019 (D.C. Cir.
     mass-based leak action level for small                   capacity (e.g., periods of emergency                  2008), where the Court determined that
     heat exchange systems with a                             flaring). We proposed eliminating the                 standards under CAA section 112(d)
     recirculation rate of 10,000 gpm or less                 cross-references to the General                       must provide for compliance at all
     in lieu of the concentration-based leak                  Provisions and instead to specify all                 times, because bypassing an APCD
     action level that was proposed. Lastly,                  operational and monitoring                            could result in a release of regulated
     for storage vessels, substantive                         requirements that are intended to apply               organic HAP to the atmosphere. We also
     information was also submitted by                        to flares used as APCDs in the Ethylene               proposed that the use of a cap, blind
     commenters, and based on this                            Production source category.                           flange, plug, or second valve on an
     additional information, we find that the                    In addition, we proposed provisions
     developments we proposed are not cost                    and clarifications for periods of SSM                   4 Examples of prevention measures include flow
                                                              and bypasses, including PRD releases,                 indicators, level indicators, temperature indicators,
     effective for this emissions source.
                                                              bypass lines on closed vent systems, in               pressure indicators, routine inspection and
     Thus, we are not finalizing any changes                                                                        maintenance programs or operator training,
                                                              situ sampling systems, maintenance
     for storage vessels as a result of the                   activities, and certain gaseous streams               inherently safer designs or safety instrumentation
     technology review.                                                                                             systems, deluge systems, and staged relief systems
                                                              routed to a fuel gas system to ensure                 where the initial PRD discharges to a control
                                                              that CAA section 112 standards apply                  system.



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     open-ended valve or line is sufficient to                on the radiant tube(s) as soon as                     historically considered degassing
     prevent a bypass. For in situ sampling                   practical, but not later than 1 calendar              emissions from shutdown of storage
     systems, we proposed to delete the                       day after the flame impingement is                    vessels to be covered by their SSM plans
     exclusion of ‘‘in situ sampling systems                  found. We also proposed that an owner                 per 40 CFR 63.1108(a)(5) and relied on
     (online analyzers)’’ from the definition                 or operator conduct two of the following              the language in 40 CFR 63.1108(a)(5)
     of ‘‘ethylene process vent’’ and require                 activities: (1) Continuously monitor (or              that back-up control devices are not
     that these kinds of vents meet the                       use a gas detection tube every hour to                required, we are adding a separate
     standards applicable to ethylene process                 monitor) the CO2 concentration at the                 standard for storage vessel degassing for
     vents at all times.                                      radiant tube(s) outlet for indication that            storage vessels subject to the control
        For maintenance activities, we                        the coke combustion in the ethylene                   requirements in Table 7 to 40 CFR
     proposed a definition for ‘‘periodically                 cracking furnace radiant tube(s) is                   63.1103(e)(3)(b) and (c). The standard
     discharged’’ and removed ‘‘episodic or                   complete; (2) continuously monitor the                requires owners or operators to control
     nonroutine releases’’ from the list of                   temperature at the radiant tube(s) outlet             degassing emissions for floating roof
     vents not considered ethylene process                    to ensure the coke combustion occurring               and fixed roof storage vessels until the
     vents. We proposed to add a work                         inside the radiant tube(s) is not so                  vapor space concentration is less than
     practice standard at 40 CFR                              aggressive (i.e., too hot) that it damages            10 percent of the LEL. Storage vessels
     63.1103(e)(5) requiring that, prior to                   either the radiant tube(s) or ethylene                may be vented to the atmosphere once
     opening process equipment to the                         cracking furnace isolation valve(s); (3)              the storage vessel degassing
     atmosphere, the equipment either: (1)                    after decoking, but before returning the              concentration threshold is met (i.e., 10
     Be drained and purged to a closed                        ethylene cracking furnace back to                     percent LEL) and all standing liquid has
     system so that the hydrocarbon content                   normal operations, purge the radiant                  been removed from the vessel to the
     is less than or equal to 10 percent of the               tube(s) with steam and verify that all air            extent practical.
     lower explosive limit (LEL); (2) be                      is removed; or (4) after decoking, but                  Lastly, based on comments received
     opened and vented to the atmosphere                      before returning the ethylene cracking                on the proposal, we are making some
     only if the 10-percent LEL cannot be                     furnace back to normal operations,                    minor editorial corrections and
     demonstrated and the pressure is less                    apply a coating material to the interior              technical clarifications to the work
     than or equal to 5 psig, provided there                  of the radiant tube(s) to protect against             practice standards for the decoking of
     is no active purging of the equipment to                 coke formation inside the radiant tube                ethylene cracking furnaces. Specifically,
     the atmosphere until the LEL criterion                   during normal operation. In addition,                 we are adding delay of repair provisions
     is met; (3) be opened when there is less                 we proposed that the owner or operator                to the flame impingement inspection
     than 50 pounds of VOC that may be                        must conduct the following inspections                requirements, adding clarifying text to
     emitted to the atmosphere; or (4) for                    for ethylene cracking furnace isolation               the CO2 monitoring, coil outlet
     installing or removing an equipment                      valve(s): (1) Prior to decoking operation,            temperature monitoring, air removal,
     blind, depressurize the equipment to 2                   inspect the applicable ethylene cracking              and radiant tube(s) treatment
     psig or less and maintain pressure of the                furnace isolation valve(s) to confirm that            requirements, and removing
     equipment where purge gas enters the                     the radiant tube(s) being decoked is                  unnecessary recordkeeping associated
     equipment at or below 2 psig during the                  completely isolated from the ethylene                 with the time each isolation valve
     blind flange installation, provided none                 production process so that no emissions               inspection is performed and the results
     of the other proposed work practice                      generated from decoking operations are                of that inspection even if poor isolation
     standards can be met. For cases where                    sent to the ethylene production process;              was not found. For details about these
     an emission source is required to be                     and (2) prior to returning the ethylene               minor changes, refer to Section 6.7 of
     controlled in the EMACT standards but                    cracking furnace to normal operations                 the document, Summary of Public
     is routed to a fuel gas system, we                       after a decoking operation, inspect the               Comments and Responses for the Risk
     proposed to add footnote b to Table 7                    applicable ethylene cracking furnace                  and Technology Reviews for the
     of 40 CFR 63.1103(e) to require that any                 isolation valve(s) to confirm that the                Ethylene Production Source Category,
     flare, utilizing fuel gas whereby the                    radiant tube(s) that was decoked is                   available in the docket for this action.
     majority (i.e., 50 percent or more) of the               completely isolated from the decoking                 3. What key comments did we receive
     fuel gas in the fuel gas system is derived               pot or furnace firebox such that no                   on the proposal revisions pursuant to
     from an ethylene production unit,                        emissions are sent from the radiant                   CAA section 112(d)(2) and (3), and what
     comply with the proposed flare                           tube(s) to the decoking pot or furnace                are our responses?
     operating and monitoring requirements.                   firebox once the ethylene cracking
        We proposed to add work practice                      furnace returns to normal operation.                     This section provides comment and
     standards at 40 CFR 63.1103(e)(7) and                       More information concerning our                    responses for the key comments
     (8) to address the decoking of ethylene                  proposal to address CAA section                       received regarding our proposed
     cracking furnaces (i.e., the coke                        112(d)(2) and (3) can be found in the                 revisions for flares and clarifications for
     combustion activities in an ethylene                     proposed rule (84 FR 54278, October 9,                periods of SSM, including PRD releases,
     cracking furnace), which is defined as a                 2019).                                                decoking operations for ethylene
     shutdown activity and was previously                                                                           cracking furnaces (i.e., the decoking of
     only required to minimize emissions by                   2. How did the revisions pursuant to                  ethylene cracking furnace radiant
     following a startup, shutdown,                           CAA section 112(d)(2) and (3) change                  tubes), and storage vessel emptying and
     malfunction plan. This ensures that                      since proposal?                                       degassing. Other comment summaries
     CAA section 112 standards apply                             The EPA is finalizing the revisions to             and the EPA’s responses for additional
     continuously. To minimize coke                           the monitoring and operational                        issues raised regarding these activities
     combustion emissions from the                            requirements for flares, as proposed,                 as well as issues raised regarding our
     decoking of the radiant tube(s) in each                  except that we are not finalizing the                 proposed revisions for bypass lines on
     ethylene cracking furnace, we proposed                   work practice standard for velocity                   closed vent systems, in situ sampling
     that an owner or operator must conduct                   exceedances for flares operating above                systems, maintenance activities, and
     daily inspections of the firebox burners                 their smokeless capacity. In response to              certain gaseous streams routed to a fuel
     and repair all burners that are impinging                comments that owners or operators have                gas system, can be found in the


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     document, Summary of Public                              continuous monitoring of either the net                requirements being finalized at 40 CFR
     Comments and Responses for the Risk                      heating value or composition of flare gas              63.1103(e)(4). However, we disagree
     and Technology Reviews for the                           must be required pursuant to CAA                       with one commenter’s request to
     Ethylene Production Source Category,                     sections 112(d)(2), (3), and (6). The                  mandate additional measures to ensure
     available in the docket for this action.                 commenter recommended that the EPA                     98-percent flare combustion efficiency.
        Comment: We received comments in                      also consider the following measures to                The flare requirements we are finalizing
     support of and against our proposal to                   help assure compliance with 98-percent                 are already designed to ensure flares
     establish similar requirements for flares                destruction efficiency:                                meet a minimum destruction efficiency
     used in the Ethylene Production source                      • Prohibit wake dominated flow                      of 98 percent, consistent with the MACT
     category as the flare requirements                       flaring conditions. The commenter                      control requirements.
     established in the 2015 Petroleum                        noted that studies have shown that high                   We disagree with the commenter’s
     Refinery NESHAP, including the                           winds can decrease flare destruction                   specific request to prohibit wake
     incorporation of the net heating value of                efficiency.6                                           dominated flow flaring conditions as we
     the combustion zone (NHVcz)                                 • Require continuous video                          have extremely limited data to suggest
     calculation and limits. One commenter                    monitoring and recording for flares                    that wind adversely impacts the
     supported the proposed strengthened                      equipped with video monitoring and                     combustion efficiency of flares, let alone
     operational and monitoring                               flares that vent more than 1 million                   the combustion efficiency of industrial-
     requirements, which the commenter                        standard cubic feet scf per day (MMscf/                sized flares used at ethylene production
     stated reflect best practices already in                 day).7                                                 units. Commenters submitted no new
     place at many facilities and must be                        • Require monitoring of pilot gas,                  data to otherwise support the assertion
     required pursuant to CAA sections                        which is already required by the South                 that wind does indeed affect flare
     112(d)(2), (3), and (6). The commenter                   Coast Air Quality Management District                  performance, and, as such, we are not
     reiterated the EPA’s determination that                  (SCAQMD) and Bay Area Air Quality                      persuaded into changing our position at
     measuring the net heating value of the                   Management District (BAAQMD).                          proposal that no flare operating
     flare gas, as it enters the flares, is                      The commenter also stated that the                  parameter(s) are needed to minimize
     insufficient to determine combustibility                 EPA should require that facilities                     wind effects on flare performance.
     because facilities add steam and other                   conduct necessary flare maintenance                       We disagree with the commenter’s
     gases not accounted for and that flare                   and upgrades and have additional flare                 specific request to require continuous
     performance data shows that the net                      capacity on standby. The commenter                     video monitoring and recording for
     heating value of vent gas in the                         stated that if a flare is smoking, that may            flares equipped with video monitoring
     combustion zone must reach at least 270                  mean it simply needs to be either                      and flares that vent more than 1 MMscf/
     British thermal units per standard cubic                 maintained or updated to address the                   day. We note that in the final rule we
     foot (Btu/scf). Some commenters also                     problem. The commenter recommended                     have provided for the use of video
     supported the EPA’s proposal ‘‘that                      add-on equipment to augment the                        camera surveillance monitoring as an
     owners or operators may use a corrected                  smokeless capacity of a flare.8 The                    alternative to EPA Method 22
     heat content of 1,212 Btu/scf for                        commenter also said that the EPA                       monitoring. Observation via the video
     hydrogen, instead of 274 Btu/scf, to                     neither explained why other types of                   camera feed can be conducted readily
     demonstrate compliance with the                          conveyances are not possible, nor can                  throughout the day and will allow the
     NHVcz operating limit,’’ because the                     the EPA justify a standard that exempts                operators of the flare to watch for visible
     data show that the control efficiency of                 equipment routed to a flare from the                   emissions at the same time they are
     a flare drops off significantly below this               standards that generally apply to such                 adjusting the flare operations.
     level.                                                   equipment.                                                We also disagree with the
        Another commenter also suggested                         Response: We appreciate the support                 commenter’s specific request to require
     other improvements to the proposed                       from several commenters for the flare                  monitoring of pilot gas. The data
     flared revisions. According to this                      operational and monitoring                             available to us suggests that heat release
     commenter, data shows the proposed                                                                              from the flare pilots are generally
     rule does not assure heating values in                      6 The commenter provided the following              negligible when regulated materials are
     the combustion zone that are high
                                                              reference: Robert E. Levy et al., Indus. Prof. for     sent to the flare and exclusion of the
                                                              Clean Air, Reducing Emissions from Plant Flares        flare pilot gas simplifies the NHVcz
     enough to achieve the EMACT                              (No. 61) at 1 (April 24, 2006).
     standards. The commenter said that the                      7 The commenter provided the following              calculation. Even when only purge gas
     EPA has an extensive record to support                   reference: See 84 FR 54296; BAAQMD § 12–11–507:        is used, the flare pilots typically only
     its conclusion that some ethylene                        requiring continuous video monitoring and              provided about 10 percent of the total
                                                              recording for flares equipped with video monitoring    heat input to the flare and typically well
     production facility flares do not destroy                and flares with vent gas more than 1 MMscf/day);
     at least 98 percent of HAP, and urged                    SCAQMD Rule 1118(g)(7): requiring continuous
                                                                                                                     less than 1 percent in the recent passive
     the EPA to mandate additional measures                   video monitoring and recording; Consent Decree,        fourier transform infrared spectrometry
     to ensure 98-percent flare destruction                   United States of America v. Marathon Petroleum         flare tests when potential regulated
                                                              Company LP et al., No. 12–cv–11544 (E.D. Mich.)        material is routed to the flare (this is
     efficiency. The commenter noted that at                  (April 5, 2012); Consent Decree, United States of
     least one operator, Formosa, recognizes                  America et al. v. BP Products North America Inc.,
                                                                                                                     dependent on the size of the flare,
     that flares can achieve 99-percent                       No. 12–cv–0207 (N.D. Ind.) (May 23, 2012); Consent     number of pilots, and flare tip design,
     reduction in HAP emissions for small                     Decree, United States of America v. Shell Oil          which impacts minimum purge flows).
                                                              Company et al., No. 13–cv–2009 (S.D. Tex.) (July       We are finalizing the definition of flare
     molecules.5 The commenter stated that                    10, 2013); Consent Decree, United States of America
                                                              v. Flint Hills Resources Port Arthur, LLC, No. 14–
                                                                                                                     vent gas as proposed, which excludes
       5 The commenter provided the following                 cv–0169, at 12 (E.D. Tex.) (March 20, 2014).           pilot gas.
     reference: RISE St. James et al. Comments on 14             8 The commenter provided the following                 Also, we disagree with the
     Proposed Initial Title V/Part 70 Air Permits,            reference: John Zink Hamworthy, Smokeless, Safe,       commenter’s specific request to require
     Proposed Initial Prevention of Significant               Economical Solutions: Refining & Petrochemical         additional flare capacity on standby to
     Deterioration Permit, and the Associated                 Flares. Pg. 4 (this technology can increase the
     Environmental Assessment Statement for FG LA,            smokeless capacity of a flare by nearly 38 percent),
                                                                                                                     avoid a smoking flare because it would
     LLC (Formosa) Chemical Complex, Attachment E at          available at http://www.johnzink.com/wp-content/       require new additional flares to operate
     18 (August 12, 2019).                                    uploads/Flares-Refining-Petrochemical.pdf.             at idle conditions for the vast majority


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     of time, contributing to additional                      ensuring compliance with the current                     • The EPA did not include the cost to
     criteria pollutant emissions on a                        standard.                                             develop the continuous parametric
     continuous basis, while having only a                       The commenter argued the EPA                       monitoring system monitoring plan
     small impact on HAP emissions. For                       should have evaluated the flare                       required by 40 CFR 63.671(b), which
     example, an existing flare burns                         revisions under CAA section 112 (d)(6),               they estimate is an additional $7,400 per
     approximately 25,000 to 100,000                          found the revisions were not cost                     flare to develop.
     standard cubic feet per day of natural                   effective, and not proposed the flare                    Using their updated costs and the
     gas (or fuel gas). If three new flares are               revisions. To support the commenter’s                 EPA’s estimated 1,430 tpy of HAP
     added for each existing flare to ensure                  contention that the proposed flare                    reductions, the commenter stated that
     flares do not smoke during emergency                     requirements would not be cost                        the cost effectiveness of the proposed
     shutdowns or other similar major                         effective, the commenter provided                     flare requirements would be $55,874 per
     events, then the additional emissions                    updated estimates for the costs                       ton of HAP reduced. The commenter
     per existing flare would be 1,000 to                     presented in Tables 3, 6, and 7 of the                argued that the EPA would have found
     4,100 megagrams per year of CO2                          EPA memorandum, Control Option                        the proposed flare revisions not cost
     equivalence and 0.9 to 3.6 tpy of                        Impacts for Flares Located in the                     effective under CAA section 112(d)(6)
     nitrogen oxides. This estimate does not                  Ethylene Production Source Category.                  and, therefore, would not have included
     include emissions from the generation                    The commenter made the following                      the changes in the proposed rule.
     of the extra steam needed for these                      statements regarding costs:                              Another commenter stated there
     flares to operate in a smokeless manner                     • The EPA did not consider the cost                would be complications complying with
     during the emission events. Therefore,                   of constructing new flares at existing                the proposed flare revisions, which
     the secondary impacts associated with                    facilities to meet the proposed                       would further increase the cost of the
     having greater smokeless flare capacity                  requirements. The commenter stated                    proposal, including: (1) When gas
     would be significant. In addition, it is                 that they know that at least one                      chromatographs are currently in use,
     not clear whether the specific                           company would be required under the                   some flares will need to add
     technology that the commenter cited to                   proposed rule to install at least two new             calorimeters to directly measure the net
     augment the smokeless capacity of a                      flares, due to the high potential for                 heating value on a minute-by-minute
     flare (i.e., a specific steam-assisted flare             existing flares to exceed the number of               basis to help with process control and
     system that uses multiple-port                           visible emissions events allowed, with a              meet the requirements on a 15-minute
     supersonic nozzle technology) is an                      capital cost of $20 million and                       basis; (2) some flares have multiple vent
     ‘‘add-on’’ technology, nor did the                       annualized costs of $3.1 million.                     gas lines entering the flare system (e.g.,
     commenter provide any data to quantify                      • Gas chromatographs would need to                 a line to the base of the flare and a line
     or substantiate the claims, or any other                 be installed in certain instances to                  entering the side of the flare stack) and
     additional details on costs or emissions                 comply with the proposed monitoring                   additional vent gas monitors will be
     reductions for it.                                       requirements, which the commenter                     needed; (3) some flares have two or
        Finally, the commenter did not                        suggests would have an estimated                      more steam lines to the flare tip and
     provide any context regarding their                      nationwide capital investment of                      additional steam flow monitors will be
     comment about other types of                             $964,000 and annualized costs of                      needed; and (4) some flares will need to
     conveyances and justifying standards;                    $140,000 for installation and operation.              install larger volume supplemental fuel
     therefore, we are unable to respond to                      • The EPA did not account for the                  lines, triggering the need for permitting
     this portion of the comment.                             costs associated with upgrading natural               and construction of these systems.
        Comment: A commenter stated that                      gas controls and flow monitoring; the                    Response: We disagree with the
     the EPA improperly based the proposed                    commenter estimated approximately 47                  commenter that the flare revisions
     flare revisions on CAA sections                          flares will require upgraded                          should have been evaluated and
     112(d)(2) and (3) and should have                        supplemental fuel controls and                        proposed under CAA section 112(d)(6).
     evaluated them under CAA section                         monitoring equating to a nationwide                   As explained at proposal, we are not
     112(d)(6). The commenter stated that in                  capital investment of $5.3 million and                revising the MACT standards, which
     setting the original MACT, the EPA did                   an annualized cost of approximately $1                generally require 98-percent control
     not have actual data demonstrating that                  million.                                              efficiency and allow an owner or
     the best performers were achieving 98-                      • The EPA did not account for                      operator to choose the control device to
     percent HAP reduction with flares (and                   supplemental natural gas firing to meet               meet the standard. Rather, we
     other combustion devices), but rather                    the revised NHVcz operating parameter,                determined the flare operating and
     based its conclusions on what it                         which the commenter estimates would                   monitoring requirements were not
     presumed sources would achieve if a                      cost approximately $66.8 million per                  adequate to ensure that 98-percent
     combustion device were operated                          year in additional operating costs.                   control efficiency can be met for a flare
     consistent with the requirements in the                     • The EPA underestimated the costs                 at all times. (84 FR 54294). As a general
     rule. The commenter further stated that                  to develop the flare management plan                  matter, available flare test data indicates
     the EPA is now claiming that 98-percent                  by inappropriately relying on the cost                that flares can achieve 99.9-percent
     HAP reduction was not achieved in                        estimated for refineries. However, most               control at certain times, and we believe
     practice by the best performers, and                     refineries were subject to similar flare              that the long term nationwide average
     instead can only be achieved by the best                 management plan requirements under                    control efficiency achieved by flares
     performers if they take additional steps                 40 CFR part 60, subpart Ja, and,                      meeting the final rule requirements
     to reduce emissions (e.g., meet NHVcz                    therefore, were only required to update               could be over 98-percent control
     requirements and implement additional                    existing plans, whereas the commenter                 efficiency. In fact, in the development of
     monitoring). The commenter contended                     said ethylene producers will generally                the EMACT standards, the EPA stated
     the proposed flare revisions can only be                 be required to develop new flare                      that ‘‘It is generally accepted that
     either a BTF standard or a revision as                   management plans. The commenter                       combustion devices achieve a 98
     a result of the technology review, and                   estimated the cost to develop a new                   weight-percent reduction in HAP
     the EPA cannot make the standard more                    flare management plan is $23,300 per                  emissions . . .’’ (65 FR 76428,
     stringent simply by claiming it is                       flare.                                                December 6, 2000). However, in this


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     rulemaking, we are acknowledging that                    higher than the commenter’s cost                      flare. The commenter urged that
     there are instances, particularly when                   estimate.                                             smoking events that occur when the
     either assist steam or assist air is used,                  Comment: We received comments in                   smokeless capacity of a flare is not
     where flare performance is degraded,                     support of and against the proposed                   exceeded should not be included in
     and this level of control is not achieved                work practice requirements for visible                determining the average frequency of
     at all times. Since the revisions ensure                 emissions and flare tip velocity. A                   hydraulic load smoking events at flares.
     continuous compliance with the MACT                      commenter contended that the inherent                    A commenter also stated that the
     standards, under CAA sections 112(d)(2)                  nature of the ethylene production                     information the ACC provided to the
     and (3), costs are not a factor considered               process (i.e., ethylene production                    EPA showing visible emissions events
     for these revisions. NRDC v. EPA, 529                    requires a significant amount of                      and velocity exceedances (see Appendix
     F.3d 1077, 1084 (D.C. Cir. 2008) (‘‘EPA                  compression and refrigeration)                        B of Docket ID Item No. EPA–HQ–OAR–
     may not consider costs in setting the                    necessitates the proposed flare work                  2017–0357–0017) identifies two flares
     maximum achievable control                               practice requirements to an even greater              as material handling flares and one flare
     technology ‘floors,’ but only in                         extent than the refinery sector.                      as a process wastewater flare while all
     determining whether to require ‘beyond                   According to the commenter, in an                     other flares are not characterized in any
     the floor’ reductions in emissions.’’);                  upset situation such as a power outage                way. The commenter said that the
     NRDC v. EPA, 489 F.3d 1364, 1376 (D.C.                   or equipment malfunction, the                         inconsistent characterization of the
     Cir. 2007 (‘‘[C]ost is not a factor that                 compression and refrigeration systems                 flares raises questions about the nature
     EPA may permissibly consider in setting                  can be lost resulting in a rapidly                    of the flares used to support the EPA’s
     a MACT floor.’’); see also, Nat’l Lime                   expanding volume of gas that must be                  claims on the frequency of these events
     Ass’n v. EPA, 233 F.3d 625, 640 (D.C.                    removed from the process equipment to                 at the best performing flares.
     Cir.2000)). At proposal, we                              prevent potential damage and minimize                    In addition, the commenter reiterated
     acknowledged that some additional                        safety risks.                                         that the proposed revisions for releases
     instrumentation and supplemental fuel                       Several commenters objected to the                 from smoking flares do not satisfy CAA
     may be needed for some flares and                        EPA’s proposed emergency flaring                      section 112(d)(2) or (3). The commenter
     included cost estimates for these items.                 provisions for smoking flares. Some                   said the EPA did not provide rationale,
     In addition, as previously explained, the                commenters stated that the proposed                   and did not meet, the statutory test for
     EPA has no obligation to review prior                    number of visible emissions exceedance                smoking flares. The commenter also
     MACT determinations and recalculate                      events allowed is not supported by data               said the EPA did not provide a
     MACT floors as part of each CAA                          the EPA received in response to the                   reasonable analysis or determination
     section112(d)(6) review. See, e.g., Nat’l                CAA section 114 ICR. A commenter said                 showing that allowing one to two
                                                              that the information the EPA used                     uncontrolled such events every 3
     Ass’n of Surface Finishing v. EPA, 795
                                                              indicates that there were zero velocity               calendar years (plus force majeure event
     F.3d 1 (D.C. Cir. 2015); Association of
                                                              exceedances during any smoking;                       releases) reflects the average of the best
     Battery Recyclers v. EPA, 716 F.3d 667,
                                                              however, 40 CFR 63.670(o) implies that                performers’ reductions and is the
     673 (D.C. Cir. 2013), NRDC v. EPA, 529
                                                              the flare must be operating above its                 ‘‘maximum achievable degree of
     F.3d 1077(D.C. Cir. 2008).
                                                              smokeless capacity in order to smoke.                 emission reduction.’’ The commenter
        Contrary to the commenter’s                           The commenter said that unless the EPA
     assertions, we did estimate costs in                                                                           urged that what is ‘‘achievable for the
                                                              has data indicating that these flares                 average’’ is not the statutory test. The
     order to provide the resulting impacts of                were exceeding their smokeless capacity
     the proposed flare requirements, and we                                                                        commenter expressed the view that it is
                                                              (i.e., there was a tip velocity
     are not revising these costs as a result                                                                       unclear how a smoking flare could ever
                                                              exceedance) at the time of the smoking
     of this comment. The largest impact on                                                                         meet CAA sections 112(d)(2) and (3).
                                                              event, the database that the EPA used
     annual costs is associated with                                                                                   The commenter recommended the
                                                              does not support its claims on the
     supplemental natural gas to meet the                                                                           EPA consider the data it collected on
                                                              frequency of these events at the best
     NHVcz limit, which the commenter                                                                               flares to determine the amount of HAP
                                                              performing flares and the proposed
     estimated is approximately 18 times                                                                            emitted. The commenter stated that the
                                                              deviation definitions at 40 CFR
     higher than our estimate ($66.8 million                                                                        EPA has not explained why its own data
                                                              63.670(o)(7)(ii) and (iv) are arbitrary and
     from the commenter versus $3.7 million                                                                         on emission exceedances from
                                                              capricious. Similarly, a commenter
     for the EPA). We find the commenter’s                                                                          equipment connected to flares would
                                                              noted that the EPA ‘‘assumed . . . that
     cost estimate unreasonable, and that                                                                           not allow it to set limits on smoking
                                                              the best performers would have no more
     commenters notably did not account for                                                                         flares, and that the EPA has not and
                                                              than one [visible emissions] event every
     adjusting other flare parameters instead                 7 years’’ based on industry survey data               could not show, based on the record
     of using such a large amount of natural                  provided by the American Chemistry                    that the complete exemption for one to
     gas. We are also unable to re-create and                 Council (ACC), which the commenter                    two smoking flare incidents at each
     establish how the estimated costs were                   noted fails to provide date ranges for the            flare, every 3 years, in any way satisfies
     developed by commenters due to a lack                    data presented, or to identify the                    CAA section 112(d)(3). The commenter
     of information pertaining to baseline                    location of the facilities. The commenter             stated that the EPA’s failure to review
     flare flows, waste gas compositions,                     also noted that the survey identifies zero            actual data is especially egregious given
     current supplemental natural gas flows                   exceedances of the flare tip velocity                 the fact that the Texas Commission on
     and steam flows. The commenter also                      from any facility, and the average                    Environmental Quality (TCEQ), the
     stated that we did not include costs for                 presented by industry is provided                     BAAQMD, and the SCAQMD have
     flow monitors and controls, but these                    without any context. The commenter                    extensive data on the frequency that
     were specific items we included at                       warned that without access to more                    operators report smoking emissions
     proposal (see Table 3 in the                             detailed underlying data it is impossible             from flares,9 and given that the
     memorandum, Control Option Impacts                       to determine if the ACC data includes                   9 The commenter provided the following
     for Flares Located in the Ethylene                       smoking events that occurred at flares                reference: This data is available on TCEQ Emission
     Production Source Category), and the                     when the flow rate to the flare was also              Event Reporting website (http://
     EPA’s cost estimate for these items is                   below the smokeless capacity of the                                                             Continued




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     smokeless capacity of the flare is an                    time we promulgated the EMACT                         proposed work practice standard for
     easily ascertainable characteristic. The                 standards. This is entirely consistent                when the flare vent gas flow rate
     commenter argued that using this data,                   with agency practice of fixing                        exceeds the smokeless capacity of the
     the EPA could have potentially                           underlying defects in existing MACT                   flare and the tip velocity exceeds the
     determined a MACT floor that complies                    standards under CAA sections 112(d)(2)                maximum flare tip velocity operating
     with the requirements of the CAA.                        and (3), provisions that directly govern              limit. Instead, we are finalizing
        The commenter also warned that the                    the initial promulgation of MACT                      provisions that require compliance with
     EPA does not meet the BTF                                standards. (See, National Emission                    the maximum flare tip velocity
     requirements in CAA section 112(d)(2).                   Standards for Hazardous Air Pollutants                operating limit at all times, regardless of
     The commenter stressed that the EPA                      from Petroleum Refineries, October 28,                whether you are operating above the
     has not demonstrated that allowing                       2009, 74 FR 55670; and National                       smokeless capacity of the flare.
     multiple smoking flare exemptions from                   Emission Standards for Hazardous Air                     In order to ensure 98-percent
     the standards is the ‘‘maximum                           Pollutants: Group I Polymers and                      destruction of HAP discharged to the
     achievable degree of emission                            Resins; Marine Tank Vessel Loading                    flare (as contemplated at the time the
     reduction’’ from those flares. The                       Operations; Pharmaceuticals                           EMACT standards were promulgated)
     commenter argued that, at the very least,                Production; and the Printing and                      during both normal operating
     the EPA must set standards on the                        Publishing Industry, April 21, 2011, 76               conditions when the flare is used solely
     duration and amount of gas that is                       FR 22566)).                                           as a control device and malfunction
     routed to a flare during a malfunction                                                                         releases where the flare acts both as a
                                                                 Regarding the operational standards
     event that causes the flare to operate                                                                         safety device and a control device, we
                                                              for flares operating above the smokeless
     above its smokeless capacity, in                                                                               are finalizing, as proposed, the work
                                                              capacity, we note that these flare
     addition to the cap on the number of                                                                           practice standard for when the flare vent
                                                              emissions are due to a sudden increase
     exemptions included in the proposed                                                                            gas flow rate exceeds the smokeless
                                                              in waste gas entering the flare, typically
     rule. The commenter stated that the                                                                            capacity of the flare and visible
                                                              resulting from a malfunction or an
     HAP emission limits for flares during                                                                          emissions are present from the flare for
                                                              emergency shutdown at one or more
     malfunctions cannot be less stringent                                                                          more than 5 minutes during any 2
                                                              pieces of equipment that vents
     than the emission limits that apply                                                                            consecutive hours during the release
                                                              emissions to the flare. The EPA
     during normal operations.                                                                                      event. As described in more detail in
        The commenter stated that, based on                   disagrees with commenter’s suggestion                 our technical memorandum, Control
     data from TCEQ, smoking flare events                     that standards are warranted for the                  Option Impacts for Flares Located in the
     can last several minutes or multiple                     duration and amount of gas discharged                 Ethylene Production Source Category,
     days, and the EPA’s proposed                             to a flare during malfunction events,                 located at Docket ID Item No. EPA–HQ–
     regulations do not make clear whether                    which are infrequent, unpredictable and               OAR–2017–0357–0017, the best
     this should be considered a single event                 not under the control of an operator.                 performing flare in the Ethylene
     or multiple smoking events. The                          Flares are associated with a wide variety             Production source category for which
     commenter additionally noted that the                    of process equipment and the emissions                we have information on visible
     EPA’s proposed regulation does not                       routed to a flare during a malfunction                emissions has a visible emissions event
     make clear whether visible smoke                         can vary widely based on the cause of                 once every 7 years. Even if the best-
     emissions that are caused by multiple                    the malfunction and the type of                       performing flare ‘‘typically’’ only has
     root causes occurring at the same time                   associated equipment. Thus, it is not                 one event every 7 years, the fact that
     should count as one visible emission                     feasible to establish a one-size-fits-all             visible emissions events are random by
     event or two.                                            standard on the amount of gas allowed                 nature (unpredictable, not under the
        Response: First, as explained at                      to be routed to flares during a                       direct control of the owner or operator)
     proposal flares are used as APCDs to                     malfunction. Moreover, we note that                   makes it difficult to use a short term
     control HAP emissions in both the                        routing emissions to the flare will result            time span to evaluate a backstop to
     Petroleum Refinery and Ethylene                          in less pollution than the alternative,               ensure an effective work practice
     Production source categories. It is                      which would be to emit directly to the                standard. Thus, when one considers a
     therefore not a specific emission source                 atmosphere. We note that we do not set                longer term time span of 20 years, our
     within the EMACT standards and, thus,                    similar limits for thermal oxidizers,                 analysis shows that three events in 3
     we did not seek to establish a MACT                      baghouses, or other control devices that              years would appear to be ‘‘achievable’’
     floor for flares at the time that we                     we desire to remain operational during                for the average of the best performing
     promulgated the EMACT standards in                       malfunction events to limit pollutant                 flares. We disagree with commenters
     the GMACT NESHAP. Rather, we                             emissions to the extent practicable.                  that we should allow more or fewer
     identified flares as an acceptable means                 However, we did propose work practice                 visible emissions events above the
     for meeting otherwise applicable                         standards that we believed would be                   smokeless capacity of a flare. We also
     requirements and we established flare                    effective in reducing the size and                    disagree with commenters that the
     operational standards that we believed                   duration of flaring events that exceed                regulatory text we are cross-referencing
     would achieve a 98-percent destruction                   the smokeless capacity of the flare to                at 40 CFR 63.670(o) is unclear about
     efficiency on a continual basis. As                      improve overall flare performance. On                 what constitutes an event or how to
     previously explained, recognizing that                   that premise, we acknowledge that the                 handle multiple root causes, especially
     flares were not achieving the 98-percent                 data we received from ACC’s survey                    since there is generally only a singular
     reduction efficiency in practice at all                  identifies zero exceedances of the flare              root cause at the heart of a visible
     times, we proposed additional                            tip velocity during a smoking event; and              emissions event.
     requirements in the October 9, 2019,                     we agree with the commenter that our                     With respect to the comment about
     proposed rule (84 FR 54294) to ensure                    proposed determination of the                         conducting a BTF analysis under CAA
     that flares operate as intended at the                   frequency of these events at the best                 section 112(d)(2), we note the work
                                                              performing sources is not supported.                  practice combustion efficiency
     www.tceq.texas.gov/field/eventreporting) and is also     Therefore, in response to comments on                 standards (specifically limits on the net
     available in Excel format from the state agency.         our proposal, we are not finalizing the               heating value in combustion zone)


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     apply at all times, including during                     this monitoring technology is already in              The commenter argued that any such
     periods of emergency flaring. Because                    use at refineries in the United States,11             calculation would need to consider the
     flares are not an affected emissions                     and noted that SCAQMD required                        impact of the EPA and state imposed
     source, but rather an APCD, no BTF                       refineries to install wireless monitoring             flaring reduction programs, and the
     analysis is needed. While requiring the                  on 20 percent of the PRDs at their                    social and economic cost of the excess
     use of systems such as back-up power                     facilities since 2003 and on all PRDs                 emissions from PRD emissions,
     or adding additional flares for                          since 2009.12 The commenter noted that                including costs associated with the
     additional flare capacity might alleviate                the EPA also relied on TCEQ data from                 disruption in communities that are
     additional visible emission events, we                   seven ethylene production facilities that             subject to ‘‘shelter in place’’ programs
     note that facilities would have to invest                reported the quantity of HAP emissions                because of episodic releases from
     significant capital to build a back-up                   released during specific PRD release                  facilities.
     cogeneration power plant or add                          events. For these reasons, the
     additional flare capacity for flares to                  commenter argued that it is possible to                  Response: We disagree with the
     operate on standby to handle very                        measure PRD emissions, and they                       commenter’s assessment and maintain
     infrequent events we are limiting in this                actually have been measured. The                      the rationale provided in the proposal
     final rule. Combined with the costs,                     commenter stated that the EPA has not                 preamble (84 FR 54302, October 9,
     significant additional emissions would                   shown and cannot show why, in view                    2019), where we specifically discussed
     also be generated from a cogeneration                    of existing data on the amount,                       the issue related to constructing a
     power plant or from a flare operating in                 duration, and types of PRD releases, it               conveyance and quantitatively
     standby to handle infrequent smoking                     cannot set a limit on these releases. The             measuring PRD releases and concluded
     events and this would lead to a net                      commenter further asserted that PRD                   that these measures were not practicable
     environmental disbenefit and is                          releases may be captured and                          and that a work practice standard was
     contradictory to the commenter’s own                     controlled; therefore, the EPA cannot                 appropriate. Owners or operators can
     concerns about limiting emissions from                   use a work practice standard under CAA                estimate the quantity of HAP emissions
     flares since owners or operators of                      sections 112(h)(1) and (2)(A) to justify              released during a PRD release event
     ethylene production facilities would                     failing to set an appropriate numerical               based on vessel operating conditions
     have to construct more of them.                          emission standard for them.                           (temperature and pressure) and vessel
        Comment: A commenter noted that                          A commenter further objected to the                contents when a release occurs, but
     CAA section 112(h) allows the EPA to                     proposed work practice standards                      these estimates do not constitute a
     set a ‘‘work practice standard’’ in lieu of              because, they asserted, the EPA                       measurement of emissions or emission
     a numerical emission standard only if it                 proposed the standards in part on the                 rate within the meaning of CAA section
     is ‘‘not feasible to prescribe or enforce                basis that the cost of measuring                      112(h). The monitoring technology
     an emission standard.’’ Further, the                     emissions is too high. The commenter                  suggested by the commenter is adequate
     commenter noted, even when the EPA                       stated that the EPA must set a MACT                   for identifying PRD releases and is one
     sets a work practice standard, such a                    floor without consideration of cost, and              of the acceptable methods that facility
     standard must still be consistent with                   that the cost is reasonable if 12 percent             owners or operators may use to comply
     CAA sections 112(d)(2) and (3). The                      of existing sources met the limitation.               with the continuous monitoring
     commenter rejected the EPA’s rationale                   The commenter argued that although                    requirement. However, we disagree that
     for the CAA section 112(h)                               the EPA stated that it would be
                                                                                                                    it is adequate for accurately measuring
     determination in the proposal that                       economically prohibitive to construct an
                                                                                                                    emissions for purposes of determining
     ‘‘application of a measurement                           appropriate conveyance and install and
                                                                                                                    compliance with a numeric emission
     methodology for PRDs that vent to                        operate continuous monitoring systems
                                                              for each individual PRD that vents to                 standard. The technology cited by the
     atmosphere is not practicable due to                                                                           commenter is a wireless monitor that
     technological and economic                               atmosphere, the EPA fails to provide the
                                                              estimated cost for construction and                   provides an indication that a PRD
     limitations.’’ The commenter stated that
                                                              installation of such monitoring systems.              release has occurred, but it does not
     the EPA’s statement is false, and that the
                                                                                                                    provide information on either release
     EPA’s proposed reporting and
                                                              Control of Volatile Organic Compound Leaks and        quantity or composition. PRD release
     recordkeeping requirements would
                                                              Releases from Components at Petroleum Facilities      events are characterized by short, high
     mandate facilities ‘‘calculate the                       and Chemical Plants at 3–2 (May 15, 2007), Docket     pressure, non-steady state conditions
     quantity of organic HAP released during                  ID Item No. EPA–HQ–OAR–2010–0869–0024.
                                                                                                                    that make such releases difficult to
     each pressure release event.’’ According                    11 The commenter provided the following

                                                              reference: Rosemount Wireless Instrumentation,        quantitatively measure. As such, we
     to the commenter, a 2007 SCAQMD
                                                              Refinery Improves Environmental Compliance and        maintain our position that the
     report found that ‘‘new (wireless)                       Reduces Costs with Wireless Instruments (2007)        application of a work practice standard
     technology allows for continuous                         (‘‘the result has been . . . true time and rate
                                                                                                                    is appropriate for PRDs.
     monitoring of PRDs without significant                   calculations for brief emissions’’), http://
     capital expense and makes it easy for                    www2.emersonprocess.com/siteadmincenter/PM               Comment: We received comments in
                                                              %20Rosemount%20Documents/00830-0100-
     operators to identify valve leaks . . .                  4420.pdf; see also Adaptive Wireless Solutions,
                                                                                                                    support of and against the proposed
     VOCs that are emitted from PRDs may                      Continuous Valve Monitoring for Product Loss          work practice standards for PRDs.
     be accurately identified, estimated,                     Prevention, Emission Reduction and ROI at 2,          Specific comments against the proposal
     remedied, and reported                                   http://www.chemicalprocessing.com/assets/Media/       related to whether they apply at all
                                                              MediaManager/Continuous_Monitoring_for_
     immediately.’’ 10 The commenter stated                   ROI.pdf; Meeting Record for August 4, 2015,           times.
                                                              Representatives of Emerson Process Management            A commenter stated that even
       10 The commenter provided the following                and Representatives of Office of Air Quality
                                                              Planning and Standards (U.S. EPA), Docket ID Item
                                                                                                                    assuming arguendo that the EPA could
     reference: SCAQMD, Rule 1173, Control of Volatile
     Organic Compound Leaks and Releases from                 No. EPA–HQ–OAR–2010–0682–0743 (meeting                set a work practice standard for PRDs
     Components at Petroleum Facilities and Chemical          regarding PRD monitoring tools and technologies).     and that it otherwise had satisfied CAA
     Plants (amended February 6 2009), http://                   12 The commenter provided the following
                                                                                                                    sections 112(h) and (d), its action is
     www.arb.ca.gov/DRDB/SC/CURHTML/R1173.PDF,                reference: SCAQMD, Staff Report at ES–2, 2–3 to 2–
     EPA–HQ–OAR–2010–0682–0761; SCAQMD, Final                 5, Docket ID Item No. EPA–HQ–OAR–2010–0869–
                                                                                                                    unlawful because there would be no
     Staff Report for Proposed Amended Rule 1173—             0024.                                                 restriction that applies continuously as


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     the CAA directs.13 The commenters                        release happened, and might even help                 commenter is claiming that a standard
     stated that the proposed rule would                      to prevent release, but these measures                does not apply at all times, we also
     permit an uncontrolled amount of HAP                     are not considered controls or limits on              disagree. Although there is not a
     to be released by a PRD repeatedly,                      the pollution that was released. The                  numerical limit that each PRD must
     when it is opened at the facility’s sole                 commenter stated that the EPA                         meet at all times, we have established a
     discretion. A commenter stated this                      additionally failed to propose any                    work practice standard that does apply
     means that once or twice every 3 years                   regulatory requirement to end PRD                     at all times. The work practice standard
     and whenever there is a force majeure                    releases as soon as it is discovered.                 for PRDs requires operators to adopt
     event, any amount of HAP that may                           Another commenter agreed that the                  prevention measures to minimize the
     come from these devices could be                         EPA has the authority and obligation to               likelihood of PRD release events, and
     released, and would not be a violation,                  adopt work practice standards under the               the installation and operation of
     no matter the original source of                         Sierra Club SSM decision. The                         continuous monitoring device(s) to
     emissions.                                               commenter reiterated the Sierra Club                  identify when a PRD release has
        A commenter argued that the fact that                 decision and said the EPA must ensure                 occurred. These measures must be
     the EPA required three non-defined                       that some ‘‘emission standard’’ applies               complied with at all times, and thus the
     steps (including monitoring                              at all times—except that the standard                 work practice standard does apply at all
     mechanisms, such as flow indicators,                     that applies during normal operation                  times. (See for example, Mexichem
     routine inspection and maintenance,                      need not be the same standard for SSM                 Specialty Resins, Inc. v. EPA, 787 F.3d
     and operator training) to be taken to try                periods. The commenter said the                       544, 560 (D.C. Cir. 2015) (‘‘The
     to prevent such releases does not mean                   requirement for ‘‘continuous’’ standards              regulations anticipate that regulated
     that there is a continuous CAA section                   means only that a facility may not                    entities will be allowed to open
     112-compliant emission standard that                     install control equipment and then turn               bypasses during maintenance as long as
     applies. The commenter stated that                       it off when atmospheric conditions are                they comply with the opening
     none of these steps would restrict                       good; and it does not mean that work                  provisions set forth therein.’’).
     pollution released during PRD openings,                  practice standards must physically                    Additionally, having a backstop on the
     would make the PRD malfunction                           restrict emissions from all equipment at              number of PRD releases allowed and
     exemptions lawful, or would turn them                    all times. The commenter said that the                requiring root cause analysis and
     into a standard instead of an exemption.                 EPA has consistently imposed as                       corrective action analysis will ensure
     The commenter noted that although                        ‘‘MACT’’ standards a variety of work                  PRD releases are further minimized. We
     there are some potential controls listed                 practice obligations that do not prohibit             also note that we have always (since the
     as work practice requirements that a                     or limit emissions to a specified level at            rule was initially promulgated) had
     facility may choose to implement (e.g.,                  all times, but rather are designed to                 requirements in our equipment leaks
     ‘‘deluge systems’’ and ‘‘staged relief                   limit overall emissions from various                  regulations at 40 CFR 63.1030(c) for the
     systems where the initial PRD                            processes over the course of a year. The              Ethylene Source category that ensure a
     discharges to a control system’’), the                   commenter said the EPA’s own LDAR                     PRD has properly reseated after a
     proposed rule does not require any                       programs illustrate this distinction. The             release. We agree with the second
     facility to either install them or any                   commenter contended that no court has                 commenter that there are a variety of
     other controls or limits on PRDs. The                    suggested that periods of ‘‘unlimited                 work practice standards the EPA has
     commenter stated this should be                          emissions’’ [e.g., 40 CFR 63.119(b)(1)                adopted in its section 112 regulations
     required pursuant to the MACT floor, as                  (internal floating roof allowed not to                that operate similar to the PRD
     the best performing PRDs are controlled,                 contact with stored material during                   requirements in that they do not
     and the best performing process units                    filling/emptying); 40 CFR 63.119(b)(6)                prohibit emissions from equipment at
     are not equipped with any PRDs that are                  (covers on tank openings may be opened                all times or otherwise establish numeric
     capable of venting emissions directly to                 when needed for access to contents); 40               limits for emissions from those pieces of
     the atmosphere.                                          CFR 63.135(c)(2) (allowing openings on                equipment.
        The commenter stated that because                     containers as necessary to prevent                       Comment: Commenters stated that the
     analyses, reports, and potential                         physical damage)] render these                        EPA cannot use CAA section 112(h) to
     corrective action steps would be                         requirements insufficient under CAA                   allow unlimited HAP releases from
     required after such releases occur, that                 section 112. Rather, the work practice                PRDs because the authorizations for
     does not mean that the EPA has                           standards associated with these                       uncontrolled PRD releases are back-door
     implemented a continuous emission                        requirements—e.g., maintaining                        exemptions from the other underlying
     standard. The commenter also stated                      openings in a closed position except as               standards regulating ethylene
     that uncontrolled releases are not                       necessary for access; conducting filling/             production facilities. For uncontrolled
     considered a violation, and there is no                  emptying as rapidly as possible—are                   PRD releases, the commenter asserted
     civil penalty for the HAP emitted during                 considered to be acceptable mechanisms                that the EPA did not and could not
     the allowable PRD releases. Under the                    to minimize overall emissions from                    reasonably explain how it is lawful to
     proposed rule, the commenter argued,                     these types of equipment, even when                   authorize completely uncontrolled
     no matter how many corrective actions                    they do not limit emissions at all during             emissions under CAA section 112(h).
     a facility may take afterward, the release               a few brief periods that are necessary for            The commenter noted that the Court
     would still be an authorized release,                    operational or safety reasons.                        previously upheld a decision not to
     allowing an unlimited amount of toxic                       Response: We disagree with the                     create a malfunction or ‘‘excursion’’
     air pollution to be emitted into the air                 underlying premise of the first                       provision.14
     from facility equipment albeit through a                 commenter that any PRD release should                    The commenter argued that
     PRD. The commenter said that post-hoc                    be deemed a violation of section 112                  historically there has been no limit on
     measures may help discover why a                         and must be directly enforceable. As we
                                                              have explained, we believe that a work                   14 The commenter provided the following

                                                              practice standard, rather than a                      reference: Weyerhaeuser Co. v. Costle, 590 F.2d
       13 The commenter provided the following                                                                      1011, 1057 (D.C. Cir. 1978) (citing Am. Petrol. Inst.
     reference: Sierra Club, 551 F.3d at 1028; CAA            numerical limit applicable to each PRD                v. EPA, 540 F.2d 1023, 1036 (10th Cir. 1976)
     section 304(k).                                          release is appropriate. To the extent the             (denying excursions)).



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     emissions when a PRD acts like a                         not a violation echoes the ‘‘affirmative                than flares to avoid using one of their
     process vent, and that the EPA’s                         defense’’ provision the Court held                      ‘‘free passes’’ for the prohibition on
     purpose in conducting this rulemaking                    unlawful in NRDC, 749 F.3d 1055, 1064                   visible smoke emissions from flares.
     was, in part, to remove these unlawful                   (D.C. Cir. 2013). The commenter argued                  Instead of meeting the CAA section 112
     exemptions as compelled by law. The                      that the EPA may not flout statutory                    standards that apply to other facility
     commenter warns that the EPA’s                           constraints Congress enacted in its                     equipment routed to PRDs or flares, the
     proposed rule reinstates new versions of                 discretion by trying to remove civil                    commenter asserted that exemptions
     precisely the same sort of exemptions,                   penalty liability for excess emissions                  authorize a facility to violate those
     by allowing at least one, and in some                    that violate the CAA and increase                       limits and have no liability if the excess
     instances two ‘‘free passes’’ to emit                    human exposure to toxic air pollution                   emissions are emitted directly into the
     uncontrolled pollution every 3-year                      directly, contrary to the CAA. The                      air. The commenter stated that this even
     period for each PRD. The commenter                       commenter pointed to the cement kilns                   creates a perverse incentive for
     further remarked that exempting such                     case, in which they asserted the EPA                    operators to install redundant PRDs on
     emissions from the definition of                         tried to claim that the unlawful                        process equipment. The commenter also
     violation negates the meaning of                         affirmative defense to civil penalties                  stated that, at the very least, the EPA
     ‘‘emission standard,’’ and shows that no                 was ‘‘part of the emission standard,’’                  must include regulations prohibiting the
     standard applies to these releases.                      noted that the Court rejected these                     installation of new redundant PRDs to
        The commenter stated that the EPA                     arguments in NRDC, 749 F.3d 1055,                       circumvent the prohibition on
     cannot create any exemption from or                      1064 (D.C. Cir. 2013), and argued that                  atmospheric releases.
     weakening of EMACT equipment                             precedent would apply equally here.16                      The commenter further stated that
     standards simply because excess                          The commenter further argued that the                   emissions from malfunctions at ethylene
     emissions from equipment are routed                      proposed rule, by allowing owners or                    production facilities that are released
     through a PRD. The commenter argued                      operators to conduct root cause analyses                through PRDs are a significant source of
     that doing so unlawfully weakens the                     for these events, essentially permits                   underestimated HAP emissions. The
     original CAA section 112(d) standards                    owners or operators—not the courts—to                   commenter suggested that the emissions
     for the linked equipment, without any                    make the determination whether they                     from PRD releases are a substantial
     reasoned explanation or support for                      should be subject to enforcement or                     problem for the industry as a whole
     doing so. Further, the commenter stated                  penalties for certain PRD releases,                     when viewed over time. Further, the
     that because the EPA proposes that no                    which determines whether an event is                    commenter argued that there is no
     emission standard applies during the                     either actionable (i.e., the result of                  upper limit on the amount of pollution
     uncontrolled releases, the exemptions                    operator error or poor maintenance, or                  an individual PRD event can release to
     violate CAA sections 112(d) and 302(k)                   whether it was the result of the same                   the atmosphere. The commenter
     and flout the Court’s decisions in these                 root cause as a prior event). The                       asserted that the EPA’s proposed
     cases, and also conflict with the EPA’s                  commenter further stated that the                       exemptions would, therefore, bar
     decision not to create an unlawful                       proposed exemptions contravene the                      enforcement action against the worst
     exemption in the Boilers case.15 The                     citizen suit and penalty provisions by                  events.
     commenter stated that the EPA provided                   creating a de facto complete defense                       A commenter observed that
     no statutory explanation or                              (not just an affirmative defense) from                  uncontrolled PRD releases are
     interpretation of how its action could                   civil penalties for certain uncontrolled                preventable and avoidable, and that
     comport with CAA sections 112 and                        emission releases that would otherwise                  they need not occur if a facility avoids
     302(k), therefore, if the EPA were to                    constitute violations. The commenter                    over-pressure in the system. The
     finalize these exemptions, the EPA                       pointed to a ruling by the Court that                   commenter referred to the proposal
     would open itself up to a violation of                   explained how creating such a multi-                    preamble, noting that such ‘‘pressure
     the CAA’s core rulemaking                                stage complicated assessment to                         build-ups are typically a sign of a
     requirements applicable to CAA                           determine if a violation has occurred                   malfunction of the underlying
     sections 112(d) and (f) standards.                       undermines the purpose of the CAA and                   equipment,’’ and PRDs ‘‘are equipment
        The commenter asserted that the                       the ability to enforce it.17                            installed specifically to release during
     proposed rule therefore seeks to                            According to the commenter, by                       malfunctions.’’ Therefore, the
     establish major exemptions that allow                    granting this exemption, the EPA may                    commenter argued that the EPA cannot
     uncontrolled releases due to predictable                 incentivize facilities to release large                 rely on any argument that equipment
     and often-repeated malfunctions. The                     amounts of HAP through PRDs rather                      can fail, and that PRDs are necessary to
     commenter noted that the even though                                                                             address over-pressure and avoid a larger
     the standard explicitly defines a                           16 The commenter provided the following              safety incident, and that the EPA has
     violation as the second or even the third                reference: EPA, NESHAP, Portland Cement                 not relied on or demonstrated with any
                                                              Summary of Public Comments and Responses at
     such release from the same PRD during                    124–25 (December 20, 2012) (‘‘EPA’s view is that
                                                                                                                      evidence that it is a valid concern. The
     a 3-year period, whether the second                      the affirmative defense is part of the emission         commenter stated that even if it may be
     uncontrolled release from the same PRD                   standard and defines two categories of violation.’’).   considered by the EPA in an
     is a violation depends on if the release
                                                                 17 The commenter provided the following
                                                                                                                      administrative enforcement context or
                                                              reference: ‘‘Once excursion provisions are              by the courts in an enforcement case,
     has the same root cause. The commenter                   promulgated, an enforcement case no longer turns
     stated that PRDs are not independent                     on the sharply defined issue of whether the plant       the EPA cannot authorize, up front, a
     emission points, and that PRDs never                     discharged more pollutant than it was allowed to,       whole set of problematic releases.
     release pollution into the air or smoke                  but instead depends on murky determinations                The commenter stated that the
                                                              concerning the sequence of events in the plant,         proposed malfunction standards for
     unless there is a malfunction. The                       whether those events would have been avoidable if
     commenter also asserted that the EPA’s                   other equipment had been installed, and whether         PRDs also break with prior Agency
     attempt to define a new way in which                     the discharge was within the intent of the excursion    policy regarding malfunctions and for
                                                              provision. Consequently, what Congress planned as       the use of case-by-case enforcement
     a facility can claim excess emissions are                a simple proceeding suitable for summary
                                                              judgments would become a form of inquest into the
                                                                                                                      discretion to address malfunctions. The
       15 The commenter provided the following                nature of system malfunction.’’ Weyerhaeuser, 590       commenter stated that the Agency has
     reference: See U.S. Sugar Co., 830 F.3d at 607–08.       F.2d at 1058.                                           repeatedly explained why case-by-case


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     evaluation of such issues is the only                     process vents are predictable and must                we determined that either two or three
     workable approach, and has repeatedly                     be characterized for emission potential               PRD releases (depending on the root
     finalized prohibitions on uncontrolled                    and applicable control requirements                   cause) from a single PRD in a 3-year
     releases from PRDs that vent directly to                  prior to operation in the facility’s NOCS             period is a violation of the work practice
     the atmosphere, fully aware that                          report. In addition, PRDs must operate                standard.
     allowing such releases without an                         in a closed position and must be                         Regarding citizen suits, we note that
     emission limit is a malfunction                           continuously monitored to identify                    the regulations do not specify that the
     exemption prohibited both by the CAA                      when releases have occurred.                          EPA Administrator would make a
     and the Court’s decision in Sierra Club.                     Under the final rule, if an affected               binding determination regarding
     The commenter objected to this change                     PRD releases to the atmosphere, the                   whether a PRD release is in compliance
     and indicated that the EPA has failed to                  owner or operator is required to perform              or a violation, and the issue could be
     clearly explain this break with prior                     root cause analysis and corrective action             argued and resolved by a court in the
     precedent.18 The commenter noted that                     analysis as well as implement corrective              context of a citizen suit.
     the EPA finalized similar provisions                      actions and comply with the specified                    Comment: We received comments in
     prohibiting PRD releases in MACT                          reporting requirements. The work                      support of and against the work practice
     standards for Group IV Polymers and                       practice standard also includes criteria              standards calling for root cause analysis
     Resins, Pesticide Active Ingredient                       for releases from affected PRDs that                  and certain corrective actions. Some
     Manufacturing, and Polyether Polyols                      would result in a violation at 40 CFR                 commenters supported the EPA’s
     Production. The commenter further                         63.1107(h)(3)(v). We also note that a                 assessment that even at the best
     stated that the Court recently upheld                     facility cannot simply choose to release              performing sources, releases from PRDs
     this type of prohibition in Mexichem                      pollutants from a PRD; any release that               are likely to occur and cannot be safely
     Specialty Resins, Inc. v EPA, 787 F.3d                    is caused willfully or caused by                      routed to a control device. A commenter
     544, 560–61 (DC Cir. 2015) and urged                      negligence or operator error is                       said the EPA’s conclusion is consistent
     the EPA to finalize the standards for                     considered a violation.                               with company’s experiences that
     PRD as proposed. The commenter noted                         We also disagree that PRDs are not                 pressure release actuation events, while
     that in light of the EPA’s prior policy,                  independent emission points and                       infrequent, will occur even at properly
     there can be ‘‘no doubt’’ that prohibiting                instead function in venting emissions                 designed and operated sources,
     uncontrolled PRD releases is lawful and                   from other emission points during a                   including the best performers. Another
     consistent with the CAA. The                              malfunction. The commenter incorrectly                commenter said that although they agree
     commenter stated that the EPA has                         suggests that the PRD work practice                   with the EPA’s conclusion that it is not
     neither provided a reasoned explanation                   standard replaces the existing emission               cost effective to control all PRD releases
     for the exemptions, nor acknowledged                      standards for connected equipment. The                to the atmosphere, they do not agree
     or explained the break in its prior policy                amendments to the NESHAP addressing                   that a root cause analysis and corrective
     against malfunction exemptions.                           PRDs do not affect requirements in the                action is a warranted work practice in
        Response: We disagree that PRDs are                    NESHAP that apply to equipment                        every situation where a PRD relieves to
     simply bypasses for emissions that are                    associated with the PRD. For example,                 the atmosphere and should not be
     subject to emission limits and controls                   compliance with the PRD provisions are                required as part of the work practice
     and that they, thus, allow for                            required in addition to requirements for              standard for every PRD release. The
     uncontrolled emissions without                            ethylene process vents for the same                   commenter stated that under the
     violation or penalty. PRDs are generally                  equipment. We also disagree with the                  Chemical Accident Prevention Program
     safety devices that are used to prevent                   comment that the standards for PRDs                   at 40 CFR 68.81(a), an incident
     equipment failures that could pose a                      also break with prior agency policy                   investigation with root cause analysis is
     danger to the facility and facility                       regarding malfunctions. As commenters                 required only when the release is a
     workers. PRD releases are triggered by                    correctly note, the EPA has indeed both               catastrophic release or ‘‘could
     equipment or process malfunction. As                      set work practice standards for PRDs                  reasonably have resulted in a
     such, they do not occur frequently or                     and prohibited PRD releases in other                  catastrophic release.’’ The commenter
                                                               source categories. As explained at                    said that a ‘‘catastrophic release’’ is
     routinely and do not have the same
                                                               proposal, however, the basis of the work              defined as a ‘‘major uncontrolled
     emissions or release characteristics that
                                                               practice standards promulgated for PRD                emission, fire, or explosion, involving
     routine emission sources have, even if
                                                               releases in the Petroleum Refinery                    one or more regulated substances that
     the PRD and the vent are on the same
                                                               Sector RTR (80 FR 75178, December 1,                  presents imminent and substantial
     equipment. This is because conditions
                                                               2015) were our underlying basis for the               endangerment to public health and the
     during a PRD release (temperature,
                                                               proposed work practice standards for                  environment.’’ The commenter argued
     pressure, and vessel contents) differ
                                                               PRD releases for facilities in the                    that the EPA has not established
     from the conditions that exist during
                                                               Ethylene Production source category (84               sufficient evidence in the background
     routine emissions from equipment. For
                                                               FR 54303, October 9, 2019).                           documents for this rulemaking to
     example, emissions from ethylene                             The EPA evaluated the best                         indicate that conducting a root cause
        18 The commenter provided the following
                                                               performing facilities in determining the              analysis routinely for all PRD releases
     references: See, FCC v. Fox, 556 U.S. 502, 516
                                                               appropriate work practice standard, and               regardless of whether they meet the
     (2009) (citing Motor Vehicle Mfrs. Ass’n v. State         as a result considered requirements                   definition of ‘‘catastrophic release’’ is
     Farm Mutual Automobile Insurance Co., 463 U.S.            established in the SCAQMD and                         being performed by the best performing
     29, 42 (1983)) (‘‘the requirement that an agency          BAAQMD rules and the Chemical                         sources in the Ethylene Production
     provide reasoned explanation for its action would
     ordinarily demand that it display awareness that it
                                                               Accident Prevent Provisions rule (84 FR               source category.
     is changing position. An agency may not, for              54303, October 9, 2019). These rules are                 Another commenter asserted that the
     example, depart from a prior policy sub silentio or       the only rules we are aware of that                   EPA did not set a standard for PRDs that
     simply disregard rules that are still on the books.’’);   address the infrequent and                            complies with the CAA requirements to
     see also Encino v. Navarro, 136 S.Ct. 2117, 2125–
     26 (2016) (reaffirming FCC v. Fox and noting the
                                                               unpredictable nature of PRD releases.                 assure both the ‘‘average emission
     need to explain changes in agency policy based on         The EPA established a MACT standard                   limitation achieved’’ by the relevant
     actual facts and circumstances).                          based on these rules, and as part of this,            best-performing sources and the


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     ‘‘maximum degree of emission                             the atmosphere over 5 years that the                  demonstrate that the best performing
     reduction’’ that is ‘‘achievable’’ and,                  EPA claims that the best performers do.               PRDs do not release emissions directly
     therefore, the EPA’s proposed standards                     A commenter argued that the EPA                    to the atmosphere.
     for PRDs do not meet the CAA sections                    should set a zero emission limit for all                 The commenter further stated that the
     112(d)(2) and (3) test. The commenter                    PRDs because the best-performing PRD                  EPA has not actually implemented the
     states there is no discussion in the                     has no emissions to the atmosphere and                requirements of the BAAQMD and
     proposed rule of these factors for PRD                   the average of the best-performing 12                 SCAQMD programs, and that the
     releases, much less an analysis or                       percent emit nothing to the atmosphere.               BAAQMD and SCAQMD programs are
     determination that allowing one—two                      The commenter stated that since the                   far more protective than the proposed
     uncontrolled releases every 3 years                      emission limitation for new sources is to             rule. First, the commenter noted the
     (plus force majeure event releases)                      reflect the performance of best                       BAAQMD requires that the operator
     reflects, at minimum, the average of the                 performing PRD, new PRDs would                        must control (via flare or routing to a
     best performers’ reductions, and is the                  presumably be required to capture and                 process unit) all PRDs that discharge for
                                                              return discharges to process units;                   a second time in a 5-year period,
     ‘‘maximum achievable degree of
                                                              existing PRDs would have to meet the                  whereas the SCAQMD rules include a
     emission reduction.’’
                                                              average of the best performing PRD,                   similar provision, but offer as an
        The commenter stated that the TCEQ                    which could not be less stringent than                alternative payment of a fee of $350,000
     data that the EPA relies on clearly                      the emission rate of the best performing              for each PRD that is not controlled. The
     demonstrate that at least 23 percent                     PRD controlled by flares.                             commenter added that SCAQMD rules
     (likely higher) of ethylene production                      A commenter recommended that the                   also require control of any PRD that has
     facilities have zero atmospheric                         EPA require new and modified                          a single large release of greater than
     releases. The EPA reviewed roughly 30                    atmospheric PRDs or existing PRDs on                  2,000 pounds per day (lbs/day). Second,
     percent of all operating ethylene                        modified process equipment to be                      the commenter noted the BAAQMD and
     production facilities (i.e., seven of 26                 routed to the fuel gas system, flare, or              SCAQMD rules require the use of three
     ethylene production facilities) in the                   other control device that achieves 98-                redundant systems, including worker
     source category that were chosen at                      percent destruction efficiency, pursuant              training, inspection, and maintenance,
     random. The commenter notes that only                    to the MACT floor, as the best                        and two redundant ‘‘hardware’’ oriented
     one of the events was actually an                        performing PRDs are controlled and the                systems. The third significant difference
     atmospheric PRD release on a properly                    best performing process units are not                 noted by the commenter is the greater
     operating PRD, which means that six                      equipped with any PRDs that are                       number of releases allowed by the
     facilities, or 23 percent of all operating               capable of venting emissions directly to              option to parse releases by ‘‘root cause.’’
     ethylene production facilities, had no                   the atmosphere. The commenter                            The commenter also stated that the
     atmospheric releases on a properly                       requested that the EPA propose that                   EPA appears to have inappropriately
     operating PRD. The commenter noted                       uncontrolled HAP emissions no longer                  categorized PRDs in its analysis. The
     that the number of ethylene production                   be allowed from a PRD, and any releases               commenter noted that the EPA stated it
     facilities with zero atmospheric releases                from such devices would have to be                    intended to regulate ‘‘atmospheric’’ PRD
     is higher. The commenter also stated                     routed through a control device.                      releases, i.e., releases to the atmosphere,
                                                                 The commenter further stated that the              including those vented to a control
     that the EPA has not explained why it
                                                              EPA’s determination on PRDs was based                 device, however, in the proposed rule,
     relied on data from the petroleum
                                                              on review of SCAQMD and BAAQMD                        the EPA appears to have effectively
     refinery sector when data for ethylene
                                                              adopted programs that attempt to reduce               ignored the ‘‘best controlled’’ PRDs
     production facilities is readily available               uncontrolled releases from PRDs, with                 (those routed to processes with no
     and relied on elsewhere in the                           generally more stringent emission                     discharge to the environment) and the
     rulemaking. The commenter noted that                     limitations and LDAR programs than                    ‘‘well-controlled’’ PRDs (those routed to
     compliance data for refineries from 2019                 federal programs. The commenter stated                high quality flares) and determined the
     under the 2015 Petroleum Refineries                      that the EPA should adopt the best                    MACT floor based on PRDs with some
     NESHAP that is publicly available                        features of those programs in                         lesser level of regulation. The
     shows that the average uncontrolled                      strengthening the NESHAP, but that                    commenter stressed that the CAA does
     PRD has far fewer releases to the                        these efforts were not subject to or                  not allow the EPA to categorize in this
     atmosphere than the EPA claims that                      aiming to satisfy the MACT floor                      manner (see CAA section 112(d)(1)
     the best performers do, and that the                     requirements of the CAA, nor are they                 (allowing the EPA only to ‘‘distinguish
     best-performing uncontrolled PRDs are                    determinative of the MACT floor for                   among classes, types, and sizes of
     likely to have no atmospheric releases                   PRDs, which must be based on the level                sources’’)).
     over a 3-year period. The commenter                      of control ‘‘achieved in practice’’ by the               Response: At proposal, the EPA
     provided data from 40 CFR part 63,                       relevant best-performing 12 percent of                provided extensive discussions on why
     subpart CC compliance reports available                  emission sources (for existing sources),              it was appropriate to establish a work
     on the websites of state environmental                   or the best single source (for new                    practice standard for PRDs that vent to
     agencies in Louisiana, Texas, and                        sources).                                             atmosphere, under CAA section 112(h).
     Indiana for 10 refineries that                              According to the commenter the                     84 FR 54302–304. We explained that no
     collectively represented approximately                   SCAQMD data on PRD releases from                      ethylene production facility is subject to
     1,030 uncontrolled PRDs. The                             refineries shows that five out of eight               numeric emission limits for PRDs that
     commenter noted that these data suggest                  (more than 50 percent) of regulated                   vent to the atmosphere. We posited that
     that the EPA is proposing a number of                    facilities reported zero atmospheric                  the EPA did not believe it was
     releases that is exponentially higher                    PRDs releases between 2010 and 2015                   appropriate to subject PRDs that vent to
     than what has been demonstrated by                       (the total number of refineries in the                the atmosphere to numeric emission
     real-world results from refineries thus                  SCAQMD data do not include those                      limits due to technological and
     far, and that the average uncontrolled                   operated by Alon Refining, which were                 economical limitations that make it
     PRD from the average refinery has far                    idled in 2012). Thus, the commenter                   impracticable to measure emissions
     fewer than the two or three releases to                  stated that the SCAQMD data                           from such PRDs. We further explained


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     that CAA section 112(h)(1) allows the                    to apply the requirements from those                     In summary, the work practice
     EPA to prescribe a work practice                         rules as MACT.                                        standard we are finalizing provides a
     standard or other requirement,                              We recognize that the proposed                     comprehensive program to manage
     consistent with the provisions of CAA                    standard for PRDs did not exactly mirror              entire populations of PRDs and includes
     section 112(d) or (f), in those cases                    the SCAQMD, BAAQMD, or Chemical                       prevention measures, continuous
     where, in the judgment of the                            Accident Prevent Provisions rules                     monitoring, root cause analysis, and
     Administrator, it is not feasible to                     exactly, but consider the requirements                corrective actions, and addresses the
     enforce an emission standard.                            to be comparable. For example, we did                 potential for violations for multiple
     Additionally, we explained that CAA                      not include a provision similar to that               releases over a 3-year period. We
     section 112(h)(2)(B) defines the term                    in the SCAQMD rule that excludes                      followed the requirements of section
     ‘‘not feasible’’ in this context as                      releases less than 500 lbs/day from the               112 of the CAA, including CAA section
     meaning that ‘‘the application of                        requirement to perform a root cause                   112(h), in establishing what work
     measurement technology to a particular                   analysis; that provision in the SCAQMD                practice constituted the MACT floor.
                                                              rule does not include any other                          Comment: Commenters requested that
     class of sources is not practicable due to
                                                              obligation to reduce the number of these              the EPA add a standard for minimizing
     technological and economic
                                                              events. Similarly, we did not include a               emissions arising from degassing storage
     limitations.’’ We also noted that the
                                                              provision that only catastrophic PRD                  vessels that are complying with the
     basis of the work practice standards                                                                           control requirements in Table 7 to 40
     promulgated for PRD releases in the                      releases must be investigated, as the
                                                              commenter noted. Rather than allowing                 CFR 63.1103(e). A commenter explained
     Petroleum Refinery Sector RTR (80 FR                                                                           this request is due to their current
     75178, December 1, 2015) were our                        unlimited releases less than 500 lbs/day
                                                              or that are not considered catastrophic,              interpretation of the proposed rule,
     underlying basis for the proposed work                                                                         wherein 40 CFR 63.1108(a)(5) no longer
     practice standards at ethylene                           we require a root cause analysis for
                                                              releases of any size. Because we count                applies, and, thus, facilities may be
     production facilities. 84 FR 54303.                                                                            required to vent to control devices at all
                                                              small releases that the SCAQMD rule
        As a general matter, CAA section 112                  does not regulate at all, we considered               times, even during degassing events. A
     requires MACT for existing sources to                    it reasonable to provide a higher number              commenter stated that the current rule
     be no less stringent than ‘‘the average                  of releases prior to considering the                  requires facilities to address
     emission limitation achieved by the best                 owner or operator to be in violation of               minimization of emissions from
     performing 12 percent of the existing                                                                          shutdown, which includes degassing, in
                                                              the work practice standard. We also
     sources (for which the Administrator                                                                           the SSM plan required by 40 CFR
                                                              adopted the three prevention measures
     has emissions information). . .’’ [(CAA                                                                        63.1111; and facilities have historically
                                                              requirements in the BAAQMD rule with
     section 112(d)(3)(A)]. ‘‘Emission                                                                              considered degassing emissions from
                                                              limited modifications. After considering
     limitation’’ is defined in the CAA as                                                                          shutdown of storage vessels to be
                                                              the PRD release event limits in both the
     ‘‘. . .a requirement established by the                                                                        covered by their SSM plans per 40 CFR
                                                              SCAQMD and BAAQMD rules, we
     State or Administrator which limits the                                                                        63.1108(a)(5) and relied on the language
                                                              determined it was reasonable and
     quantity, rate, or concentration of                                                                            in 40 CFR 63.1108(a)(5) that back-up
                                                              appropriate to establish PRD
     emissions of air pollutants on a                                                                               control devices are not required. The
                                                              requirements consistent with the flare
     continuous basis, including any                                                                                commenter requested the EPA
                                                              work practice standard provisions in the              subcategorize storage vessel degassing
     requirement relating to operation or                     SCAQMD and BAAQMD rules.
     maintenance of a source to assure                                                                              emissions as maintenance vents based
                                                              Therefore, the final requirements                     on class, just as the EPA proposed for
     continuous emission reduction, and any                   provide that two or three events
     design, equipment, work practice, or                                                                           process vents. The commenter remarked
                                                              (depending on the root cause) from the                that the Texas permit conditions
     operational standard promulgated under                   same PRD in a 3-calendar-year period is               presented in the memorandum, Review
     this chapter’’ [CAA section 302(k)]. The                 a violation of the work practice                      of Regulatory Alternatives for Certain
     EPA specifically considers existing rules                standard. We also note that a facility                Vent Streams in the Ethylene
     from state and local authorities in                      cannot simply choose to release                       Production Source Category, apply
     identifying the ‘‘emission limitations’’                 pollutants from a PRD; any release that               equally to both maintenance vents and
     for a given source. We then identify the                 is caused willfully or caused by                      degassing of storage vessels and stated
     best performers to identify the MACT                     negligence or operator error is                       these permit conditions reflect what the
     floor (the no less stringent than level)                 considered a violation.                               best performers have implemented for
     for that source. The EPA identified the                     With respect to subcategorizing PRDs               storage vessel degassing (for both fixed
     requirements established in the                          into those that vent to the atmosphere                and floating roofs) for both new and
     SCAQMD and BAAQMD rules, and the                         versus those that vent to a control                   existing sources. According to the
     Chemical Accident Prevent Provisions                     system, we note that the only                         commenter, it is not feasible to control
     rule (40 CFR part 68) as the basis of the                information we have available about                   all the emissions from the entire storage
     MACT floor because they represented                      when PRD releases occur at ethylene                   vessel emptying and degassing event
     the requirements applicable to the best                  production facilities are from those                  and at some point, the storage vessel
     performing sources. 84 FR 54303. Work                    PRDs that release directly to                         must be opened and any remaining
     practice standards are established in                    atmosphere. Regardless of whether we                  vapors vented to the atmosphere. The
     place of a numeric limit where it is not                 subcategorize or not, the best                        commenter further stated that this
     feasible to establish such limits. Thus,                 performing PRD for which we have                      venting of vapors to the atmosphere is
     in a case such as this, where the EPA                    information had one release over a 7-                 similar to the EPA description for
     has determined that it is appropriate to                 year period, and the backstop for how                 maintenance vents in the preamble to
     establish work practice standards, it was                many releases are allowed to occur is                 the proposed rule.
     reasonable for the EPA to identify the                   based on this information over a long-                   The commenter stated that the EPA
     rules that impose the most stringent                     term period of time given the random                  referenced the memorandum, Impacts
     requirements and, thus, represent what                   nature of when a PRD release might                    for Control Options for Storage Vessels
     applies to the best performers, and then                 occur.                                                at Petroleum Refineries (Docket Item ID


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     No. EPA–HQ–OAR–2010–0682–0199),                          of the LEL. The Texas permit conditions               sources and we are finalizing these
     as part of the EMACT storage vessel                      require control of degassing emissions                requirements at 40 CFR 63.1103(e)(10).
     technology review, in which the EPA                      until the vapor space concentration is                   We calculated the impacts due to
     concluded that degassing controls for                    less than 10 percent of the LEL or until              controlling storage vessel degassing
     storage vessels were not cost effective.                 the VOC concentration is less than                    emissions by evaluating the population
     Additionally, the commenter said that                    10,000 ppmv and SCAQMD Rule 1149                      of storage vessels that are subject to
     in the EPA’s summary of public                           requires control of degassing emissions               control under Table 7 at 40 CFR
     comments and responses to the 2014                       until the vapor space concentration is                63.1103(e)(3)(b) and (c) and not located
     proposal for the Petroleum Refinery                      less than 5,000 ppmv as methane. The                  in Texas. Storage vessels in the Ethylene
     NESHAP RTR, the EPA stated: ‘‘. . . if                   Texas permit conditions requiring                     Production source category in Texas
     a control device is used to comply with                  compliance with 10 percent of the LEL                 would already be subject to the
     this final rule during normal operations,                and SCAQMD Rule 1149 control                          degassing requirements, and there
     then such a control device must be used                  requirements are considered equivalent                would not be additional costs or
     at all times, including during degassing                 because 5,000 ppmv as methane equals                  emissions reductions for these facilities.
     of the storage vessel. Any bypassing of                  10 percent of the LEL for methane.                    Our review of the CAA section 114 ICR
     emissions from being routed to a control                    Ethylene production facilities located             survey responses, showed that most
     device to being routed to the                            in Texas are subject to maintenance,                  storage vessels are seldom degassed,
     atmosphere would be considered a                         startup, and shutdown (MSS) special                   with an average of 14 years between
     violation of the standard.’’                             permit conditions, but no ethylene                    degassing events. Based on this average
        Response: We agree with the                           production facilities are subject to the              and the population of storage vessels
     commenters that complying with the                       SCAQMD rule. Of the 26 currently                      that are not in Texas, we estimated two
     storage vessel requirements in Table 7 at                operating ethylene production facilities,             storage vessel degassing events would
     40 CFR 63.1103(e)(3)(b) and (c) is not                   17 are in Texas. Therefore, the Texas                 be newly subject to control each year.
     appropriate during storage vessel                        permit conditions relying on storage                  Controlling storage vessel degassing
     degassing events and a separate                          vessel degassing until 10 percent of LEL              would reduce HAP emissions by 1.7
     standard for storage vessel degassing is                 is achieved reflect what the best                     tpy, with a total annual cost of $9,400.
     necessary, due to the nature of the                      performers have implemented for                       See the technical memoranda, Storage
     activity. With the removal of SSM                        storage vessel degassing and we                       Vessel Degassing Model Development
     requirements, as proposed, a standard                    considered this information as the                    and Final Cost and Emissions Impacts
     specific to storage vessel degassing does                MACT floor for both new and existing                  for Ethylene Production NESHAP RTR,
     not exist when storage vessels are using                 sources. Notably, this also aligns with               which are available in Docket ID No.
     control devices to comply with the                       the commenter’s assessment.                           EPA–HQ–OAR–2017–0357 for details
     requirements in Table 7 to 40 CFR                           We reviewed permit condition 6                     on the assumptions and methodologies
     63.1103(e). We also agree with the                       (applicable to floating roof storage                  used in this analysis.
     commenters that storage vessel                           vessels) and permit condition 7                          We also considered options BTF, but
     degassing is similar to maintenance                      (applicable to fixed roof storage vessels)            we did not identify any and are not
     vents (e.g., equipment openings) and                     for key information that could be                     aware of storage vessel degassing
     that there must be a point in time when                  implemented to form the basis of a                    control provisions more stringent than
     the storage vessel can be opened and                     standard for storage vessel degassing                 those discussed above and being
     any emissions vented to the atmosphere.                  that are required for facilities in Texas.            finalized in this rule, therefore, no BTF
     In response to this comment, therefore,                  The permit conditions require control of              option was evaluated.
     we reviewed available data to determine                  degassing emissions for floating roof                    Comment: We received comments in
     how the best performers are controlling                  and fixed roof storage vessels until the              support of the proposed work practice
     storage vessel degassing emissions.                      vapor space concentration is less than                standards for decoking operations. One
        We are aware of the following three                   10 percent of the LEL. The permit                     commenter agreed with the EPA’s
     regulations that address storage vessel                  conditions also specify that facilities               conclusion to propose work practices
     degassing, two in the state of Texas and                 can also degas a storage vessel until they            for decoking operations pursuant to
     the third for the SCAQMD in California.                  meet a VOC concentration of 10,000                    CAA section 112(h)(1) due to
     Texas has degassing provisions in the                    ppmv, but we do not consider 10,000                   technological and economic limitations.
     Texas Administrative Code (TAC) (30                      ppmv to be equivalent to or as stringent                 However, another commenter stated
     TAC Chapter 115, Subchapter F,                           as the compliance option to meet 10                   that the proposed requirements for new
     Division 3. See https://                                 percent of the LEL and are not including              and existing decoking operations failed
     texreg.sos.state.tx.us/public/                           this as a compliance option. We also do               to meet the requirements of CAA
     readtac%24ext.ViewTAC?tac_view=                          not expect the best performers would be               sections 112(d)(2) and (3). The
     5&ti=30&pt=1&ch=115&sch=                                 using this concentration for compliance,              commenter stated that the EPA correctly
     F&div=3&rl=Y) and through permit                         which is supported by the commenters                  proposes to remove the general SSM
     conditions (as noted by the commenter,                   recommending the requirements mimic                   exemptions, but instead proposes to
     see https://www.tceq.texas.gov/assets/                   the maintenance vent requirements and                 regulate HAP emissions from decoking
     public/permitting/air/Guidance/New                       because the Texas permit conditions                   operations through work practice
     SourceReview/mss/chem-                                   allow facilities to calibrate their LEL               standards rather than emission limits,
     mssdraftconditions.pdf) while Rule                       monitor using methane. Storage vessels                and includes four alternate actions for
     1149 contains the SCAMD degassing                        may be vented to the atmosphere once                  decoking of radiant tubes. The
     provisions (see http://www.aqmd.gov/                     the storage vessel degassing                          commenter asserted that the EPA may
     docs/default-source/rule-book/reg-xi/                    concentration threshold is met (i.e., less            not set work practice standards unless it
     rule-1149.pdf). The TAC requirements                     than 10 percent of the LEL) and all                   is ‘‘not feasible to prescribe or enforce
     are the least stringent and require                      standing liquid has been removed from                 an emission standard.’’ The commenter
     control of degassing emissions until the                 the vessel to the extent practicable.                 noted that the EPA provides no
     vapor space concentration is less than                   These requirements are considered                     explanation or justification for why it
     35,000 ppmv as methane or 50 percent                     MACT for both new and existing                        chose four alternate practices, rather


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     than identifying the combination of                      raise issues of practicability, feasibility,          perfect study.’’ Sierra Club v. EPA, 167
     practices that would eliminate HAP                       and enforceability. Additionally, we                  F. 3d 658, 662 (D.C. Cir. 1999)(If EPA
     emissions, or reduce them to the                         have posited that the application of                  were required to gather exhaustive data
     furthest extent possible, consistent with                measurement methodology would also                    about a problem for which gathering
     CAA sections 112(d)(2) and (3).                          not be ‘‘practicable due to . . .                     such data is not yet feasible, the agency
     Additionally, the commenter stated that                  economic limitation’’ within the                      would be unable to act even if such
     the EPA admits that the test data it                     meaning of CAA section 112(h) because                 inaction had potentially significant
     collected from industry is unreliable,                   it would result in cost expended to                   consequences . . . [A]n agency must
     and inappropriately relies on this claim                 produce analytically suspect                          make a judgment in the face of a known
     to posit that the Agency is entitled to                  measurements. Refer to the Area Source                risk of unknown degree.’’ Mexichem
     promulgate a work practice standard.                     Boiler Rule (75 FR 31906, June 4, 2010)               Specialty Resins, Inc., 787 F.3d. 561.).
     The commenter argued that the EPA’s                      and the NESHAP for the Wool                           4. What is the rationale for our final
     proposed standard is, therefore,                         Fiberglass Manufacturing source                       approach and final decisions for the
     inconsistent with the CAA’s MACT                         category (80 FR 45280 and 45312, July                 revisions pursuant to CAA sections
     requirements.                                            29, 2015).
        Response: We agree with the                                                                                 112(d)(2) and (3)?
                                                                 Moreover, the final rule, at 40 CFR
     commenters who state that work                                                                                    We evaluated all of the comments on
                                                              63.1103(e)(7), requires owners or
     practice standards are appropriate for                                                                         the EPA’s proposed amendments to
                                                              operators to conduct daily inspections                revisions for flares used as APCDs,
     decoking operations due to                               for flame impingement and also
     technological and economic limitations.                                                                        clarifications for periods of SSM and
                                                              implement at least two of four other                  bypasses, including PRD releases,
     We are adopting these proposed work
                                                              work practices to minimize coke                       bypass lines on closed vent systems, in
     practice standards into the final rule
                                                              combustion emissions from the                         situ sampling systems, maintenance
     with only minor changes, which are
                                                              decoking of the radiant tube(s) in each               activities, certain gaseous streams
     discussed elsewhere in rulemaking
                                                              ethylene cracking furnace. Specifically,              routed to a fuel gas system, and
     record (see the document, Summary of
                                                              40 CFR 63.1103(e)(7)(ii) through (v)                  associated decoking operations for
     Public Comments and Responses for the
                                                              requires owners or operators choose to                ethylene cracking furnaces (i.e., the
     Risk and Technology Review for
                                                              conduct two of the following work                     decoking of ethylene cracking furnace
     Ethylene Production, which is available
                                                              practices: Monitor CO2 concentration,                 radiant tubes). For the reasons
     in Docket ID No. EPA–HQ–OAR–2017–
     0357).                                                   monitor temperature, purge the radiant                explained in the proposed rule (84 FR
        We disagree that the work practice                    tube(s), and/or apply material to the                 54278, October 9, 2019), we determined
     standards for decoking operations fail to                interior of the radiant tube(s)). In                  that the flare amendments are needed to
     meet the requirements of CAA sections                    addition, the final rule, at 40 CFR                   ensure that flares used as APCD achieve
     112(d)(2) and (3) and are inconsistent                   63.1103(e)(8), requires owners or                     the required level of MACT control and
     with the CAA’s MACT requirements. As                     operators to conduct ethylene cracking                meet 98 percent destruction efficiency
     explained in the preamble to the                         furnace isolation valve inspections.                  at all times as well as to ensure that
     proposed rule, we are adopting work                      With regard to the comment that the                   CAA section 112 standards apply at all
     practice standards instead of numeric                    EPA provided no explanation or                        times. Similarly, the clarifications for
     emission limits as it is ‘‘not feasible to               justification for why we chose the four               periods of SSM and bypasses, including
     prescribe or enforce an emission                         other work practices, we believe each                 PRD releases, bypass lines on closed
     standard’’ for these emissions because                   control measure is feasible and effective             vent systems, in situ sampling systems,
     ‘‘the application of measurement                         in reducing HAP emissions from                        maintenance activities, certain gaseous
     technology to a particular class of                      decoking an ethylene cracking furnace.                streams routed to a fuel gas system, and
     sources is not practicable due to                        As explained in the preamble to the                   work practice standards associated
     technological and economic                               proposed rule (84 FR 54278, October 9,                decoking operations for ethylene
     limitations’’ (see CAA section                           2019), based on discussions with                      cracking furnaces are needed to be
     112(h)(2)(B)). 84 FR 54307–309. The                      industry, as well as a review of facility-            consistent with Sierra Club v. EPA, 551
     emissions stream generated from                          specific SSM plans that were submitted                F.3d 1019 (D.C. Cir. 2008) to ensure that
     decoking operations (i.e., the                           to the EPA in response to the CAA                     CAA section 112 standards apply at all
     combination of coke combustion                           section 114 request, we determined that               times. More information and rationale
     constituents, air, and steam from the                    owners or operators already conduct                   concerning all the amendments we are
     radiant tube(s)) is very dilute with a                   work practices to minimize emissions                  finalizing pursuant to CAA sections
     high moisture content (e.g., generally                   due to coke combustion. We determined                 112(d)(2) and (3) is in the preamble to
     >95 percent water); and as explained in                  the measures to be consistent with CAA                the proposed rule (84 FR 54278, October
     the preamble to the proposed rule,                       section 112(d) controls and reflect a                 9, 2019), section IV.B.3 of this preamble,
     based on CAA section 114 ICR data, the                   level of performance analogous to a                   and in the comments and our specific
     majority of emissions measurements                       MACT floor; and we believe that it is                 responses to the comments in the
     from the stream are not ‘‘technologically                most effective for sources to determine               document, Summary of Public
     practicable’’ within the meaning of CAA                  the best practices from the list of                   Comments and Responses for the Risk
     section 112(h) because they are below                    options. Regarding the comment as to                  and Technology Reviews for the
     detection limits. We have also                           unreliable data being used to support                 Ethylene Production Source Category,
     previously reasoned that ‘‘application of                setting standards, as previously noted,               which is available in the docket for this
     measurement methodologies’’ under                        the EPA typically has wide latitude in                action. Therefore, we are finalizing the
     CAA section 112(h) must also mean that                   determining the extent of data-gathering              proposed provisions for flares (except
     a measurement has some reasonable                        necessary to solve a problem and courts               that we are not finalizing the work
     relation to what the source is emitting                  generally defer to the agency’s decision              practice standard for velocity
     (i.e., that the measurement yields a                     to proceed on the basis of imperfect                  exceedances for flares operating above
     meaningful value). We have further                       scientific information, rather than to                their smokeless capacity), finalizing the
     explained that unreliable measurements                   ‘‘invest the resources to conduct the                 proposed clarifications for periods of


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     SSM and bypasses, including PRD                          4. What is the rationale for our final                   Further, to provide flexibility and
     releases, bypass lines on closed vent                    approach and final decisions to address               reduce the burden on ethylene
     systems, in situ sampling systems,                       emissions during periods of SSM?                      production facilities, we proposed
     maintenance activities, certain gaseous                     We evaluated all of the comments on                overlap provisions at 40 CFR 63.1100(g)
     streams routed to a fuel gas system, and                 the EPA’s proposed amendments to the                  allowing an owner or operator subject to
     finalizing the proposed work practice                    SSM provisions. For the reasons                       both the equipment leak EMACT
     standards for the decoking of ethylene                   explained in the proposed rule (84 FR                 standards and 40 CFR part 60, subpart
     cracking furnaces with only minor                        54278, October 9, 2019), we determined                VVa to comply with the EMACT
     editorial corrections and technical                      that these amendments, which remove                   standards only (instead of complying
     clarifications.                                          and revise provisions related to SSM,                 with both standards), provided the
                                                              are necessary to be consistent with the               owner or operator also complies with
     D. Amendments Addressing Emissions                                                                             the calibration drift assessment
     During Periods of SSM                                    requirement that the standards apply at
                                                              all times. More information concerning                provisions at 40 CFR 60.485a(b)(2).
     1. What amendments did we propose to                     the amendments we are finalizing for                     Finally, we proposed revisions for
     address emissions during periods of                      SSM is in the preamble to the proposed                clarifying text or correcting
     SSM?                                                     rule (84 FR 54278, October 9, 2019) and               typographical errors, grammatical
                                                              in the comments and our specific                      errors, and cross-reference errors. These
        We proposed amendments to the                                                                               editorial corrections and clarifications
     EMACT standards to remove and revise                     responses to the comments in the
                                                              document, Summary of Public                           are summarized in Table 9 of the
     provisions related to SSM that are not                                                                         proposal. See 84 FR 54278, October 9,
     consistent with the requirement that the                 Comments and Responses for the Risk
                                                              and Technology Reviews for the                        2019.
     standards apply at all times. In a few
     instances, we are finalizing alternative                 Ethylene Production Source Category,                  2. How did the other amendments for
     standards for certain emission points                    available in the docket for this action.              the Ethylene Production source category
     during periods of SSM to ensure a                        Therefore, we are finalizing our                      change since proposal?
     continuous CAA section 112 standard                      approach for the SSM provisions as                       Since proposal, the electronic
     applies ‘‘at all times,’’ (see section IV.C);            proposed.                                             reporting requirements and the
     however for the majority of emission                     E. Technical Amendments to the                        technical and editorial corrections in
     points in the Ethylene Production                        EMACT Standards                                       Table 9 of the proposal (see 84 FR
     source category, we proposed                                                                                   54278, October 9, 2019) have not
     eliminating the SSM exemptions and to                    1. What other amendments did we                       changed and we are finalizing all the
     have the MACT standards apply at all                     propose for the Ethylene Production                   proposed requirements. Additionally,
     times. More information concerning the                   source category?                                      we are correcting an error in the final
     elimination of SSM provisions is in the                     We proposed that owners or operators               rule to clarify that Periodic Reports
     preamble to the proposed rule (84 FR                     submit electronic copies of required                  must also be submitted electronically
     54278, October 9, 2019).                                 performance test results and reports and              (i.e., through the EPA’s CDX website
                                                              NOCS reports through the EPA’s CDX                    using the appropriate electronic report
     2. How did the SSM provisions change                     using the CEDRI; and we proposed two                  template for this subpart) beginning no
     since proposal?                                          broad circumstances in which we may                   later than the compliance dates
       We are finalizing the SSM provisions                   provide extension to these                            specified in 40 CFR 63.1102(c) or once
     as proposed (84 FR 54278, October 9,                     requirements. We proposed at 40 CFR                   the report template has been available
     2019) with only minor changes to 40                      63.1110(a)(10)(iii) that an extension may             on the CEDRI website for at least 1 year,
     CFR 63.1103(e)(9) to sufficiently address                be warranted due to outages of the                    whichever date is later. We are also
     the SSM exemption provisions from                        EPA’s CDX or CEDRI that precludes an                  including several additional minor
     subparts referenced by the EMACT                         owner or operator from accessing the                  clarifying edits in the final rule based on
     standards.                                               system and submitting required reports.               comments received during the public
                                                              We also proposed at 40 CFR                            comment period.
     3. What key comments did we receive
                                                              63.1110(a)(10)(iv) that an extension may
     on the SSM revisions and what are our                                                                          3. What key comments did we receive
                                                              be warranted due to a force majeure
     responses?                                                                                                     on the other amendments for the
                                                              event, such as an act of nature, act of
        While we are finalizing some                          war or terrorism, or equipment failure or             Ethylene Production source category
     alternative standards in this final rule                 safety hazards beyond the control of the              and what are our responses?
     for certain emission points during                       facility.                                                We did not receive many substantive
     periods of SSM to ensure a continuous                       To correct a disconnect between                    comments on the other amendments in
     CAA section 112 standard applies ‘‘at                    having a NPDES permit that meets                      the Ethylene Production RTR proposal.
     all times,’’ (see section IV.C), we also                 certain allowable discharge limits at the             These items generally include issues
     proposed eliminating the SSM                             discharge point of a facility (e.g., outfall)         related to electronic reporting, removal
     exemptions for the majority of emission                  and being able to adequately identify a               of the allowance to use NPDES permits
     points in the Ethylene Production                        leak, we proposed the removal of the                  to identify leaks for heat exchange
     source category. We did not receive                      exemption at 40 CFR 63.1084(c) for                    systems, overlap provisions for
     many substantive comments on the                         once-through heat exchange systems to                 equipment leaks, and revisions that we
     removal of these exemptions; however,                    comply with 40 CFR 63.1085 and 40                     proposed for clarifying text or correcting
     the comments and our specific                            CFR 63.1086. We also proposed the                     typographical errors, grammatical
     responses to these items can be found in                 removal of the exemption at 40 CFR                    errors, and cross-reference errors. The
     the document, Summary of Public                          63.1084(d) because the provision lacks                comments and our specific responses to
     Comments and Responses for the Risk                      the specificity of where a sample must                these items can be found in the
     and Technology Reviews for the                           be taken to adequately find and quantify              document, Summary of Public
     Ethylene Production Source Category,                     a leak from a once-through heat                       Comments and Responses for the Risk
     available in the docket for this action.                 exchange system.                                      and Technology Reviews for the


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     Ethylene Production Source Category,                     reductions of 232 tpy as a result of the              three prevention measures, performing
     available in the docket for this action.                 final amendments for storage vessels,                 root cause analysis and corrective
                                                              heat exchange systems, and decoking                   action, and purchasing PRD monitors
     4. What is the rationale for our final
                                                              operations for ethylene cracking                      (details are available in the
     approach and final decisions for the
                                                              furnaces. These emissions reductions do               memorandum, Review of Regulatory
     other amendments for the Ethylene
                                                              not consider the potential excess                     Alternatives for Certain Vent Streams in
     Production source category?                              emissions reductions from flares that                 the Ethylene Production Source
        Based on the comments received for                    could result from the final monitoring                Category, in Docket ID No. EPA–HQ–
     these other amendments, we are                           requirements; we estimate flare excess                OAR–2017–0357). Maintenance costs
     generally finalizing all proposed                        emissions reductions of 1,430 tpy HAP                 were estimated to document equipment
     requirements. In a few instances (e.g.,                  and 13,020 tpy VOC. When considering                  opening procedures and to document
     overlap provisions for equipment leaks),                 the flare excess emissions, the total                 circumstances under which the
     we received comments such that minor                     emissions reductions as a result of the               alternative maintenance vent limit is
     editorial corrections and technical                      final amendments are estimated at 1,459               used (details are available in the
     clarifications are being made, and our                   tpy HAP and 13,252 tpy VOC. These                     memorandum, Review of Regulatory
     rationale for these corrections and                      emissions reductions are documented in                Alternatives for Certain Vent Streams in
     technical clarifications can be found in                 the following memoranda, which are                    the Ethylene Production Source
     the document, Summary of Public                          available in Docket ID No. EPA–HQ–                    Category, in Docket ID No. EPA–HQ–
     Comments and Responses for the Risk                      OAR–2017–0357: Assessment of Work                     OAR–2017–0357). Heat exchange
     and Technology Reviews for the                           Practice Standards for Ethylene                       systems costs include the use of the
     Ethylene Production Source Category,                     Cracking Furnace Decoking Operations                  Modified El Paso Method to monitor for
     available in the docket for this action.                 Located in the Ethylene Production                    leaks (details are available in the
                                                              Source Category; Clean Air Act Section                memorandum, Clean Air Act Section
     V. Summary of Cost, Environmental,
                                                              112(d)(6) Technology Review for Heat                  112(d)(6) Technology Review for Heat
     and Economic Impacts and Additional
                                                              Exchange Systems in the Ethylene                      Exchange Systems in the Ethylene
     Analyses Conducted                                       Production Source Category; Control                   Production Source Category, in Docket
     A. What are the affected facilities?                     Option Impacts for Flares Located in the              ID No. EPA–HQ–OAR–2017–0357). The
       As of January 1, 2017, there were 26                   Ethylene Production Source Category;                  costs associated with decoking
     ethylene production facilities currently                 and Final Cost and Emissions Impacts                  operations for ethylene cracking
     operating that are major sources of HAP,                 for Ethylene Production NESHAP RTR.                   furnaces include conducting isolation
     and the EPA is aware of five ethylene                                                                          valve inspections and conducting flame
                                                              C. What are the cost impacts?
     production facilities under construction.                                                                      impingement firebox inspections
                                                                 We estimate the total capital costs of             (details are available in the
     As such, we estimate that 31 ethylene                    the final amendments to be $47.2                      memorandum, Assessment of Work
     production facilities will be subject to                 million and the total annualized costs to             Practice Standards for Ethylene
     the final amendments within the next 3                   be about $10.4 million in 2016 dollars                Cracking Furnace Decoking Operations
     years. A complete list of facilities that                (annualized costs include annual                      Located in the Ethylene Production
     are currently subject, or will be subject,               recovery credits of $180,000). The                    Source Category, in Docket ID No. EPA–
     to the EMACT standards is available in                   present value in 2020 of the costs is                 HQ–OAR–2017–0357). Costs for
     Appendix A of the memorandum,                            $87.5 million at a discount rate of 3                 controlling storage vessel degassing
     Review of the RACT/BACT/LAER                             percent and $74.9 million at 7 percent.               emissions are discussed in the
     Clearinghouse Database for the Ethylene                  Calculated as an equivalent annualized                memorandum, Final Cost and Emissions
     Production Source Category, in Docket                    value, which is consistent with the                   Impacts for Ethylene Production
     ID No. EPA–HQ–OAR–2017–0357.                             present value of costs, the costs are $9.4            NESHAP RTR, which is available in the
     B. What are the air quality impacts?                     million at a discount rate of 7 percent               docket for this action.
                                                              and $10.9 million at a discount rate of
     V. Summary of Cost, Environmental,                       3 percent. These cost estimates are                   D. What are the economic impacts?
     and Economic Impacts and Additional                      included in the memorandum,                              The EPA conducted economic impact
     Analyses Conducted                                       Economic Impact Analysis for Ethylene                 analyses for the amendments to the final
       A. What are the affected facilities?                   Production NESHAP RTR Final, which                    rule, as detailed in the memorandum,
       As of January 1, 2017, there were 26                   is available in the docket for this action.           Economic Impact Analysis for Ethylene
     ethylene production facilities currently                 The costs are associated with the final               Production NESHAP RTR Final, which
     operating that are major sources of HAP,                 amendments for flares, PRDs,                          is available in the docket for this action.
     and the EPA is aware of five ethylene                    maintenance (equipment openings),                     The economic impacts of the
     production facilities under construction.                storage vessels, heat exchange systems,               amendments to the final rule are
     As such, we estimate that 31 ethylene                    and decoking operations for ethylene                  calculated as the percentage of total
     production facilities will be subject to                 cracking furnaces. Costs for flares                   annualized costs incurred by affected
     the final amendments within the next 3                   include purchasing analyzers, monitors,               parent owners to their annual revenues.
     years. A complete list of facilities that                natural gas and steam, developing a                   This ratio of total annualized costs to
     are currently subject, or will be subject,               flare management plan, and performing                 annual revenues provides a measure of
     to the EMACT standards is available in                   root cause analysis and corrective action             the direct economic impact to parent
     Appendix A of the memorandum,                            (details are available in the                         owners of ethylene production facilities
     Review of the RACT/BACT/LAER                             memorandum, Control Option Impacts                    while presuming no passthrough of
     Clearinghouse Database for the Ethylene                  for Flares Located in the Ethylene                    costs to ethylene consumers. We
     Production Source Category, in Docket                    Production Source Category, in Docket                 estimate that none of the 16 parent
     ID No. EPA–HQ–OAR–2017–0357.                             ID No. EPA–HQ–OAR–2017–0357).                         owners affected by the amendments to
       B. What are the air quality impacts?                   Costs for PRDs were developed based on                the final rule will incur total annualized
       We estimate HAP emissions                              compliance with the final work practice               costs of 0.02 percent or greater of their
     reductions of 29 tpy and VOC emissions                   standard and include implementation of                revenues. Of the 16 parent owners, none


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     of them is a small business according to                 Technology Review—Analysis of                         ethylene cracking furnaces, heat
     the Small Business Administration’s                      Demographic Factors for Populations                   exchangers, PRDs, storage vessels). The
     small business size standard (for NAICS                  Living Near Ethylene Production Source                final amendments also require
     325110, 1,000 employees or less).                        Category Operations, available in the                 electronic reporting, remove the
     Product recovery, which is estimated as                  docket for this action.                               malfunction exemption, and impose
     an impact of the final amendments, is                                                                          other revisions that affect reporting and
     included in the estimate of total                        F. What analysis of children’s
                                                                                                                    recordkeeping. This information would
     annualized costs that is an input to the                 environmental health did we conduct?
                                                                                                                    be collected to assure compliance with
     economic impact analysis. Thus, these                      The EPA does not believe the                        40 CFR part 63, subparts XX and YY.
     economic impacts are quite low for                       environmental health or safety risks                     Respondents/affected entities:
     affected companies and the ethylene                      addressed by this action present a                    Owners or operators of ethylene
     production industry, and consumers of                    disproportionate risk to children. This               production facilities.
     ethylene should experience minimal                       action’s health and risk assessments are                 Respondent’s obligation to respond:
     price changes.                                           summarized in section IV.A of this                    Mandatory (40 CFR part 63, subparts XX
                                                              preamble and are further documented in                and YY).
     E. What analysis of environmental
                                                              the risk report, Residual Risk                           Estimated number of respondents: 31
     justice did we conduct?
                                                              Assessment for the Ethylene Production                (total).
        Executive Order 12898 (59 FR 7629,                    Source Category in Support of the 2020                   Frequency of response: Semiannual
     February 16, 1994) establishes federal                   Risk and Technology Review Final Rule,                and annual.
     executive policy on environmental                        available in the docket for this action.                 Total estimated burden: 8,500 hours
     justice. Its main provision directs                                                                            (per year). Burden is defined at 5 CFR
     federal agencies, to the greatest extent                 VI. Statutory and Executive Order                     1320.3(b).
     practicable and permitted by law, to                     Reviews                                                  Total estimated cost: $4,410,000 (per
     make environmental justice part of their                   Additional information about these                  year), which includes $3,660,000
     mission by identifying and addressing,                   statutes and Executive Orders can be                  annualized capital or operation and
     as appropriate, disproportionately high                  found at https://www.epa.gov/laws-                    maintenance costs.
     and adverse human health or                              regulations/laws-and-executive-orders.                   An agency may not conduct or
     environmental effects of their programs,                                                                       sponsor, and a person is not required to
     policies, and activities on minority                     A. Executive Orders 12866: Regulatory                 respond to, a collection of information
     populations and low-income                               Planning and Review and Executive                     unless it displays a currently valid OMB
     populations in the United States.                        Order 13563: Improving Regulation and                 control number. The OMB control
        To examine the potential for any                      Regulatory Review                                     numbers for the EPA’s regulations in 40
     environmental justice issues that might                    This action is not a significant                    CFR are listed in 40 CFR part 9. When
     be associated with the source category,                  regulatory action and was, therefore, not             OMB approves this ICR, the Agency will
     we performed a demographic analysis,                     submitted to the Office of Management                 announce that approval in the Federal
     which is an assessment of risks to                       and Budget (OMB) for review. The EPA                  Register and publish a technical
     individual demographic groups of the                     prepared an analysis of the potential                 amendment to 40 CFR part 9 to display
     populations living within 5 kilometers                   costs and benefits associated with this               the OMB control number for the
     (km) and within 50 km of the facilities.                 action. This analysis, Economic Impact                approved information collection
     In the analysis, we evaluated the                        Analysis for Ethylene Production                      activities in this final rule.
     distribution of HAP-related cancer and                   NESHAP RTR Final, is available in the
     noncancer risks from the Ethylene                        docket for this rule.                                 D. Regulatory Flexibility Act (RFA)
     Production source category across                                                                                 I certify that this action will not have
     different demographic groups within the                  B. Executive Order 13771: Reducing                    a significant economic impact on a
     populations living near facilities.                      Regulations and Controlling Regulatory                substantial number of small entities
        Our analysis of the demographics of                   Costs                                                 under the RFA. This action will not
     the population with estimated risks                        This action is not an Executive Order               impose any requirements on small
     greater than 1-in-1 million indicates                    13771 regulatory action because this                  entities. There are no small entities
     potential disparities in risks between                   action is not significant under Executive             affected in this regulated industry. See
     demographic groups, including the                        Order 12866.                                          the document, Economic Impact
     African American, Hispanic or Latino,                                                                          Analysis for Ethylene Production
     Over 25 Without a High School                            C. Paperwork Reduction Act (PRA)
                                                                                                                    NESHAP RTR Final, available in the
     Diploma, and Below the Poverty Level                        The information collection activities              docket for this action.
     groups. In addition, the population                      in this rule have been submitted for
     living within 50 km of the ethylene                      approval to OMB under the PRA. The                    E. Unfunded Mandates Reform Act
     production facilities has a higher                       ICR document that the EPA prepared                    (UMRA)
     percentage of minority, lower income,                    has been assigned EPA ICR number                        This action does not contain an
     and lower education people when                          1983.10. The OMB Control Number is                    unfunded mandate of $100 million or
     compared to the nationwide percentages                   2060–0489. You can find a copy of the                 more as described in UMRA, 2 U.S.C.
     of those groups. However,                                ICR in the docket for this rule, and it is            1531–1538, and does not significantly or
     acknowledging these potential                            briefly summarized here. The                          uniquely affect small governments. The
     disparities, the risks for the source                    information collection requirements are               action imposes no enforceable duty on
     category were determined to be                           not enforceable until OMB approves                    any state, local, or tribal governments or
     acceptable, and emissions reductions                     them.                                                 the private sector.
     from the final amendments will benefit                      We are finalizing amendments that
     these groups the most.                                   change the reporting and recordkeeping                F. Executive Order 13132: Federalism
        The methodology and the results of                    requirements for several emission                       This action does not have federalism
     the demographic analysis are presented                   sources at ethylene production facilities             implications. It will not have substantial
     in a technical report, Risk and                          (e.g., flares, decoking operations for                direct effects on the states, on the


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     relationship between the national                        reference method, the EPA reviewed it                 for the identification and quantification
     government and the states, or on the                     as a potential equivalent method.                     of gaseous compounds. The percent (%)
     distribution of power and                                   The EPA incorporates by reference                  R must be determined for each target
     responsibilities among the various                       VCS ANSI/ASME PTC 19.10–1981 (Part                    analyte (Equation A5.5) when using
     levels of government.                                    10), ‘‘Flue and Exhaust Gas Analyses,’’               ASTM D6348–03, Annex A5 (Analyte
                                                              as an acceptable alternative to EPA                   Spiking Technique). In order for the test
     G. Executive Order 13175: Consultation                   Methods 3A and 3B for the manual                      data to be acceptable for a compound,
     and Coordination With Indian Tribal                      procedures only and not the                           %R must be 70% ≥ R ≤ 130%. If the %R
     Governments                                              instrumental procedures. This method                  value does not meet this criterion for a
       This action does not have tribal                       is used to quantitatively determine the               target compound, the test data is not
     implications as specified in Executive                   gaseous constituents of exhausts                      acceptable for that compound and the
     Order 13175. None of the ethylene                        including oxygen, CO2, carbon                         test must be repeated for that analyte
     production facilities that have been                     monoxide, nitrogen, sulfur dioxide,                   (i.e., the sampling and/or analytical
     identified as being affected by this final               sulfur trioxide, nitric oxide, nitrogen               procedure should be adjusted before a
     action are owned or operated by tribal                   dioxide, hydrogen sulfide, and                        retest). The %R value for each
     governments or located within tribal                     hydrocarbons, and is available at the                 compound must be reported in the test
     lands. Thus, Executive Order 13175                       American National Standards Institute                 report, and all field measurements must
     does not apply to this action.                           (ANSI), 1899 L Street NW, 11th floor,                 be corrected with the calculated %R
                                                              Washington, DC 20036 and the                          value for that compound by using the
     H. Executive Order 13045: Protection of                  American Society of Mechanical                        following equation:
     Children From Environmental Health                       Engineers (ASME), Three Park Avenue,
     Risks and Safety Risks                                                                                         Reported Results = (Measured
                                                              New York, NY 10016–5990. See https://
                                                                                                                          Concentration in the Stack × 100)/
       This action is not subject to Executive                wwww.ansi.org and https://
                                                                                                                          %R.
     Order 13045 because it is not                            www.asme.org.
                                                                 Also, the EPA incorporates by                         The three ASTM methods (ASTM
     economically significant as defined in                                                                         D6420–18, ASTM D6348–12e1, and
                                                              reference VCS ASTM D6420–18,
     Executive Order 12866, and because the                                                                         ASTM D 6348–03) newly incorporated
                                                              ‘‘Standard Test Method for
     EPA does not believe the environmental                                                                         by reference in this rule are available to
                                                              Determination of Gaseous Organic
     health or safety risks addressed by this                                                                       the public for free viewing online in the
                                                              Compounds by Direct Interface Gas
     action present a disproportionate risk to                                                                      Reading Room section on ASTM’s
                                                              Chromatography-Mass Spectrometry,’’
     children. This action’s health and risk                                                                        website at https://www.astm.org/
                                                              as an acceptable alternative to EPA
     assessments are contained in sections                                                                          READINGLIBRARY/. In addition to this
                                                              Method 18 with the following caveats.
     IV.A of this preamble.                                   This ASTM procedure uses a direct                     free online viewing availability on
     I. Executive Order 13211: Actions                        interface gas chromatograph/mass                      ASTM’s website, hard copies and
     Concerning Regulations That                              spectrometer to identify and quantify                 printable versions are available for
     Significantly Affect Energy Supply,                      VOC and has been approved by the EPA                  purchase from ASTM at http://
     Distribution, or Use                                     as an alternative to EPA Method 18 only               www.astm.org/.
                                                              when the target compounds are all                        Also, the EPA decided not to include
       This action is not subject to Executive                known and the target compounds are all                17 other VCS; these methods are
     Order 13211 because it is not a                          listed in ASTM D6420–18 as                            impractical as alternatives because of
     significant regulatory action under                      measurable. ASTM D6420–18 should                      the lack of equivalency, documentation,
     Executive Order 12866.                                   not be used for methane and ethane                    validation date, and other important
     J. National Technology Transfer and                      because the atomic mass is less than 35;              technical and policy considerations.
     Advancement Act (NTTAA) and 1 CFR                        and ASTM D6420–18 should never be                     The search and review results have been
     Part 51                                                  specified as a total VOC method.                      documented and are in the
                                                                 In addition, the EPA incorporates by               memorandum, Voluntary Consensus
       This rulemaking involves technical                     reference VCS ASTM D6348–12e1,                        Standard Results for National Emission
     standards. As discussed in the preamble                  ‘‘Determination of Gaseous Compounds                  Standards for Hazardous Air Pollutants
     of the proposal, the EPA conducted                       by Extractive Direct Interface Fourier                for Ethylene Production RTR, which is
     searches for the EMACT standards                         Transform (FTIR) Spectroscopy,’’ as an                available in the docket for this action.
     through the Enhanced National                            acceptable alternative to EPA Method                     Under 40 CFR 63.7(f) and 40 CFR
     Standards Systems Network Database                       320 with caveats requiring inclusion of               63.8(f) (in subpart A—General
     managed by the American National                         selected annexes to the standard as                   Provisions), a source may apply to the
     Standards Institute (ANSI). We also                      mandatory. This ASTM procedure uses                   EPA for permission to use alternative
     contacted voluntary consensus                            an extractive sampling system that                    test methods or alternative monitoring
     standards (VCS) organizations and                        routes stationary source effluent to an               requirements in place of any required
     accessed and searched their databases.                   FTIR spectrometer for the identification              testing methods, performance
     We conducted searches for EPA                            and quantification of gaseous                         specifications, or procedures in the final
     Methods 1, 1A, 2, 2A, 2C, 2D, 2F, 2G,                    compounds. The test plan preparation                  rule or any amendments.
     3B, 4, 5, 18, 21, 22, 25, 25A, 27, and 29                and implementation in the Annexes to                     Finally, although not considered a
     of 40 CFR part 60, appendix A, EPA                       ASTM D 6348–03, Sections A1 through                   VCS, the EPA incorporates by reference,
     Methods 301, 316, and 320 of 40 CFR                      A8 are mandatory; therefore, the EPA                  ‘‘Volatile Organic Compounds by Gas
     part 63, appendix A, and EPA Methods                     incorporates by reference, ‘‘Standard                 Chromatography/Mass Spectrometry
     602 and 624 of 40 CFR part 136,                          Test Method for Determination of                      (GC/MS)’’ (SW–846–8260B) and
     appendix A. During the EPA’s VCS                         Gaseous Compounds by Extractive                       ‘‘Semivolatile Organic Compounds by
     search, if the title or abstract (if                     Direct Interface Fourier Transform                    Gas Chromatography/Mass
     provided) of the VCS described                           Infrared (FTIR) Spectroscopy.’’ This                  Spectrometry (GC/MS)’’ (SW–846–
     technical sampling and analytical                        ASTM procedure also uses an extractive                8270D) into 40 CFR 63.1107(a); and ‘‘Air
     procedures that are similar to the EPA’s                 sampling system and FTIR spectrometer                 Stripping Method (Modified El Paso


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     Method) for Determination of Volatile                    Subpart A—General Provisions                          Organic Compounds by Direct Interface
     Organic Compound Emissions from                                                                                Gas Chromatography-Mass
     Water Sources,’’ into 40 CFR 63.1086(e)                  ■ 2. Section 63.14 is amended by:                     Spectrometry, Approved November 1,
     and 40 CFR 63.1089(d). Each of these                     ■ a. Revising paragraphs (e)(1) and                   2018, IBR approved for § 63.987(b) and
     methods is used to identify organic HAP                  (h)(18), (83), and (85);                              § 63.997(e).
     in water; however, SW–846–8260B and                      ■ b. Redesignating paragraphs (h)(92)
                                                                                                                    *      *     *     *    *
     SW–846–8270D use water sampling                          through (112) as paragraphs (h)(93)                      (n) * * *
     techniques and the Modified El Paso                      through (113);                                           (12) SW–846–8260B, Volatile Organic
     Method uses an air stripping sampling                    ■ c. Adding new paragraph (h)(92);
                                                                                                                    Compounds by Gas Chromatography/
     technique. The SW–846 methods are                        ■ d. Revising paragraphs (n)(12) and
                                                                                                                    Mass Spectrometry (GC/MS), Revision
     available from the EPA at https://                       (13); and                                             2, December 1996, in EPA Publication
     www.epa.gov/hw-sw846 while the                           ■ e. Revising paragraph (t)(1).
                                                                                                                    No. SW–846, Test Methods for
     Modified El Paso Method is available                       The revisions and addition read as
                                                                                                                    Evaluating Solid Waste, Physical/
     from TCEQ at https://                                    follows:
                                                                                                                    Chemical Methods, Third Edition, IBR
     www.tceq.texas.gov/assets/public/                        § 63.14   Incorporations by reference.                approved for §§ 63.1107(a), 63.11960,
     compliance/field_ops/guidance/                                                                                 63.11980, and table 10 to subpart
                                                              *      *    *      *     *
     samplingappp.pdf.                                                                                              HHHHHHH.
                                                                 (e) * * *
     K. Executive Order 12898: Federal                           (1) ANSI/ASME PTC 19.10–1981,                         (13) SW–846–8270D, Semivolatile
     Actions To Address Environmental                         Flue and Exhaust Gas Analyses [Part 10,               Organic Compounds by Gas
     Justice in Minority Populations and                      Instruments and Apparatus], issued                    Chromatography/Mass Spectrometry
     Low-Income Populations                                   August 31, 1981, IBR approved for                     (GC/MS), Revision 4, February 2007, in
                                                              §§ 63.309(k), 63.457(k), 63.772(e) and                EPA Publication No. SW–846, Test
        The EPA believes that this action does                                                                      Methods for Evaluating Solid Waste,
     not have disproportionately high and                     (h), 63.865(b), 63.997(e), 63.1282(d) and
                                                              (g), 63.1625(b), 63.3166(a), 63.3360(e),              Physical/Chemical Methods, Third
     adverse human health or environmental                                                                          Edition, IBR approved for §§ 63.1107(a),
     effects on minority populations, low-                    63.3545(a), 63.3555(a), 63.4166(a),
                                                              63.4362(a), 63.4766(a), 63.4965(a),                   63.11960, 63.11980, and table 10 to
     income populations, and/or indigenous                                                                          subpart HHHHHHH.
     peoples, as specified in Executive Order                 63.5160(d), table 4 to subpart UUUU,
                                                              table 3 to subpart YYYY, 63.9307(c),                  *      *     *     *    *
     12898 (59 FR 7629, February 16, 1994).
        The documentation for this decision                   63.9323(a), 63.11148(e), 63.11155(e),                    (t) * * *
     is contained in section IV.A of this                     63.11162(f), 63.11163(g), 63.11410(j),                   (1) ‘‘Air Stripping Method (Modified
     preamble and in the technical report,                    63.11551(a), 63.11646(a), and 63.11945,               El Paso Method) for Determination of
     Risk and Technology Review—Analysis                      table 5 to subpart DDDDD, table 4 to                  Volatile Organic Compound Emissions
     of Demographic Factors for Populations                   subpart JJJJJ, table 4 to subpart KKKKK,              from Water Sources,’’ Revision Number
     Living Near Ethylene Production Source                   tables 4 and 5 of subpart UUUUU, table                One, dated January 2003, Sampling
     Category Operations, available in the                    1 to subpart ZZZZZ, and table 4 to                    Procedures Manual, Appendix P:
     docket for this action.                                  subpart JJJJJJ.                                       Cooling Tower Monitoring, January 31,
                                                              *      *    *      *     *                            2003, IBR approved for §§ 63.654(c) and
     L. Congressional Review Act (CRA)                           (h) * * *                                          (g), 63.655(i), 63.1086(e), 63.1089(d),
       This action is subject to the CRA, and                    (18) ASTM D1946–90 (Reapproved                     and 63.11920.
     the EPA will submit a rule report to                     1994), Standard Method for Analysis of                *      *     *     *    *
     each House of the Congress and to the                    Reformed Gas by Gas Chromatography,
     Comptroller General of the United                        1994, IBR approved for §§ 63.11(b),                   Subpart SS—National Emission
     States. This action is not a ‘‘major rule’’              63.987(b), and 63.1412.                               Standards for Closed Vent Systems,
     as defined by 5 U.S.C. 804(2).                                                                                 Control Devices, Recovery Devices
                                                              *      *    *      *     *
                                                                 (83) ASTM D6348–03, Standard Test                  and Routing to a Fuel Gas System or
     List of Subjects in 40 CFR Part 63                                                                             a Process
                                                              Method for Determination of Gaseous
       Environmental protection,                              Compounds by Extractive Direct                        ■ 3. Section 63.987 is amended by
     Administrative practice and procedures,                  Interface Fourier Transform Infrared
     Air pollution control, Hazardous                                                                               revising parameter ‘‘Dj’’ of Equation 1 in
                                                              (FTIR) Spectroscopy, including Annexes                paragraph (b)(3)(ii) to read as follows:
     substances, Incorporation by reference,                  A1 through A8, Approved October 1,
     Intergovernmental relations, Reporting                   2003, IBR approved for §§ 63.457(b),                  § 63.987    Flare requirements.
     and recordkeeping requirements.                          63.997(e), and 63.1349, table 4 to                    *      *    *     *      *
      Dated: March 12, 2020.                                  subpart DDDD, table 4 to subpart                        (b) * * *
     Andrew R. Wheeler,                                       UUUU, table 4 subpart ZZZZ, and table                   (3) * * *
     Administrator.                                           8 to subpart HHHHHHH.                                   (ii) * * *
       For the reasons set forth in the                       *      *    *      *     *                            *      *    *     *      *
     preamble, the EPA is amending 40 CFR                        (85) ASTM D6348–12e1, Standard                     Dj = Concentration of sample
     part 63 as follows:                                      Test Method for Determination of                           component j, in parts per million by
                                                              Gaseous Compounds by Extractive                            volume on a wet basis, as measured
     PART 63—NATIONAL EMISSION                                Direct Interface Fourier Transform                         for organics by Method 18 of 40
     STANDARDS FOR HAZARDOUS AIR                              Infrared (FTIR) Spectroscopy, Approved                     CFR part 60, appendix A, or by
     POLLUTANTS FOR SOURCE                                    February 1, 2012, IBR approved for                         ASTM D6420–18 (incorporated by
     CATEGORIES                                               §§ 63.997(e) and 63.1571(a) and Table 4                    reference, see § 63.14) under the
                                                              to subpart UUUU.                                           conditions specified in
     ■ 1. The authority citation for part 63                  *      *    *      *     *                                 § 63.997(e)(2)(iii)(D)(1) through (3).
     continues to read as follows:                               (92) ASTM D6420–18, Standard Test                       Hydrogen and carbon monoxide are
        Authority: 42 U.S.C. 7401, et seq.                    Method for Determination of Gaseous                        measured by ASTM D1946–90


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          (Reapproved 1994) (incorporated by                  combustion control device, you must                   stream for both the inlet and outlet gas
          reference, see § 63.14); and                        first determine which regulated material              streams for the combustion device.
     *     *      *      *      *                             compounds are present in the inlet gas                *       *     *     *     *
     ■ 4. Section 63.997 is amended by
                                                              stream using process knowledge or the                    (I) If the uncontrolled or inlet gas
     revising paragraphs (e)(2)(iii)                          screening procedure described in                      stream to the control device contains
     introductory text, (e)(2)(iii)(C)(1),                    Method 18. In conducting the                          formaldehyde, you must conduct
     (e)(2)(iii)(D), (e)(2)(iv) introductory text,            performance test, analyze samples                     emissions testing according to
     and (e)(2)(iv)(F) and (I) to read as                     collected at the outlet of the combustion             paragraphs (e)(2)(iv)(I)(1) through (3) of
     follows:                                                 control device as specified in Method 18              this section.
                                                              or ASTM D6420–18 for the regulated                       (1) Except as specified in paragraph
     § 63.997 Performance test and compliance                 material compounds present at the inlet               (e)(2)(iv)(I)(3) of this section, if you elect
     assessment requirements for control                      of the control device. The method                     to comply with a percent reduction
     devices.                                                 ASTM D6420–18 may be used only                        requirement and formaldehyde is the
     *       *    *     *     *                               under the conditions specified in                     principal regulated material compound
        (e) * * *                                             paragraphs (e)(2)(iii)(D)(1) through (3) of           (i.e., greater than 50 percent of the
        (2) * * *                                             this section.                                         regulated material compounds in the
        (iii) Total organic regulated material                   (1) If the target compounds are all                stream by volume), you must use
     or TOC concentration. To determine                       known and are all listed in Section 1.1               Method 316 or 320 of appendix A to this
     compliance with a parts per million by                   of ASTM D6420–18 as measurable.                       part, to measure formaldehyde at the
     volume total organic regulated material                     (2) ASTM D6420–18 may not be used                  inlet and outlet of the control device.
     or TOC limit, the owner or operator                      for methane and ethane.                               Use the percent reduction in
     shall use Method 18 or 25A of 40 CFR                                                                           formaldehyde as a surrogate for the
     part 60, appendix A, as applicable. The                     (3) ASTM D6420–18 may not be used
                                                              as a total VOC method.                                percent reduction in total regulated
     ASTM D6420–18 (incorporated by                                                                                 material emissions.
     reference, see § 63.14) may be used in                   *      *      *     *   *
                                                                                                                       (2) Except as specified in paragraph
     lieu of Method 18 of 40 CFR part 60,                        (iv) Percent reduction calculation. To             (e)(2)(iv)(I)(3) of this section, if you elect
     appendix A, under the conditions                         determine compliance with a percent                   to comply with an outlet total organic
     specified in paragraphs (e)(2)(iii)(D)(1)                reduction requirement, the owner or                   regulated material concentration or TOC
     through (3) of this section.                             operator shall use Method 18, 25, or                  concentration limit, and the
     Alternatively, any other method or data                  25A of 40 CFR part 60, appendix A, as                 uncontrolled or inlet gas stream to the
     that have been validated according to                    applicable. The method ASTM D6420–                    control device contains greater than 10
     the applicable procedures in Method                      18 (incorporated by reference, see                    percent (by volume) formaldehyde, you
     301 of appendix A to this part may be                    § 63.14) may be used in lieu of Method                must use Method 316 or 320 of
     used. The procedures specified in                        18 of 40 CFR part 60, appendix A, under               appendix A to this part, to separately
     paragraphs (e)(2)(iii)(A), (B), (D), and (E)             the conditions specified in paragraphs                determine the formaldehyde
     of this section shall be used to calculate               (e)(2)(iii)(D)(1) through (3) of this                 concentration. Calculate the total
     parts per million by volume                              section. Alternatively, any other method              organic regulated material concentration
     concentration. The calculated                            or data that have been validated                      or TOC concentration by totaling the
     concentration shall be corrected to 3                    according to the applicable procedures                formaldehyde emissions measured
     percent oxygen using the procedures                      in Method 301 of appendix A to this                   using Method 316 or 320 and the other
     specified in paragraph (e)(2)(iii)(C) of                 part may be used. The procedures                      regulated material compound emissions
     this section if a combustion device is                   specified in paragraphs (e)(2)(iv)(A)                 measured using Method 18 or 25/25A of
     the control device and supplemental                      through (I) of this section shall be used             40 CFR part 60, appendix A.
     combustion air is used to combust the                    to calculate percent reduction                           (3) You may elect to use ASTM
     emissions.                                               efficiency.                                           D6348–12e1 (incorporated by reference,
     *       *    *     *     *                               *      *      *     *   *                             § 63.14) in lieu of Method 316 or 320 of
        (C) * * *                                                (F) To measure inlet and outlet                    appendix A to this part as specified in
        (1) The emission rate correction factor               concentrations of total organic regulated             paragraph (e)(2)(iv)(I)(1) or (2) of this
     (or excess air), integrated sampling and                 material, use Method 18 of 40 CFR part                section. To comply with this paragraph,
     analysis procedures of Method 3B of 40                   60, appendix A, or ASTM D6420–18                      the test plan preparation and
     CFR part 60, appendix A, or the manual                   (incorporated by reference, see § 63.14),             implementation in the Annexes to
     method in ANSI/ASME PTC 19.10–                           under the conditions specified in                     ASTM D6348–03 (incorporated by
     1981—Part 10 (incorporated by                            paragraphs (e)(2)(iii)(D)(1) through (3) of           reference, see § 63.14) Sections Al
     reference, see § 63.14), shall be used to                this section. In conducting the                       through A8 are mandatory; the percent
     determine the oxygen concentration.                      performance test, collect and analyze                 (%) R must be determined for each
     The sampling site shall be the same as                   samples as specified in Method 18 or                  target analyte using Equation A5.5 of
     that of the organic regulated material or                ASTM D6420–18. You must collect                       ASTM D6348–03 Annex A5 (Analyte
     organic compound samples, and the                        samples simultaneously at the inlet and               Spiking Technique); and in order for the
     samples shall be taken during the same                   outlet of the control device. If the                  test data to be acceptable for a
     time that the organic regulated material                 performance test is for a combustion                  compound, the %R must be 70% ≥ R ≤
     or organic compound samples are taken.                   control device, you must first determine              130%. If the %R value does not meet
     *       *    *     *     *                               which regulated material compounds                    this criterion for a target compound,
        (D) To measure the total organic                      are present in the inlet gas stream (i.e.,            then the test data is not acceptable for
     regulated material concentration at the                  uncontrolled emissions) using process                 that compound and the test must be
     outlet of a control device, use Method                   knowledge or the screening procedure                  repeated for that analyte (i.e., the
     18 of 40 CFR part 60, appendix A, or                     described in Method 18. Quantify the                  sampling and/or analytical procedure
     ASTM D6420–18 (incorporated by                           emissions for the regulated material                  should be adjusted before a retest). The
     reference, see § 63.14). If you have a                   compounds present in the inlet gas                    %R value for each compound must be


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     reported in the test report, and all field               ■ 6. Section 63.1082 is amended in                    is exempt from the requirements in
     measurements must be corrected with                      paragraph (b) by revising definitions for             §§ 63.1085 and 63.1086 if it meets any
     the calculated %R value for that                         ‘‘Dilution steam blowdown waste                       one of the criteria in paragraphs (a)
     compound by using the following                          stream,’’ and ‘‘Spent caustic waste                   through (e) of this section.
     equation:                                                stream’’ to read as follows:                          *      *     *     *     *
     Reported Results = (Measured                             § 63.1082    What definitions do I need to               (f) Beginning no later than the
          Concentration in the Stack × 100)/                  know?                                                 compliance dates specified in
          %R.                                                                                                       § 63.1081(a), your heat exchange system
                                                              *      *     *    *    *
                                                                 (b) * * *                                          is no longer exempt from the
     Subpart XX—National Emission                                Dilution steam blowdown waste                      requirements in §§ 63.1085 and 63.1086
     Standards for Ethylene Manufacturing                     stream means any continuously flowing                 if it meets the criteria in paragraph (c)
     Process Units: Heat Exchange                             process wastewater stream resulting                   or (d) of this section; instead, your heat
     Systems and Waste Operations                             from the quench and compression of                    exchange system is exempt from the
                                                              cracked gas (the cracking furnace                     requirements in §§ 63.1085 and 63.1086
     ■ 5. Section 63.1081 is revised to read                                                                        if it meets any one of the criteria in
                                                              effluent) at an ethylene production unit
     as follows:                                              and is discharged from the unit. This                 paragraph (a), (b), or (e) of this section.
     § 63.1081 When must I comply with the                    stream typically includes the aqueous or              ■ 8. Section 63.1085 is amended by
     requirements of this subpart?                            oily-water stream that results from                   revising the introductory text and
                                                              condensation of dilution steam (in the                paragraphs (a) and (b) and by adding
        You must comply with the                                                                                    paragraphs (e) and (f) to read as follows:
     requirements of this subpart according                   cracking furnace quench system),
     to the schedule specified in                             blowdown from dilution steam
                                                                                                                    § 63.1085 What are the general
     § 63.1102(a). Each heat exchange system                  generation systems, and aqueous                       requirements for heat exchange systems?
     which is part of an ethylene production                  streams separated from the process
                                                              between the cracking furnace and the                     Unless you meet one of the
     affected source also must comply with                                                                          requirements for exemptions in
     paragraph (a) of this section. Each waste                cracked gas dehydrators. The dilution
                                                              steam blowdown waste stream does not                  § 63.1084, you must meet the
     stream which is part of an ethylene                                                                            requirements in paragraphs (a) through
     production affected source also must                     include blowdown that has not
                                                              contacted HAP-containing process                      (f) of this section.
     comply with paragraph (b) of this                                                                                 (a) Except as specified in paragraph
     section.                                                 materials. Before July 6, 2023, the
                                                              dilution steam blowdown waste stream                  (e) of this section, you must monitor the
        (a) Each heat exchange system that is                 does not include dilution steam                       cooling water for the presence of
     part of an ethylene production affected                  blowdown streams generated from                       substances that indicate a leak
     source that commenced construction or                    sampling, maintenance activities, or                  according to § 63.1086(a) through (d).
     reconstruction on or before October 9,                                                                            (b) Except as specified in paragraph (f)
                                                              shutdown purges. Beginning on July 6,
     2019, must be in compliance with the                                                                           of this section, if you detect a leak, then
                                                              2023, the dilution steam blowdown
     heat exchange system requirements                                                                              you must repair it according to
                                                              streams generated from sampling,
     specified in §§ 63.1084(f), 63.1085(e)                                                                         § 63.1087(a) and (b) unless repair is
                                                              maintenance activities, or shutdown
     and (f), 63.1086(e), 63.1087(c) and (d),                                                                       delayed according to § 63.1088(a)
                                                              purges are included in the definition of
     63.1088(d), and 63.1089(d) and (e) upon                                                                        through (c).
                                                              dilution steam blowdown waste stream.
     initial startup or July 6, 2023, whichever                                                                     *      *     *     *    *
     is later. Each heat exchange system that                 *      *     *    *    *
                                                                 Spent caustic waste stream means the                  (e) Beginning no later than the
     is part of an ethylene production                                                                              compliance dates specified in
                                                              continuously flowing process
     affected source that commences                                                                                 § 63.1081(a), the requirements specified
                                                              wastewater stream that results from the
     construction or reconstruction after                                                                           in § 63.1086(a) through (d) no longer
                                                              use of a caustic wash system in an
     October 9, 2019, must be in compliance                                                                         apply; instead, you must monitor the
                                                              ethylene production unit. A caustic
     with the heat exchange system                                                                                  cooling water for the presence of total
                                                              wash system is commonly used at
     requirements specified in §§ 63.1084(f),                                                                       strippable hydrocarbons that indicate a
                                                              ethylene production units to remove
     63.1085(e) and (f), 63.1086(e),                                                                                leak according to § 63.1086(e). At any
                                                              acid gases and sulfur compounds from
     63.1087(c) and (d), 63.1088(d), and                                                                            time before the compliance dates
                                                              process streams, typically cracked gas.
     63.1089(d) and (e) upon initial startup,                                                                       specified in § 63.1081(a), you may
                                                              Before July 6, 2023, the spent caustic
     or July 6, 2020, whichever is later.                                                                           choose to comply with the requirements
                                                              waste stream does not include spent
        (b) Each waste stream that is part of                 caustic streams generated from                        in this paragraph in lieu of the
     an ethylene production affected source                   sampling, maintenance activities, or                  requirements in paragraph (a) of this
     that commenced construction or                           shutdown purges. Beginning on July 6,                 section.
     reconstruction on or before October 9,                   2023, the spent caustic streams                          (f) Beginning no later than the
     2019, must be in compliance with the                     generated from sampling, maintenance                  compliance dates specified in
     flare requirements specified in                          activities, or shutdown purges are                    § 63.1081(a), the requirements specified
     § 63.1095(a)(1)(vi) and (b)(3) upon                      included in the definition of spent                   in §§ 63.1087(a) and (b) and 63.1088(a)
     initial startup or July 6, 2023, whichever               caustic waste stream.                                 through (c), no longer apply; instead, if
     is later. Each waste stream that is part                                                                       you detect a leak, then you must repair
                                                              ■ 7. Section 63.1084 is amended by
     of an ethylene production affected                                                                             it according to § 63.1087(c) and (d),
                                                              revising the introductory text and
     source that commences construction or                                                                          unless repair is delayed according to
                                                              adding paragraph (f) to read as follows:
     reconstruction after October 9, 2019,                                                                          § 63.1088(d). At any time before the
     must be in compliance with the flare                     § 63.1084 What heat exchange systems                  compliance dates specified in
     requirements specified in                                are exempt from the requirements of this              § 63.1081(a), you may choose to comply
     § 63.1095(a)(1)(vi) and (b)(3) upon                      subpart?                                              with the requirements in this paragraph
     initial startup, or July 6, 2020,                          Except as specified in paragraph (f) of             in lieu of the requirements in paragraph
     whichever is later.                                      this section, your heat exchange system               (b) of this section.


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     ■ 9. Section 63.1086 is amended by                       water flow rate at the monitoring                     hydrocarbon concentration (as methane)
     revising the introductory text and by                    location does not exceed 165,000                      in the stripping gas of 6.2 ppmv or, for
     adding paragraph (e) to read as follows:                 gallons per minute.                                   heat exchange systems with a
                                                                 (ii) The inlet water feed line for a               recirculation rate of 10,000 gallons per
     § 63.1086 How must I monitor for leaks to                once-through heat exchange system                     minute or less, you may monitor
     cooling water?
                                                              prior to any heat exchanger. If multiple              quarterly using a leak action level
        Except as specified in § 63.1085(e)                   heat exchange systems use the same                    defined as a total hydrocarbon mass
     and paragraph (e) of this section, you                   water feed (i.e., inlet water from the                emissions rate from the heat exchange
     must monitor for leaks to cooling water                  same primary water source), you may                   system (as methane) of 0.18 kg/hr. If a
     by monitoring each heat exchange                         monitor at one representative location                leak is detected as specified in
     system according to the requirements of                  and use the monitoring results for that               paragraph (e)(5) of this section, then you
     paragraph (a) of this section, monitoring                sampling location for all heat exchange               must monitor monthly until the leak has
     each heat exchanger according to the                     systems that use that same water feed.                been repaired according to the
     requirements of paragraph (b) of this                       (3) Monitoring method. If you comply               requirements in § 63.1087(c) or (d).
     section, or monitoring a surrogate                       with the total strippable hydrocarbon                 Once the leak has been repaired
     parameter according to the requirements                  concentration leak action level as                    according to the requirements in
     of paragraph (c) of this section. Except                 specified in paragraph (e)(4) of this                 § 63.1087(c) or (d), quarterly monitoring
     as specified in § 63.1085(e) and                         section, you must comply with the                     for the heat exchange system may
     paragraph (e) of this section, if you elect              requirements in paragraph (e)(3)(i) of                resume.
     to comply with the requirements of                       this section. If you comply with the total               (ii) For each heat exchange system
     paragraph (a) or (b) of this section, you                hydrocarbon mass emissions rate leak                  that is part of an ethylene production
     may use alternatives in paragraph (d)(1)                 action level as specified in paragraph                affected source that commences
     or (2) of this section for determining the               (e)(4) of this section, you must comply               construction or reconstruction after
     mean entrance concentration.                             with the requirements in paragraphs                   December 6, 2000 and on or before
     *       *    *     *     *                               (e)(3)(i) and (ii) of this section.                   October 9, 2019, you must monitor at
        (e) Beginning no later than the                          (i) You must determine the total                   the applicable frequency specified in
     compliance dates specified in                            strippable hydrocarbon concentration                  paragraph (e)(4)(ii)(A) or (B) of this
     § 63.1081(a), you must perform                           (in parts per million by volume (ppmv)                section using a leak action level defined
     monitoring to identify leaks of total                    as methane) at each monitoring location               as a total strippable hydrocarbon
     strippable hydrocarbons from each heat                   using the ‘‘Air Stripping Method                      concentration (as methane) in the
     exchange system subject to the                           (Modified El Paso Method) for                         stripping gas of 6.2 ppmv or, for heat
     requirements of this subpart according                   Determination of Volatile Organic                     exchange systems with a recirculation
     to the procedures in paragraphs (e)(1)                   Compound Emissions from Water                         rate of 10,000 gallons per minute or less,
     through (5) of this section.                             Sources’’ (incorporated by reference, see             you may monitor at the applicable
        (1) Monitoring locations for closed-                  § 63.14) using a flame ionization                     frequency specified in paragraph
     loop recirculation heat exchange                         detector analyzer for on-site                         (e)(4)(ii)(A) or (B) of this section using
     systems. For each closed loop                            determination as described in Section                 a leak action level defined as a total
     recirculating heat exchange system, you                  6.1 of the Modified El Paso Method.                   hydrocarbon mass emissions rate from
     must collect and analyze a sample from                      (ii) You must convert the total                    the heat exchange system (as methane)
     the location(s) described in either                      strippable hydrocarbon concentration                  of 0.18 kg/hr.
     paragraph (e)(1)(i) or (ii) of this section.             (in ppmv as methane) to a total                          (A) If you have completed the initial
        (i) Each cooling tower return line or                 hydrocarbon mass emissions rate (as                   weekly monitoring for 6-months of the
     any representative riser within the                      methane) using the calculations in                    heat exchange system as specified in
     cooling tower prior to exposure to air for               Section 7.0 of ‘‘Air Stripping Method                 § 63.1086(a)(2)(ii) or (b)(1)(ii) then you
     each heat exchange system.                               (Modified El Paso Method) for                         must monitor monthly. If a leak is
        (ii) Selected heat exchanger exit                     Determination of Volatile Organic                     detected as specified in paragraph (e)(5)
     line(s), so that each heat exchanger or                  Compound Emissions from Water                         of this section, then you must monitor
     group of heat exchangers within a heat                   Sources’’ (incorporated by reference—                 weekly until the leak has been repaired
     exchange system is covered by the                        see § 63.14).                                         according to the requirements in
     selected monitoring location(s).                            (4) Monitoring frequency and leak                  § 63.1087(c) or (d). Once the leak has
        (2) Monitoring locations for once-                    action level. For each heat exchange                  been repaired according to the
     through heat exchange systems. For                       system, you must comply with the                      requirements in § 63.1087(c) or (d),
     each once-through heat exchange                          applicable monitoring frequency and                   monthly monitoring for the heat
     system, you must collect and analyze a                   leak action level, as defined in                      exchange system may resume.
     sample from the location(s) described in                 paragraphs (e)(4)(i) through (iii) of this               (B) If you have not completed the
     paragraph (e)(2)(i) of this section. You                 section. The monitoring frequencies                   initial weekly monitoring for 6-months
     may also elect to collect and analyze an                 specified in paragraphs (e)(4)(i) through             of the heat exchange system as specified
     additional sample from the location(s)                   (iii) of this section also apply to the inlet         in § 63.1086(a)(2)(ii) or (b)(1)(ii), or if
     described in paragraph (e)(2)(ii) of this                water feed line for a once-through heat               you elect to comply with paragraph (e)
     section.                                                 exchange system, if you elect to monitor              of this section rather than paragraphs (a)
        (i) Selected heat exchanger exit                      the inlet water feed as provided in                   through (d) of this section upon startup,
     line(s), so that each heat exchanger or                  paragraph (e)(2)(ii) of this section.                 then you must initially monitor weekly
     group of heat exchangers within a heat                      (i) For each heat exchange system that             for 6-months beginning upon startup
     exchange system is covered by the                        is part of an ethylene production                     and monitor monthly thereafter. If a leak
     selected monitoring location(s). The                     affected source that commenced                        is detected as specified in paragraph
     selected monitoring location may be at                   construction or reconstruction on or                  (e)(5) of this section, then you must
     a point where discharges from multiple                   before December 6, 2000, you must                     monitor weekly until the leak has been
     heat exchange systems are combined                       monitor quarterly using a leak action                 repaired according to the requirements
     provided that the combined cooling                       level defined as a total strippable                   in § 63.1087(c) or (d). Once the leak has


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     been repaired according to the                              (c) Beginning no later than the                    meet one of the conditions in
     requirements in § 63.1087(c) or (d),                     compliance dates specified in                         paragraphs (a) through (c) of this
     monthly monitoring for the heat                          § 63.1081(a), if a leak is detected using             section. Beginning no later than the
     exchange system may resume.                              the methods described in § 63.1086(e),                compliance dates specified in
        (iii) For each heat exchange system                   you must repair the leak to reduce the                § 63.1081(a), paragraphs (a) through (c)
     that is part of an ethylene production                   concentration or mass emissions rate to               of this section no longer apply; instead,
     affected source that commences                           below the applicable leak action level as             you may delay repair if the conditions
     construction or reconstruction after                     soon as practicable, but no later than 45             in paragraph (d) of this section are met.
     October 9, 2019, you must initially                      days after identifying the leak, except as            *      *      *    *      *
     monitor weekly for 6-months beginning                    specified in § 63.1088(d). Repair must                   (d) Beginning no later than the
     upon startup and monitor monthly                         include re-monitoring at the monitoring               compliance dates specified in
     thereafter using a leak action level                     location where the leak was identified                § 63.1081(a), you may delay repair when
     defined as a total strippable                            according to the method specified in                  one of the conditions in paragraph (d)(1)
     hydrocarbon concentration (as methane)                   § 63.1086(e)(3) to verify that the total              or (2) of this section is met and the leak
     in the stripping gas of 6.2 ppmv or, for                 strippable hydrocarbon concentration or               is less than the delay of repair action
     heat exchange systems with a                             total hydrocarbon mass emissions rate is              level specified in paragraph (d)(3) of
     recirculation rate of 10,000 gallons per                 below the applicable leak action level.               this section. You must determine if a
     minute or less, you may use a leak                       Repair may also include performing the                delay of repair is necessary as soon as
     action level defined as a total                          additional monitoring in paragraph (d)                practicable, but no later than 45 days
     hydrocarbon mass emissions rate from                     of this section to verify that the total              after first identifying the leak.
     the heat exchange system (as methane)                    strippable hydrocarbon concentration is                  (1) If the repair is technically
     of 0.18 kg/hr if the heat exchange                       below the applicable leak action level.               infeasible without a shutdown and the
     system has a recirculation rate of 10,000                Actions that can be taken to achieve                  total strippable hydrocarbon
     gallons per minute or less. If a leak is                 repair include but are not limited to:                concentration or total hydrocarbon mass
     detected as specified in paragraph (e)(5)                   (1) Physical modifications to the                  emissions rate is initially and remains
     of this section, then you must monitor                   leaking heat exchanger, such as welding               less than the delay of repair action level
     weekly until the leak has been repaired                  the leak or replacing a tube;                         for all monitoring periods during the
     according to the requirements in                            (2) Blocking the leaking tube within               delay of repair, then you may delay
     § 63.1087(c) or (d). Once the leak has                   the heat exchanger;                                   repair until the next scheduled
     been repaired according to the                              (3) Changing the pressure so that                  shutdown of the heat exchange system.
     requirements in § 63.1087(c) or (d),                     water flows into the process fluid;                   If, during subsequent monitoring, the
     monthly monitoring for the heat                             (4) Replacing the heat exchanger or                delay of repair action level is exceeded,
     exchange system may resume.                              heat exchanger bundle; or                             then you must repair the leak within 30
        (5) Leak definition. A leak is defined                   (5) Isolating, bypassing, or otherwise             days of the monitoring event in which
     as described in paragraph (e)(5)(i) or (ii)              removing the leaking heat exchanger                   the leak was equal to or exceeded the
     of this section, as applicable.                          from service until it is otherwise
        (i) For once-through heat exchange                                                                          delay of repair action level.
                                                              repaired.                                                (2) If the necessary equipment, parts,
     systems for which the inlet water feed                      (d) Beginning no later than the
     is monitored as described in paragraph                                                                         or personnel are not available and the
                                                              compliance dates specified in
     (e)(2)(ii) of this section, a leak is                                                                          total strippable hydrocarbon
                                                              § 63.1081(a), if you detect a leak when
     detected if the difference in the                                                                              concentration or total hydrocarbon mass
                                                              monitoring a cooling tower return line
     measurement value of the sample taken                                                                          emissions rate is initially and remains
                                                              according to § 63.1086(e)(1)(i), you may
     from a location specified in paragraph                                                                         less than the delay of repair action level
                                                              conduct additional monitoring of each
     (e)(2)(i) of this section and the                                                                              for all monitoring periods during the
                                                              heat exchanger or group of heat
     measurement value of the                                                                                       delay of repair, then you may delay the
                                                              exchangers associated with the heat
     corresponding sample taken from the                                                                            repair for a maximum of 120 calendar
                                                              exchange system for which the leak was
     location specified in paragraph (e)(2)(ii)                                                                     days. You must demonstrate that the
                                                              detected, as provided in
     of this section equals or exceeds the leak                                                                     necessary equipment, parts, or
                                                              § 63.1086(e)(1)(ii). If no leaks are
     action level.                                                                                                  personnel were not available. If, during
                                                              detected when monitoring according to
        (ii) For all other heat exchange                                                                            subsequent monitoring, the delay of
                                                              the requirements of § 63.1086(e)(1)(ii),
     systems, a leak is detected if a                                                                               repair action level is exceeded, then you
                                                              the heat exchange system is considered
     measurement value of the sample taken                                                                          must repair the leak within 30 days of
                                                              to have met the repair requirements
     from a location specified in paragraph                                                                         the monitoring event in which the leak
                                                              through re-monitoring of the heat
     (e)(1)(i), (ii), or (e)(2)(i) of this section                                                                  was equal to or exceeded the delay of
                                                              exchange system, as provided in
     equals or exceeds the leak action level.                                                                       repair action level.
                                                              paragraph (c) of this section.
     ■ 10. Section 63.1087 is amended by                                                                               (3) The delay of repair action level is
                                                              ■ 11. Section 63.1088 is amended by
     revising the introductory text and by                                                                          a total strippable hydrocarbon
                                                              revising the introductory text and by
     adding paragraphs (c) and (d) to read as                                                                       concentration (as methane) in the
                                                              adding paragraph (d) to read as follows:
     follows:                                                                                                       stripping gas of 62 ppmv or, for heat
                                                              § 63.1088 In what situations may I delay              exchange systems with a recirculation
     § 63.1087 What actions must I take if a leak             leak repair, and what actions must I take for         rate of 10,000 gallons per minute or less,
     is detected?                                             delay of repair?                                      the delay of repair action level is a total
        Except as specified in § 63.1085(f) and                 You may delay the repair of heat                    hydrocarbon mass emissions rate (as
     paragraphs (c) and (d) of this section, if               exchange systems if the leaking                       methane) or 1.8 kg/hr. The delay of
     a leak is detected, you must comply                      equipment is isolated from the process.               repair action level is assessed as
     with the requirements in paragraphs (a)                  At any time before the compliance dates               described in paragraph (d)(3)(i) or (ii) of
     and (b) of this section unless repair is                 specified in § 63.1081(a), you may also               this section, as applicable.
     delayed according to § 63.1088.                          delay repair if repair is technically                    (i) For once-through heat exchange
     *     *     *     *     *                                infeasible without a shutdown, and you                systems for which the inlet water feed


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     is monitored as described in                             calculate the mass emissions rate by                  delay of repair in the semiannual report
     § 63.1086(e)(2)(ii), the delay of repair                 converting the stripping gas leak                     required by § 63.1110(e). If the leak
     action level is exceeded if the difference               concentration (in ppmv as methane) to                 remains unrepaired, you must continue
     in the measurement value of the sample                   an equivalent liquid concentration, in                to report the delay of repair in
     taken from a location specified in                       parts per million by weight (ppmw),                   semiannual reports until you repair the
     § 63.1086(e)(2)(i) and the measurement                   using equation 7–1 from ‘‘Air Stripping               leak. Except as provided in paragraph (f)
     value of the corresponding sample taken                  Method (Modified El Paso Method) for                  of this section, you must include the
     from the location specified in                           Determination of Volatile Organic                     information in paragraphs (a) through
     § 63.1086(e)(2)(ii) equals or exceeds the                Compound Emissions from Water                         (e) of this section in the semiannual
     delay of repair action level.                            Sources’’ (incorporated by reference—                 report.
        (ii) For all other heat exchange                      see § 63.14) and multiply the equivalent              *      *     *     *     *
     systems, the delay of repair action level                liquid concentration by the mass flow                    (f) For heat exchange systems subject
     is exceeded if a measurement value of                    rate of the cooling water.                            to § 63.1085(e) and (f), Periodic Reports
     the sample taken from a location                            (ii) For delay of repair monitoring                must include the information specified
     specified in § 63.1086(e)(1)(i) and (ii) or              intervals prior to repair of the leak,                in paragraphs (f)(1) through (5) of this
     § 63.1086(e)(2)(i) equals or exceeds the                 calculate the potential total hydrocarbon             section, in lieu of the information
     delay of repair action level.                            emissions for the leaking heat exchange               specified in paragraphs (a) through (e) of
     ■ 12. Section 63.1089 is amended by                      system or heat exchanger for the                      this section.
     revising paragraphs (d) and (e) to read                  monitoring interval by multiplying the                   (1) The number of heat exchange
     as follows:                                              mass emissions rate, determined in                    systems at the plant site subject to the
                                                              § 63.1086(e)(3)(ii) or paragraph (d)(4)(i)            monitoring requirements in § 63.1085(e)
     § 63.1089   What records must I keep?                    of this section, by the duration of the               and (f) during the reporting period.
     *       *     *   *      *                               delay of repair monitoring interval. The                 (2) The number of heat exchange
        (d) At any time before the compliance                 duration of the delay of repair                       systems subject to the monitoring
     dates specified in § 63.1081(a), you must                monitoring interval is the time period                requirements in § 63.1085(e) and (f) at
     keep documentation of delay of repair                    starting at midnight on the day of the                the plant site found to be leaking during
     as specified in § 63.1088(a) through (c).                previous monitoring event or at                       the reporting period.
     Beginning no later than the compliance                   midnight on the day the repair would                     (3) For each monitoring location
     dates specified in § 63.1081(a), the                     have been completed if the repair had                 where the total strippable hydrocarbon
     requirement to keep documentation of                     not been delayed, whichever is later,                 concentration or total hydrocarbon mass
     delay of repair as specified in                          and ending at midnight of the day the                 emissions rate was determined to be
     § 63.1088(a) through (c) no longer                       of the current monitoring event.                      equal to or greater than the applicable
     applies; instead, you must keep                             (iii) For delay of repair monitoring               leak definitions specified in
     documentation of delay of repair as                      intervals ending with a repaired leak,                § 63.1086(e)(5) during the reporting
     specified in paragraphs (d)(1) through                   calculate the potential total hydrocarbon             period, identification of the monitoring
     (4) of this section.                                     emissions for the leaking heat exchange               location (e.g., unique monitoring
        (1) The reason(s) for delaying repair.                system or heat exchanger for the final                location or heat exchange system ID
        (2) A schedule for completing the                     delay of repair monitoring interval by                number), the measured total strippable
     repair as soon as practical.                             multiplying the duration of the final                 hydrocarbon concentration or total
        (3) The date and concentration or                     delay of repair monitoring interval by                hydrocarbon mass emissions rate, the
     mass emissions rate of the leak as first                 the mass emissions rate determined for                date the leak was first identified, and, if
     identified and the results of all                        the last monitoring event prior to the re-            applicable, the date the source of the
     subsequent monitoring events during                      monitoring event used to verify the leak              leak was identified;
     the delay of repair.                                     was repaired. The duration of the final                  (4) For leaks that were repaired during
        (4) An estimate of the potential total                delay of repair monitoring interval is the            the reporting period (including delayed
     hydrocarbon emissions from the leaking                   time period starting at midnight of the               repairs), identification of the monitoring
     heat exchange system or heat exchanger                   day of the last monitoring event prior to             location associated with the repaired
     for each required delay of repair                        re-monitoring to verify the leak was                  leak, the total strippable hydrocarbon
     monitoring interval following the                        repaired and ending at the time of the                concentration or total hydrocarbon mass
     applicable procedures in paragraphs                      re-monitoring event that verified that                emissions rate measured during re-
     (d)(4)(i) through (iii) of this section.                 the leak was repaired.                                monitoring to verify repair, and the re-
        (i) If you comply with the total                         (e) At any time before the compliance              monitoring date (i.e., the effective date
     strippable hydrocarbon concentration                     dates specified in § 63.1081(a), if you               of repair); and
     leak action level, as specified in                       validate a 40 CFR part 136 method for                    (5) For each delayed repair,
     § 63.1086(e)(4), you must calculate the                  the HAP listed in Table 1 to this subpart             identification of the monitoring location
     mass emissions rate by complying with                    according to the procedures in appendix               associated with the leak for which
     the requirements of § 63.1086(e)(3)(ii) or               D to this part, then you must keep a                  repair is delayed, the date when the
     by determining the mass flow rate of the                 record of the test data and calculations              delay of repair began, the date the repair
     cooling water at the monitoring location                 used in the validation. On the                        is expected to be completed (if the leak
     where the leak was detected. If the                      compliance dates specified in                         is not repaired during the reporting
     monitoring location is an individual                     § 63.1081(a), this requirement no longer              period), the total strippable hydrocarbon
     cooling tower riser, determine the total                 applies.                                              concentration or total hydrocarbon mass
     cooling water mass flow rate to the                      ■ 13. Section 63.1090 is amended by                   emissions rate and date of each
     cooling tower. Cooling water mass flow                   revising the introductory text and by                 monitoring event conducted on the
     rates may be determined using direct                     adding paragraph (f) to read as follows:              delayed repair during the reporting
     measurement, pump curves, heat                                                                                 period, and an estimate of the potential
     balance calculations, or other                           § 63.1090    What reports must I submit?              total hydrocarbon emissions over the
     engineering methods. If you determine                      If you delay repair for your heat                   reporting period associated with the
     the mass flow rate of the cooling water,                 exchange system, you must report the                  delayed repair.


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     ■ 14. Section 63.1095 is amended by:                            and (j)(7), and 40 CFR                                            less than 10 Mg/yr, as determined
     ■ a. Revising paragraph (a)(1)                                  61.357(d)(7)(iv)(F).                                              according to 40 CFR 61.342(a), manage
     introductory text;                                              *     *      *     *     *                                        and treat spent caustic waste streams
     ■ b. Adding paragraph (a)(1)(vi);                                 (3) Before July 6, 2023, if the total                           and dilution steam blowdown waste
                                                                     annual benzene quantity from waste at                             streams according to 40 CFR
     ■ c. Revising paragraphs (a)(3), (b)
                                                                     your facility is less than 10 Mg/yr, as                           61.342(c)(1) through (c)(3)(i). Before July
     introductory text, and (b)(1); and
                                                                     determined according to 40 CFR                                    6, 2023, the requirements of this
     ■ d. Adding paragraph (b)(3).                                                                                                     paragraph (b)(1) shall apply at all times
                                                                     61.342(a), comply with the requirements
       The revisions and additions read as                           of this section at all times except during                        except during periods of startup,
     follows:                                                        periods of startup, shutdown, and                                 shutdown, and malfunction, if the
     § 63.1095 What specific requirements                            malfunction, if the startup, shutdown,                            startup, shutdown, or malfunction
     must I comply with?                                             or malfunction precludes the ability of                           precludes the ability of the affected
                                                                     the affected source to comply with the                            source to comply with the requirements
     *      *     *    *      *
                                                                     requirements of this section and the                              of this section and the owner or operator
        (a) * * *                                                                                                                      follows the provisions for periods of
                                                                     owner or operator follows the
        (1) Route the continuous butadiene                           provisions for periods of startup,                                startup, shutdown, and malfunction, as
     stream to a treatment process or                                shutdown, and malfunction, as                                     specified in § 63.1111. Beginning on
     wastewater treatment system used to                             specified in § 63.1111. Beginning on                              July 6, 2023, the requirements of this
     treat benzene waste streams that                                July 6, 2023, if the total annual benzene                         paragraph (b)(1) shall apply at all times.
     complies with the standards specified in                        quantity from waste at your facility is                           *      *     *    *     *
     40 CFR 61.348. Comply with the                                  less than 10 Mg/yr, as determined                                    (3) Beginning no later than the
     requirements of 40 CFR part 61, subpart                         according to 40 CFR 61.342(a), you must                           compliance dates specified in
     FF; with the changes in Table 2 to this                         comply with the requirements of this                              § 63.1081(b), if you use a steam-assisted,
     subpart, and as specified in paragraphs                         section at all times.                                             air-assisted, non-assisted, or pressure-
     (a)(1)(i) through (vi) of this section.                           (b) Waste streams that contain                                  assisted multi-point flare to comply
     *      *     *    *      *                                      benzene. For waste streams that contain                           with 40 CFR part 61, subpart FF, then
        (vi) Beginning no later than the                             benzene, you must comply with the                                 you must comply with the requirements
     compliance dates specified in                                   requirements of 40 CFR part 61, subpart                           of § 63.1103(e)(4) in lieu of 40 CFR
     § 63.1081(b), if you use a steam-assisted,                      FF, except as specified in Table 2 to this                        61.349(a)(2)(iii) and (d), 40 CFR
     air-assisted, non-assisted, or pressure-                        subpart and paragraph (b)(3) of this                              61.354(c)(3), 40 CFR 61.356(f)(2)(i)(D)
     assisted multi-point flare to comply                            section. You must manage and treat                                and (j)(7), and 40 CFR
     with 40 CFR part 61, subpart FF, then                           waste streams that contain benzene as                             61.357(d)(7)(iv)(F).
     you must comply with the requirements                           specified in either paragraph (b)(1) or (2)                       ■ 15. Table 2 to subpart XX of part 63
     § 63.1103(e)(4) in lieu of 40 CFR                               of this section.                                                  is amended by revising the first three
     61.349(a)(2)(iii) and (d), 40 CFR                                 (1) If the total annual benzene                                 entries to row 1 and the first two entries
     61.354(c)(3), 40 CFR 61.356(f)(2)(i)(D)                         quantity from waste at your facility is                           to row 2 to read as follows:

          TABLE 2 TO SUBPART XX OF PART 63—REQUIREMENTS OF 40 CFR PART 61, SUBPART FF, NOT INCLUDED IN THE
                              REQUIREMENTS FOR THIS SUBPART AND ALTERNATE REQUIREMENTS
     If the total annual benzene quantity for waste                  Do not comply with:                                               Instead, comply with:
     from your facility is * * *

     1. Less than 10 Mg/yr .......................................   40 CFR 61.340 .................................................   § 63.1093.
                                                                     40 CFR 61.342(c)(3)(ii), (d), and (e) ................            There is no equivalent requirement.
                                                                     40 CFR 61.342(f) ..............................................   § 63.1096.

              *                    *                                   *                     *                                 *                       *                     *
     2. Greater than or equal to 10 Mg/yr ................           40 CFR 61.340 .................................................   § 63.1093.
                                                                     40 CFR 61.342(f) ..............................................   § 63.1096.

                 *                           *                           *                          *                          *                       *                     *



     Subpart YY—National Emission                                    ■ b. Revising the entries for ‘‘Carbon                            ■ e. Adding paragraph (g)(4)(iii);
     Standards for Hazardous Air Pollutants                          Black Production,’’ ‘‘Cyanide Chemicals                           ■ f. Revising paragraph (g)(5); and
     for Source Categories: Generic                                  Manufacturing,’’ ‘‘Ethylene                                       ■ g. Adding paragraph (g)(7).
     Maximum Achievable Control                                      Production,’’ and ‘‘Spandex                                         The revisions and additions read as
     Technology Standards                                            Production’’;                                                     follows:
                                                                     ■ c. Revising footnote c to Table 1 to
     ■ 16. Section 63.1100 is amended by:                            § 63.1100(a);                                                     § 63.1100    Applicability.
     ■ a. Revising the heading to Table 1 to                         ■ d. Revising paragraphs (b), (g)                                   (a) * * *
     § 63.1100(a);                                                   introductory text, and (g)(4)(ii);




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                                            TABLE 1 TO § 63.1100(a)—SOURCE CATEGORY MACT a APPLICABILITY
                                                   Storage         Process          Transfer             Equipment              Wastewater                              Source category
               Source category                                                                                                                           Other
                                                   vessels          vents            racks                 leaks                 streams                               MACT requirements


               *                        *                           *                          *                              *                          *                         *
     Carbon Black Production ............        No ...........   Yes ..........   No ...........     No ..................   No ..................   No ...........   § 63.1103(f).
     Cyanide Chemicals Manufac-                  Yes ..........   Yes ..........   Yes ..........     Yes ................    Yes ................    No ...........   § 63.1103(g).
       turing.
     Ethylene Production ....................    Yes ..........   Yes ..........   Yes ..........     Yes ................    Yes ................    Yes c ........   § 63.1103(e).

             *                         *                            *                          *                              *                          *                        *
     Spandex Production ....................     Yes ..........   Yes ..........   No ...........     No ..................   No ..................   Yes d ........   § 63.1103(h).
        a Maximum achievable control technology.
        b Fiber spinning lines using spinning solution or suspension containing acrylonitrile.
        c Heat exchange systems as defined in § 63.1082(b).
        d Fiber spinning lines.




        (b) Subpart A requirements. The                           drift assessment requirements specified                            requirements in Table 7 to § 63.1103(e)
     following provisions of subpart A of this                    at 40 CFR 60.485a(b)(2) if they are                                are required to comply only with
     part (General Provisions), §§ 63.1                           required to do so in subpart VVa of 40                             § 63.1103(e)(4). At any time before the
     through 63.5, and §§ 63.12 through                           CFR part 60. When complying with the                               compliance dates specified in
     63.15, apply to owners or operators of                       calibration drift assessment                                       § 63.1102(c), flares that are subject to 40
     affected sources subject to this subpart.                    requirements at 40 CFR 60.485a(b)(2),                              CFR 60.18 or § 63.11 and elect to
     Beginning no later than the compliance                       the requirement at 40 CFR                                          comply with § 63.1103(e)(4) are required
     dates specified in § 63.1102(c), for                         60.486a(e)(8)(v) to record the instrument                          to comply only with § 63.1103(e)(4).
     ethylene production affected sources,                        reading for each scale used applies.                                  (ii) Beginning no later than the
     §§ 63.7(a)(4), (c), (e)(4), and (g)(2), and                     (5) Overlap of this subpart YY with                             compliance dates specified in
     63.10(b)(2)(vi) also apply.                                  other regulations for wastewater for                               § 63.1102(c), flares subject to § 63.987
     *       *    *     *      *                                  source categories other than ethylene                              and used as a control device for an
        (g) Overlap with other regulations.                       production. (i) After the compliance                               emission point subject to the
     Paragraphs (g)(1) through (7) of this                        dates specified in § 63.1102 for an                                requirements in Table 7 to § 63.1103(e)
     section specify the applicability of this                    affected source subject to this subpart, a                         are only required to comply with
     subpart YY emission point requirements                       wastewater stream that is subject to the                           § 63.1103(e)(4).
     when other rules may apply. Where this                       wastewater requirements of this subpart
                                                                  and the wastewater requirements of                                    (iii) Beginning no later than the
     subpart YY allows an owner or operator                                                                                          compliance dates specified in
     an option to comply with one or another                      subparts F, G, and H of this part
                                                                  (collectively known as the ‘‘HON’’) shall                          § 63.1102(c), flares subject to the
     regulation to comply with this subpart                                                                                          requirements in 40 CFR part 63, subpart
     YY, an owner or operator must report                         be deemed to be in compliance with the
                                                                  requirements of this subpart if it                                 CC and used as a control device for an
     which regulation they choose to comply                                                                                          emission point subject to the
     with in the Notification of Compliance                       complies with either set of
                                                                  requirements. In any instance where a                              requirements in Table 7 to § 63.1103(e)
     Status report required by                                                                                                       are only required to comply with the
     § 63.1110(a)(4).                                             source subject to this subpart is
                                                                  collocated with a Synthetic Organic                                flare requirements in 40 CFR part 63,
        (4) * * *                                                                                                                    subpart CC. This paragraph does not
        (ii) After the compliance dates                           Chemical Manufacturing Industry
                                                                  (SOCMI) source, and a single                                       apply to multi-point pressure assisted
     specified in § 63.1102, equipment that
                                                                  wastewater treatment facility treats both                          flares.
     must be controlled according to this
     subpart YY and subpart H of this part                        Group 1 wastewaters and wastewater                                 ■ 17. Section 63.1101 is amended by
     is in compliance with the equipment                          residuals from the source subject to this                          revising the definitions of ‘‘Pressure
     leak requirements of this subpart YY if                      subpart and wastewaters from the                                   relief device or valve’’ and ‘‘Shutdown’’
     it complies with either set of                               SOCMI source, a certification by the                               to read as follows:
     requirements. For ethylene production                        treatment facility that they will manage
                                                                                                                                     § 63.1101        Definitions.
     affected sources, the requirement in                         and treat the waste in conformity with
                                                                  the specific control requirements set                              *      *    *     *     *
     § 63.1103(e)(9)(i) also applies. The
     owner or operator must specify the rule                      forth in §§ 63.133 through 63.147 will                                Pressure relief device or valve means
     with which they will comply in the                           also be deemed sufficient to satisfy the                           a safety device used to prevent
     Notification of Compliance Status report                     certification requirements for                                     operating pressures from exceeding the
     required by § 63.1110(a)(4).                                 wastewater treatment under this                                    maximum allowable working pressure
        (iii) Beginning no later than the                         subpart.                                                           of the process equipment. A common
     compliance dates specified in                                *      *    *     *     *                                          pressure relief device is a spring-loaded
     § 63.1102(c), for ethylene production                           (7) Overlap of this subpart YY with                             pressure relief valve. Devices that are
     affected sources, equipment that must                        other regulations for flares for the                               actuated either by a pressure of less than
     be controlled according to this subpart                      ethylene production source category. (i)                           or equal to 2.5 pounds per square inch
     YY and subpart VVa of 40 CFR part 60                         Beginning no later than the compliance                             gauge or by a vacuum are not pressure
     is required only to comply with the                          dates specified in § 63.1102(c), flares                            relief devices. This definition does not
     equipment leak requirements of this                          that are subject to 40 CFR 60.18 or                                apply to ethylene production affected
     subpart, except the owner or operator                        § 63.11 and used as a control device for                           sources.
     must also comply with the calibration                        an emission point subject to the                                   *      *    *     *     *


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       Shutdown means the cessation of                           (3) The ethylene process vent                      equipment either contains or contacts a
     operation of an affected source or                       requirements specified in paragraph                   fluid (liquid or gas) that is at least 10
     equipment that is used to comply with                    (d)(1)(ii) of Table 7 to § 63.1103(e).                percent by weight of total organic HAP
     this subpart, or the emptying and                           (4) The transfer rack requirements                 as determined according to the
     degassing of a storage vessel. For the                   specified in § 63.1105(a)(5).                         provisions of § 63.180(d). The
     purposes of this subpart, shutdown                          (5) The equipment requirements                     provisions of § 63.180(d) also specify
     includes, but is not limited to, periodic                specified in paragraph (f)(1)(ii) of Table            how to determine that a piece of
     maintenance, replacement of                              7 to § 63.1103(e) and § 63.1107(h).                   equipment is not in organic HAP
     equipment, or repair. Shutdown does                         (6) The bypass line requirements                   service.
     not include the routine rinsing or                       specified in paragraph (i) of Table 7 to              *       *    *     *     *
     washing of equipment in batch                            § 63.1103(e), and § 63.1103(e)(6).                       (e) * * *
     operation between batches. Shutdown                         (7) The decoking requirements for                     (1) * * *
     includes the decoking of ethylene                        ethylene cracking furnaces specified in                  (i) Affected source. For the ethylene
     cracking furnaces.                                       paragraph (j) of Table 7 to § 63.1103(e),             production (as defined in paragraph
     *     *    *      *    *                                 and § 63.1103(e)(7) and (8).                          (e)(2) of this section) source category,
     ■ 18. Section 63.1102 is amended by                         (8) The flare requirements specified in
                                                                                                                    the affected source comprises all
     revising paragraph (a) introductory text                 § 63.1103(e)(4).
                                                                                                                    emission points listed in paragraphs
     and adding paragraph (c) to read as                         (9) The maintenance vent
                                                                                                                    (e)(1)(i)(A) through (G) of this section
     follows:                                                 requirements specified in
                                                                                                                    that are associated with an ethylene
                                                              § 63.1103(e)(5).
     § 63.1102   Compliance schedule.                                                                               production unit that is located at a
                                                                 (10) The requirements specified in
        (a) General requirements. Affected                                                                          major source, as defined in section
                                                              § 63.1103(e)(9).
     sources, as defined in § 63.1103(a)(1)(i)                   (11) The requirements in                           112(a) of the Act.
     for acetyl resins production,                            § 63.1108(a)(4)(i), (b)(1)(ii), (b)(2), and           *       *    *     *     *
     § 63.1103(b)(1)(i) for acrylic and                       (b)(4)(ii)(B).                                           (F) All heat exchange systems (as
     modacrylic fiber production,                                (12) The recordkeeping requirements                defined in § 63.1082(b)) associated with
     § 63.1103(c)(1)(i) for hydrogen fluoride                 specified in § 63.1109(e) through (i).                an ethylene production unit.
     production, § 63.1103(d)(1)(i) for                          (13) The reporting requirements                    *       *    *     *     *
     polycarbonate production,                                specified in § 63.1110(a)(10), (d)(1)(iv)                (ii) * * *
     § 63.1103(e)(1)(i) for ethylene                          and (v), and (e)(4) through (8).                         (J) Air emissions from all ethylene
     production, § 63.1103(f)(1)(i) for carbon                *      *       *   *     *                            cracking furnaces.
     black production, § 63.1103(g)(1)(i) for                 ■ 19. Section 63.1103 is amended:                     *       *    *     *     *
     cyanide chemicals manufacturing, or                      ■ a. By revising the definition of ‘‘In
     § 63.1103(h)(1)(i) for spandex                                                                                    (2) * * *
                                                              organic hazardous air pollutant or in                    Decoking operation means the coke
     production shall comply with the                         organic HAP service’’ in paragraph
     appropriate provisions of this subpart                                                                         combustion activity that occurs inside
                                                              (b)(2);                                               the radiant tube(s) in the ethylene
     and the subparts referenced by this                      ■ b. By revising paragraphs (e)(1)(i)
     subpart YY according to the schedule in                                                                        cracking furnace firebox. Coke
                                                              introductory text, (e)(1)(i)(F), and                  combustion activities during decoking
     paragraph (a)(1) or (2) of this section, as              (e)(1)(ii)(J);
     appropriate, except as provided in                                                                             can also occur in other downstream
                                                              ■ c. In paragraph (e)(2) by;                          equipment such as the process gas
     paragraph (b) of this section. Affected                  ■ i. Adding in alphabetical order a
     sources in ethylene production also                                                                            outlet piping and transfer line
                                                              definition for ‘‘Decoking operation’’;                exchangers or quench points.
     must comply according to paragraph (c)                   ■ ii. Revising the definition of
     of this section. Proposal and effective                                                                           Ethylene process vent means a gas
                                                              ‘‘Ethylene process vent’’;                            stream with a flow rate greater than
     dates are specified in Table 1 to this                   ■ iii. Adding in alphabetical order a
     section.                                                                                                       0.005 standard cubic meters per minute
                                                              definition for ‘‘Force majeure event’’;               containing greater than 20 parts per
     *      *      *    *     *                               ■ iv. Removing the definition of ‘‘Heat
        (c) All ethylene production affected                                                                        million by volume HAP that is
                                                              exchange system’’;
     sources that commenced construction or                                                                         continuously discharged during
                                                              ■ v. Adding in alphabetical order
     reconstruction on or before October 9,                                                                         operation of an ethylene production
                                                              definitions for ‘‘Periodically
     2019, must be in compliance with the                                                                           unit. On and after July 6, 2023, ethylene
                                                              discharged,’’ ‘‘Pressure-assisted multi-
     requirements listed in paragraphs (c)(1)                                                                       process vent means a gas stream with a
                                                              point flare,’’ ‘‘Pressure relief device,’’
     through (13) of this section upon initial                                                                      flow rate greater than 0.005 standard
                                                              ‘‘Radiant tube(s),’’ and ‘‘Relief valve’’;
     startup or July 6, 2023, whichever is                                                                          cubic meters per minute containing
                                                              ■ d. By revising paragraph (e)(3);
     later. All ethylene production affected                                                                        greater than 20 parts per million by
                                                              ■ e. By adding paragraphs (e)(4) through
     sources that commenced construction or                                                                         volume HAP that is continuously or
                                                              (10); and
     reconstruction after October 9, 2019,                    ■ e. By revising Table 7 to § 63.1103(e).
                                                                                                                    periodically discharged during
     must be in compliance with the                              The revisions and additions read as                operation of an ethylene production
     requirements listed in paragraphs (c)(1)                 follows:                                              unit. Ethylene process vents are gas
     through (13) of this section upon initial                                                                      streams that are discharged to the
     startup, or July 6, 2020, whichever is                   § 63.1103 Source category-specific                    atmosphere (or the point of entry into a
     later.                                                   applicability, definitions, and requirements.         control device, if any) either directly or
        (1) Overlap requirements specified in                 *      *    *    *     *                              after passing through one or more
     § 63.1100(g)(4)(iii) and (7), if applicable.                (b) * * *                                          recovery devices. Ethylene process
        (2) The storage vessel requirements                      (2) * * *                                          vents do not include:
     specified in paragraphs (b)(1)(iii) and                     In organic hazardous air pollutant or                 (A) Pressure relief device discharges;
     (c)(1)(ii) of Table 7 to § 63.1103(e), and               in organic HAP service means, for                        (B) Gaseous streams routed to a fuel
     the degassing requirements specified in                  acrylic and modacrylic fiber production               gas system, including any flares using
     § 63.1103(e)(10).                                        affected sources, that a piece of                     fuel gas, of which less than 50 percent


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     of the fuel gas is derived from an                          Pressure relief device means a valve,              alternate means of emission limitations
     ethylene production unit;                                rupture disk, or similar device used                  are specified in § 63.1113.
        (C) Gaseous streams routed to a fuel                  only to release an unplanned,                            (4) Flares. Beginning no later than the
     gas system whereby any flares using fuel                 nonroutine discharge of gas from                      compliance dates specified in
     gas, of which 50 percent or more of the                  process equipment in order to avoid                   § 63.1102(c), if a steam-assisted, air-
     fuel gas is derived from an ethylene                     safety hazards or equipment damage. A                 assisted, non-assisted, or pressure-
     production unit, comply with                             pressure relief device discharge can                  assisted multi-point flare is used as a
     § 63.1103(e)(4) beginning no later than                  result from an operator error, a                      control device for an emission point
     the compliance dates specified in                        malfunction such as a power failure or                subject to the requirements in Table 7 to
     § 63.1102(c);                                            equipment failure, or other unexpected                this section, then the owner or operator
        (D) Leaks from equipment regulated                    cause. Such devices include                           must meet the applicable requirements
     under this subpart;                                      conventional, spring-actuated relief                  for flares as specified in §§ 63.670 and
        (E) Episodic or nonroutine releases                   valves, balanced bellows relief valves,               63.671 of subpart CC, including the
     such as those associated with startup,                   pilot-operated relief valves, rupture                 provisions in Tables 12 and 13 to
     shutdown, and malfunction until July 6,                  disks, and breaking, buckling, or                     subpart CC of this part, except as
     2023;                                                    shearing pin devices. Devices that are                specified in paragraphs (e)(4)(i) through
        (F) In situ sampling systems (online                  actuated either by a pressure of less than            (xiv) of this section. This requirement
     analyzers) until July 6, 2023; and                       or equal to 2.5 pounds per square inch                also applies to any flare using fuel gas
        (G) Coke combustion emissions from                                                                          from a fuel gas system, of which 50
                                                              gauge or by a vacuum are not pressure
     decoking operations beginning no later                                                                         percent or more of the fuel gas is
                                                              relief devices.
     than the compliance dates specified in                                                                         derived from an ethylene production
     § 63.1102(c).                                               Radiant tube(s) means any portion of
                                                              the tube coil assembly located within                 unit, being used to control an emission
     *       *    *     *    *                                the ethylene cracking furnace firebox                 point subject to the requirements in
        Force majeure event means a release                                                                         Table 7 of this section. For purposes of
                                                              whereby a thermal cracking reaction of
     of HAP, either directly to the                                                                                 compliance with this paragraph, the
                                                              hydrocarbons (in the presence of steam)
     atmosphere from a pressure relief device                                                                       following terms are defined in § 63.641
                                                              occurs. Hydrocarbons and steam pass
     or discharged via a flare, that is                                                                             of subpart CC: Assist air, assist steam,
                                                              through the radiant tube(s) of the
     demonstrated to the satisfaction of the                                                                        center steam, combustion zone,
                                                              ethylene cracking furnace during
     Administrator to result from an event                                                                          combustion zone gas, flare, flare purge
                                                              normal operation and coke is removed
     beyond the owner or operator’s control,                                                                        gas, flare supplemental gas, flare sweep
                                                              from the inside of the radiant tube(s)
     such as natural disasters; acts of war or                                                                      gas, flare vent gas, lower steam, net
                                                              during decoking operation.
     terrorism; loss of a utility external to the                                                                   heating value, perimeter assist air, pilot
                                                                 Relief valve means a type of pressure
     ethylene production unit (e.g., external                                                                       gas, premix assist air, total steam, and
     power curtailment), excluding power                      relief device that is designed to re-close
                                                              after the pressure relief.                            upper steam.
     curtailment due to an interruptible                                                                               (i) The owner or operator may elect to
     service agreement; and fire or explosion                 *      *    *      *     *                            comply with the alternative means of
     originating at a near or adjoining facility                 (3) Requirements. The owner or                     emissions limitation requirements
     outside of the ethylene production unit                  operator must control organic HAP                     specified in of § 63.670(r) of subpart CC
     that impacts the ethylene production                     emissions from each affected source                   in lieu of the requirements in
     unit’s ability to operate.                               emission point by meeting the                         § 63.670(d) through (f) of subpart CC, as
     *       *    *     *    *                                applicable requirements specified in                  applicable. However, instead of
        Periodically discharged means gas                     Table 7 to this section. An owner or                  complying with § 63.670(r)(3) of subpart
     stream discharges that are intermittent                  operator must perform the applicability               CC, the owner or operator must submit
     for which the total organic HAP                          assessment procedures and methods for                 the alternative means of emissions
     concentration is greater than 20 parts                   process vents specified in § 63.1104,                 limitation request following the
     per million by volume and total volatile                 except for paragraphs (d), (g), (h)                   requirements in § 63.1113.
     organic compound emissions are 50                        through (j), (l)(1), and (n). An owner or                (ii) Instead of complying with
     pounds per day or more. These                            operator must perform the applicability               § 63.670(o)(2)(i) of subpart CC, the
     intermittent discharges are associated                   assessment procedures and methods for                 owner or operator must develop and
     with routine operations, maintenance                     equipment leaks specified in § 63.1107.               implement the flare management plan
     activities, startups, shutdowns,                         General compliance, recordkeeping, and                no later than the compliance dates
     malfunctions, or process upsets and do                   reporting requirements are specified in               specified in § 63.1102(c).
     not include pressure relief device                       § § 63.1108 through 63.1112. Before July                 (iii) Instead of complying with
     discharges or discharges classified as                   6, 2023, minimization of emissions from               § 63.670(o)(2)(iii) of subpart CC, if
     maintenance vents.                                       startup, shutdown, and malfunctions                   required to develop a flare management
        Pressure-assisted multi-point flare                   must be addressed in the startup,                     plan and submit it to the Administrator,
     means a flare system consisting of                       shutdown, and malfunction plan                        then the owner or operator must also
     multiple flare burners in staged arrays                  required by § 63.1111; the plan must                  submit all versions of the plan in
     whereby the vent stream pressure is                      also establish reporting and                          portable document format (PDF) to the
     used to promote mixing and smokeless                     recordkeeping of such events. A startup,              EPA via the Compliance and Emissions
     operation at the flare burner tips.                      shutdown, and malfunction plan is not                 Data Reporting Interface (CEDRI), which
     Pressure-assisted multi-point flares are                 required on and after July 6, 2023 and                can be accessed through the EPA’s
     designed for smokeless operation at                      the requirements specified in § 63.1111               Central Data Exchange (CDX) (https://
     velocities up to Mach = 1 conditions                     no longer apply; however, for historical              cdx.epa.gov/). If you claim some of the
     (i.e., sonic conditions), can be elevated                compliance purposes, a copy of the plan               information in your flare management
     or at ground level, and typically use                    must be retained and available on-site                plan is confidential business
     cross-lighting for flame propagation to                  for five years after July 6, 2023. Except             information (CBI), submit a version with
     combust any flare vent gases sent to a                   as specified in paragraph (e)(4)(i) of this           the CBI omitted via CEDRI. A complete
     particular stage of flare burners.                       section, procedures for approval of                   plan, including information claimed to


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     be CBI and clearly marked as CBI, must                   device used to detect the presence of a               provisions in paragraphs (e)(4)(vii)(A)
     be mailed to the following address: U.S.                 flame;                                                through (F) of this section.
     Environmental Protection Agency,                            (E) Unless the owner or operator of a                 (viii) If an owner or operator chooses
     Office of Air Quality Planning and                       pressure-assisted multi-point flare                   to determine compositional analysis for
     Standards, Sector Policies and Programs                  chooses to conduct a cross-light                      net heating value with a continuous
     Division, U.S. EPA Mailroom (E143–01),                   performance demonstration as specified                process mass spectrometer, the owner or
     Attention: Ethylene Production Sector                    in this paragraph, the owner or operator              operator must comply with the
     Lead, 109 T.W. Alexander Drive,                          must ensure that if a stage of burners on             requirements specified in paragraphs
     Research Triangle Park, NC 27711.                        the flare uses cross-lighting, that the               (e)(4)(viii)(A) through (G) of this section.
        (iv) Section 63.670(o)(3)(ii) of subpart              distance between any two burners in                      (A) The owner or operator must meet
     CC and all references to                                 series on that stage is no more than 6                the requirements in § 63.671(e)(2). The
     § 63.670(o)(3)(ii) of subpart CC do not                  feet when measured from the center of                 owner or operator may augment the
     apply. Instead, the owner or operator                    one burner to the next burner. A                      minimum list of calibration gas
     must comply with the maximum flare                       distance greater than 6 feet between any              components found in § 63.671(e)(2) with
     tip velocity operating limit at all times.               two burners in series may be used                     compounds found during a pre-survey
        (v) Substitute ‘‘ethylene production                  provided the owner or operator                        or known to be in the gas through
     unit’’ for each occurrence of ‘‘petroleum                conducts a performance demonstration                  process knowledge.
     refinery.’’                                                                                                       (B) Calibration gas cylinders must be
                                                              that confirms the pressure-assisted
        (vi) Each occurrence of ‘‘refinery’’                                                                        certified to an accuracy of 2 percent and
                                                              multi-point flare will cross-light a
     does not apply.                                                                                                traceable to National Institute of
                                                              minimum of three burners and the
        (vii) Except as specified in paragraph                                                                      Standards and Technology (NIST)
                                                              spacing between the burners and
     (e)(4)(vii)(G) of this section, if a                                                                           standards.
                                                              location of the pilot flame must be                      (C) For unknown gas components that
     pressure-assisted multi-point flare is
                                                              representative of the projected                       have similar analytical mass fragments
     used as a control device for an emission
                                                              installation. The compliance                          to calibration compounds, the owner or
     point subject to the requirements in
                                                              demonstration must be approved by the                 operator may report the unknowns as an
     Table 7 to this section, then the owner
                                                              permitting authority and a copy of this               increase in the overlapped calibration
     or operator must comply with the
                                                              approval must be maintained onsite.                   gas compound. For unknown
     requirements specified in paragraphs
                                                              The compliance demonstration report                   compounds that produce mass
     (e)(4)(vii)(A) through (F) of this section.
        (A) The owner or operator is not                      must include: A protocol describing the               fragments that do not overlap
     required to comply with the flare tip                    test methodology used, associated test                calibration compounds, the owner or
     velocity requirements in § 63.670(d) and                 method QA/QC parameters, the waste                    operator may use the response factor for
     (k) of subpart CC;                                       gas composition and NHVcz of the gas                  the nearest molecular weight
        (B) The owner or operator must                        tested, the velocity of the waste gas                 hydrocarbon in the calibration mix to
     substitute ‘‘800’’ for each occurrence of                tested, the pressure-assisted multi-point             quantify the unknown component’s
     ‘‘270’’ in § 63.670(e) of subpart CC;                    flare burner tip pressure, the time,                  NHVvg.
        (C) The owner or operator must                        length, and duration of the test, records                (D) The owner or operator may use
     determine the 15-minute block average                    of whether a successful cross-light was               the response factor for n-pentane to
     NHVvg using only the direct calculation                  observed over all of the burners and the              quantify any unknown components
     method specified in § 63.670(l)(5)(ii) of                length of time it took for the burners to             detected with a higher molecular weight
     subpart CC;                                              cross-light, records of maintaining a                 than n-pentane.
        (D) Instead of complying with                         stable flame after a successful cross-light              (E) The owner or operator must
     § 63.670(b) and (g) of subpart CC, if a                  and the duration for which this was                   perform an initial calibration to identify
     pressure-assisted multi-point flare uses                 observed, records of any smoking events               mass fragment overlap and response
     cross-lighting on a stage of burners                     during the cross-light, waste gas                     factors for the target compounds.
     rather than having an individual pilot                   temperature, meteorological conditions                   (F) The owner or operator must meet
     flame on each burner, the owner or                       (e.g., ambient temperature, barometric                applicable requirements in Performance
     operator must operate each stage of the                  pressure, wind speed and direction, and               Specification 9 of 40 CFR part 60,
     pressure-assisted multi-point flare with                 relative humidity), and whether there                 appendix B, for continuous monitoring
     a flame present at all times when                        were any observed flare flameouts; and                system acceptance including, but not
     regulated material is routed to that stage                  (F) The owner or operator of a                     limited to, performing an initial multi-
     of burners. Each stage of burners that                   pressure-assisted multi-point flare must              point calibration check at three
     cross-lights in the pressure-assisted                    install and operate pressure monitor(s)               concentrations following the procedure
     multi-point flare must have at least two                 on the main flare header, as well as a                in Section 10.1 and performing the
     pilots with at least one continuously lit                valve position indicator monitoring                   periodic calibration requirements listed
     and capable of igniting all regulated                    system for each staging valve to ensure               for gas chromatographs in Table 13 to
     material that is routed to that stage of                 that the flare operates within the proper             subpart CC of this part, for the process
     burners. Each 15-minute block during                     range of conditions as specified by the               mass spectrometer. The owner or
     which there is at least one minute where                 manufacturer. The pressure monitor                    operator may use the alternative
     no pilot flame is present on a stage of                  must meet the requirements in Table 13                sampling line temperature allowed
     burners when regulated material is                       to subpart CC of this part.                           under Net Heating Value by Gas
     routed to that stage is a deviation of the                  (G) If a pressure-assisted multi-point             Chromatograph in Table 13 to subpart
     standard. Deviations in different 15-                    flare is operating under the                          CC of this part.
     minute blocks from the same event are                    requirements of an approved alternative                  (G) The average instrument
     considered separate deviations. The                      means of emission limitations, the                    calibration error (CE) for each
     pilot flame(s) on each stage of burners                  owner or operator shall either continue               calibration compound at any calibration
     that use cross-lighting must be                          to comply with the terms of the                       concentration must not differ by more
     continuously monitored by a                              alternative means of emission                         than 10 percent from the certified
     thermocouple or any other equivalent                     limitations or comply with the                        cylinder gas value. The CE for each


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     component in the calibration blend                       Cm = Average instrument response (ppm)                for daily calibration and quarterly audits
     must be calculated using the following                   Ca = Certified cylinder gas value (ppm)               in lieu of determining the compound-
     equation:                                                  (ix) An owner or operator using a gas               specific CE. The CE for NHV at any
                                                              chromatograph or mass spectrometer for                calibration level must not differ by more
                                                              compositional analysis for net heating                than 10 percent from the certified
                                                              value may choose to use the CE of                     cylinder gas value. The CE for must be
                                                              NHVmeasured versus the cylinder tag                   calculated using the following equation:
     Where:                                                   value NHV as the measure of agreement




     Where:                                                      (5) Maintenance vents. Unless an                   removing a blind flange or similar
     NHVmeasured = Average instrument response                extension is requested in accordance                  equipment blind, then the pressure in
        (Btu/scf)                                             with the provisions in § 63.6(i) of                   the equipment served by the
     NHVa = Certified cylinder gas value (Btu/scf)            subpart A, beginning no later than the                maintenance vent must be reduced to 2
        (x) Instead of complying with                         compliance dates specified in                         psig or less before installing or removing
     § 63.670(p) of subpart CC, the owner or                  § 63.1102(c), an owner or operator may                the equipment blind. During installation
     operator must keep the flare monitoring                  designate an ethylene process vent as a               or removal of the equipment blind,
     records specified in § 63.1109(e).                       maintenance vent if the vent is only                  active purging of the equipment may be
                                                              used as a result of startup, shutdown,                used provided the equipment pressure
        (xi) Instead of complying with
                                                              maintenance, or inspection of                         at the location where purge gas is
     § 63.670(q) of subpart CC, the owner or
                                                              equipment where equipment is emptied,                 introduced remains at 2 psig or less.
     operator must comply with the                                                                                     (ii) Except for maintenance vents
     reporting requirements specified in                      depressurized, degassed, or placed into
                                                              service. The owner or operator must                   complying with the alternative in
     § 63.1110(d) and (e)(4).                                                                                       paragraph (e)(5)(i)(C) of this section, the
                                                              comply with the applicable
        (xii) When determining compliance                                                                           owner or operator must determine the
                                                              requirements in paragraphs (e)(5)(i)
     with the pilot flame requirements                                                                              LEL or, if applicable, equipment
                                                              through (iii) of this section for each
     specified in § 63.670(b) and (g),                                                                              pressure using process instrumentation
                                                              maintenance vent.
     substitute ‘‘pilot flame or flare flame’’                   (i) Prior to venting to the atmosphere,            or portable measurement devices and
     for each occurrence of ‘‘pilot flame.’’                  remove process liquids from the                       follow procedures for calibration and
        (xiii) When determining compliance                    equipment as much as practical and                    maintenance according to
     with the flare tip velocity and                          depressurize the equipment to either: A               manufacturer’s specifications.
     combustion zone operating limits                         flare meeting the requirements specified                 (iii) For maintenance vents complying
     specified in § 63.670(d) and (e), the                    in paragraph (e)(4) of this section, or a             with the alternative in paragraph
     requirement effectively applies starting                 non-flare control device meeting the                  (e)(5)(i)(C) of this section, the owner or
     with the 15-minute block that includes                   requirements specified in § 63.982(c)(2)              operator must determine mass of VOC
     a full 15 minutes of the flaring event.                  of subpart SS, until one of the following             in the equipment served by the
     The owner or operator is required to                     conditions, as applicable, is met.                    maintenance vent based on the
     demonstrate compliance with the                             (A) The vapor in the equipment                     equipment size and contents after
     velocity and NHVcz requirements                          served by the maintenance vent has a                  considering any contents drained or
     starting with the block that contains the                lower explosive limit (LEL) of less than              purged from the equipment. Equipment
     fifteenth minute of a flaring event. The                 10 percent.                                           size may be determined from equipment
     owner or operator is not required to                        (B) If there is no ability to measure the          design specifications. Equipment
     demonstrate compliance for the                           LEL of the vapor in the equipment based               contents may be determined using
     previous 15-minute block in which the                    on the design of the equipment, the                   process knowledge.
     event started and contained only a                       pressure in the equipment served by the                  (6) Bypass lines. Beginning on the
     fraction of flow.                                        maintenance vent is reduced to 5                      compliance dates specified in
        (xiv) In lieu of meeting the                          pounds per square inch gauge (psig) or                § 63.1102(c), the use of a bypass line at
     requirements in §§ 63.670 and 63.671 of                  less. Upon opening the maintenance                    any time on a closed vent system to
     subpart CC, an owner or operator may                     vent, active purging of the equipment                 divert emissions subject to the
     submit a request to the Administrator                    cannot be used until the LEL of the                   requirements in Table 7 to § 63.1103(e)
     for approval of an alternative test                      vapors in the maintenance vent (or                    to the atmosphere or to a control device
     method in accordance with § 63.7(f).                     inside the equipment if the maintenance               not meeting the requirements specified
     The alternative test method must be able                 is a hatch or similar type of opening) is             in Table 7 of this subpart is an
     to demonstrate on an ongoing basis at                    less than 10 percent.                                 emissions standards violation. If the
     least once every 15-minutes that the                        (C) The equipment served by the                    owner or operator is subject to the
     flare meets 96.5% combustion efficiency                  maintenance vent contains less than 50                bypass monitoring requirements of
     and provide a description of the                         pounds of total volatile organic                      § 63.983(a)(3) of subpart SS, then the
     alternative recordkeeping and reporting                  compounds (VOC).                                      owner or operator must continue to
     that would be associated with the                           (D) If, after applying best practices to           comply with the requirements in
                                                                                                                                                                  ER06JY20.001</GPH>




     alternative test method. The alternative                 isolate and purge equipment served by                 § 63.983(a)(3) of subpart SS and the
     test method request may also include a                   a maintenance vent, none of the                       recordkeeping and reporting
     request to use the alternative test                      applicable criterion in paragraphs                    requirements in §§ 63.998(d)(1)(ii) and
     method in lieu of the pilot or flare flame               (e)(5)(i)(A) through (C) of this section              63.999(c)(2) of subpart SS, in addition to
     monitoring requirements of 63.670(g).                    can be met prior to installing or                     paragraph (e)(9) of this section, the
                                                                                                                                                                  ER06JY20.000</GPH>




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     recordkeeping requirements specified in                  burner out of service, replacing the                  normal operations, inject materials into
     § 63.1109(g), and the reporting                          burner, adjusting the alignment of the                the steam or feed to reduce coke
     requirements specified in                                burner, adjusting burner configuration,               formation inside the radiant tube(s)
     § 63.1110(e)(6). For purposes of                         making burner air corrections, repairing              during normal operation.
     compliance with this paragraph, the                      a malfunction of the fuel liquid removal                 (8) Ethylene cracking furnace
     phrase ‘‘Except for equipment needed                     equipment, or adding insulation around                isolation valve inspections. Beginning
     for safety purposes such as pressure                     the radiant tube(s).                                  no later than the compliance dates
     relief devices, low leg drains, high point                  (A) If a shutdown for repair would                 specified in § 63.1102(c), the owner or
     bleeds, analyzer vents, and open-ended                   cause greater emissions than the                      operator must conduct ethylene
     valves or lines’’ in § 63.983(a)(3) does                 potential emissions from delaying                     cracking furnace isolation valve
     not apply; instead, the exemptions                       repair, repair must be completed                      inspections as specified in paragraphs
     specified in paragraph (e)(6)(i) and (ii)                following the next planned decoking                   (e)(8)(i) and (ii) of this section.
     of this section apply.                                   operation (and before returning the
                                                                                                                       (i) Prior to decoking operation,
        (i) Except for pressure relief devices                ethylene cracking furnace back to
                                                                                                                    inspect the applicable ethylene cracking
     subject to 40 CFR 63.1107(h)(4),                         normal operations) or during the next
                                                                                                                    furnace isolation valve(s) to confirm that
     equipment such as low leg drains and                     ethylene cracking furnace complete
                                                                                                                    the radiant tube(s) being decoked is
     equipment subject to the requirements                    shutdown (when the ethylene cracking
                                                                                                                    completely isolated from the ethylene
     specified in paragraph (f) of Table 7 to                 furnace firebox is taken completely off-
                                                                                                                    production process so that no emissions
     § 63.1103(e) are not subject to this                     line), whichever is earlier.
     paragraph (e)(6) of this section.                           (B) If a shutdown for repair would                 generated from decoking operations are
        (ii) Open-ended valves or lines that                  cause lower emissions than the                        sent to the ethylene production process.
     use a cap, blind flange, plug, or second                 potential emissions from delaying                     If poor isolation is identified, then the
     valve and follow the requirements                        repair, then shutdown of the ethylene                 owner or operator must rectify the
     specified in § 60.482–6(a)(2), (b), and (c)              cracking furnace must immediately                     isolation issue prior to continuing
     or follow requirements codified in                       commence and the repair must be                       decoking operations to prevent leaks
     another regulation that are the same as                  completed before returning the ethylene               into the ethylene production process.
     § 60.482–6(a)(2), (b), and (c) are not                   cracking furnace back to normal                          (ii) Prior to returning the ethylene
     subject to this paragraph (e)(6) of this                 operations.                                           cracking furnace to normal operations
     section.                                                    (ii) During decoking operations,                   after a decoking operation, inspect the
        (7) Decoking operation standards for                  beginning before the expected end of the              applicable ethylene cracking furnace
     ethylene cracking furnaces. Beginning                    air-in decoke time, continuously                      isolation valve(s) to confirm that the
     no later than the compliance dates                       monitor (or use a gas detection tube or               radiant tube(s) that was decoked is
     specified in § 63.1102(c), the owner or                  equivalent sample technique every three               completely isolated from the decoking
     operator must comply with paragraph                      hours to monitor) the CO2 concentration               pot or furnace firebox such that no
     (e)(7)(i) of this section and also use at                in the combined decoke effluent                       emissions are sent from the radiant
     least two of the control measures                        downstream of the last component being                tube(s) to the decoking pot or furnace
     specified in paragraphs (e)(7)(ii) through               decoked for an indication that the coke               firebox once the ethylene cracking
     (v) of this section to minimize coke                     combustion in the ethylene cracking                   furnace returns to normal operation. If
     combustion emissions from the                            furnace radiant tube(s) is complete. The              poor isolation is identified, then the
     decoking of the radiant tube(s) in each                  owner or operator must immediately                    owner or operator must rectify the
     ethylene cracking furnace.                               initiate procedures to stop the coke                  isolation issue prior to continuing
        (i) During normal operations, conduct                 combustion once the CO2 concentration                 normal operations to prevent product
     daily inspections of the firebox burners                 at the outlet consistently reaches a level            from escaping to the atmosphere
     and repair all burners that are impinging                that indicates combustion of coke is                  through the decoking pot or furnace
     on the radiant tube(s) as soon as                        complete and site decoke completion                   firebox.
     practical, but not later than 1 calendar                 assurance procedures have been                           (9) Startup, shutdown, and
     day after the flame impingement is                       concluded.                                            malfunction referenced provisions.
     found. The owner or operator may delay                      (iii) During decoking operations,                  Beginning no later than the compliance
     burner repair beyond 1 calendar day                      continuously monitor the temperature at               dates specified in § 63.1102(c), the
     using the procedures specified in                        the radiant tube(s) outlet when air is                referenced provisions specified in
     paragraphs (e)(7)(i)(A) and (B) of this                  being introduced to ensure the coke                   paragraphs (e)(9)(i) through (xx) of this
     section provided the repair cannot be                    combustion occurring inside the radiant               section do not apply when
     completed during normal operations,                      tube(s) is not so aggressive (i.e., too hot)          demonstrating compliance with
     the burner cannot be shutdown without                    that it damages either the radiant tube(s)            paragraph (e)(3) of this section.
     significantly impacting the furnace heat                 or ethylene cracking furnace isolation                   (i) The second sentence of
     distribution and firing rate, and action                 valve(s). The owner or operator must                  § 63.181(d)(5)(i) of subpart H.
     is taken to reduce flame impingement as                  immediately initiate procedures to
     much as possible during continued                                                                                 (ii) The second sentence of
                                                              reduce the temperature at the radiant
     operation. An inspection may include,                                                                          § 63.983(a)(5) of subpart SS.
                                                              tube(s) outlet once the temperature
     but is not limited to: visual inspection                 reaches a level that indicates                           (iii) The phrase ‘‘except during
     of the radiant tube(s) for localized bright              combustion of coke inside the radiant                 periods of start-up, shutdown and
     spots (this may be confirmed with a                      tube(s) is too aggressive.                            malfunction as specified in the
     temperature gun), use of luminescent                        (iv) After decoking, but before                    referencing subpart’’ in § 63.984(a) of
     powders injected into the burner to                      returning the ethylene cracking furnace               subpart SS.
     illuminate the flame pattern, or                         back to normal operations, verify that                   (iv) The phrase ‘‘except during
     identifying continued localized coke                     decoke air is no longer being added.                  periods of start-up, shutdown and
     build-up that causes short runtimes                         (v) After decoking, but before                     malfunction as specified in the
     between decoking cycles. A repair may                    returning the ethylene cracking furnace               referencing subpart’’ in § 63.985(a) of
     include, but is not limited to: Taking the               back to normal operations and/or during               subpart SS.


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        (v) The phrase ‘‘other than start-ups,                     (xvii) The phrase ‘‘may be included as               maintenance according to
     shutdowns, or malfunctions’’ in                            part of the startup, shutdown, and                      manufacturer’s specifications.
     § 63.994(c)(1)(ii)(D) of subpart SS.                       malfunction plan, as required by the                      (i) Remove liquids from the storage
        (vi) Section 63.996(c)(2)(ii) of subpart                referencing subpart for the source, or’’                vessel as much as practicable;
     SS.                                                        from § 63.1024(f)(4)(i) of subpart UU.                    (ii) Comply with one of the following:
        (vii) The last sentence of                                 (xviii) The phrase ‘‘(except periods of                (A) Reduce emissions of total organic
     § 63.997(e)(1)(i) of subpart SS.                           startup, shutdown, or malfunction)’’                    HAP by 98 weight-percent by venting
        (viii) Section 63.998(b)(2)(iii) of                     from § 63.1026(e)(1)(ii)(A) of subpart                  emissions through a closed vent system
     subpart SS.                                                UU.                                                     to a flare and meet the requirements of
        (ix) The phrase ‘‘other than periods of                    (xix) The phrase ‘‘(except periods of                § 63.983 and paragraphs (e)(4) and (9) of
     startups, shutdowns, and malfunctions’’                    startup, shutdown, or malfunction)’’                    this section.
     from § 63.998(b)(5)(i)(A) of subpart SS.                   from § 63.1028(e)(1)(i)(A) of subpart UU.                 (B) Reduce emissions of total organic
        (x) The phrase ‘‘other than a start-up,                    (xx) The phrase ‘‘(except periods of                 HAP by 98 weight-percent by venting
     shutdown, or malfunction’’ from                            startup, shutdown, or malfunction)’’                    emissions through a closed vent system
     § 63.998(b)(5)(i)(B)(3) of subpart SS.                     from § 63.1031(b)(1) of subpart UU.                     to any combination of non-flare control
        (xi) The phrase ‘‘other than periods of                    (10) Storage vessel degassing.                       devices and meet the requirements
     startups, shutdowns, and malfunctions’’                    Beginning no later than the compliance                  specified in § 63.982(c)(1) and
     from § 63.998(b)(5)(i)(C) of subpart SS.                   dates specified in § 63.1102(c), for each               paragraph (e)(9) of this section.
        (xii) The phrase ‘‘other than a start-                  storage vessel subject to paragraph (b) or                (C) Reduce emissions of total organic
     up, shutdown, or malfunction’’ from                        (c) of Table 7 to § 63.1103(e), the owner               HAP by 98 weight-percent by routing
     § 63.998(b)(5)(ii)(C) of subpart SS.                       or operator must comply with                            emissions to a fuel gas system or process
        (xiii) The phrase ‘‘except as provided                  paragraphs (e)(10)(i) through (iii) of this             and meet the requirements specified in
     in paragraphs (b)(6)(i)(A) and (B) of this                 section during storage vessel shutdown                  § 63.982(d) and paragraph (e)(9) of this
     section’’ from § 63.998(b)(6)(i) of subpart                operations (i.e., emptying and degassing                section.
     SS.                                                        of a storage vessel) until the vapor space                (iii) Maintain records necessary to
        (xiv) The second sentence of                            concentration in the storage vessel is                  demonstrate compliance with the
     § 63.998(b)(6)(ii) of subpart SS.                          less than 10 percent of the LEL. The                    requirements in § 63.1108(a)(4)(ii)
        (xv) Section 63.998(c)(1)(ii)(D)                        owner or operator must determine the                    including, if appropriate, records of
     through (G) of subpart SS.                                 LEL using process instrumentation or                    existing standard site procedures used
        (xvi) Section 63.998(d)(3) of subpart                   portable measurement devices and                        to empty and degas (deinventory)
     SS.                                                        follow procedures for calibration and                   equipment for safety purposes.

      TABLE 7 TO § 63.1103(E)—WHAT ARE MY REQUIREMENTS IF I OWN OR OPERATE AN ETHYLENE PRODUCTION EXISTING
                                           OR NEW AFFECTED SOURCE?

     If you own or operate . . .                        And if . . .                                                Then you must . . .

     (a) A storage vessel (as defined in                (1) The maximum true vapor pressure of total or-            (i) Fill the vessel through a submerged pipe; or
       § 63.1101) that stores liquid con-                 ganic HAP is ≥3.4 kilopascals but <76.6                   (ii) Comply with the requirements for storage ves-
       taining organic HAP.                               kilopascals; and the capacity of the vessel is ≥4             sels with capacities ≥95 cubic meters.
                                                          cubic meters but <95 cubic meters.
     (b) A storage vessel (as defined in                (1) The maximum true vapor pressure of total or-            (i) Except as specified in paragraph (b)(1)(iii) of
       § 63.1101) that stores liquid con-                 ganic HAP is ≥3.4 kilopascals but <76.6                       this table, comply with the requirements of sub-
       taining organic HAP.                               kilopascals; and the capacity of the vessel is                part WW of this part; or
                                                          ≥95 cubic meters.                                         (ii) Except as specified in paragraph (b)(1)(iii) of
                                                                                                                        this table, reduce emissions of total organic
                                                                                                                        HAP by 98 weight-percent by venting emissions
                                                                                                                        through a closed vent system to any combina-
                                                                                                                        tion of control devices and meet the require-
                                                                                                                        ments of § 63.982(a)(1).
                                                                                                                    (iii) Beginning no later than the compliance dates
                                                                                                                        specified in § 63.1102(c), comply with paragraph
                                                                                                                        (b)(1)(iii)(A), (B), (C), or (D) of this table, and
                                                                                                                        (e)(10) of this section.
                                                                                                                    (A) Comply with the requirements of subpart WW
                                                                                                                        of this part; or
                                                                                                                    (B) Reduce emissions of total organic HAP by 98
                                                                                                                        weight-percent by venting emissions through a
                                                                                                                        closed vent system to a flare and meet the re-
                                                                                                                        quirements of § 63.983 and paragraphs (e)(4)
                                                                                                                        and (9) of this section; or
                                                                                                                    (C) Reduce emissions of total organic HAP by 98
                                                                                                                        weight-percent by venting emissions through a
                                                                                                                        closed vent system to any combination of non-
                                                                                                                        flare control devices and meet the requirements
                                                                                                                        specified in § 63.982(c)(1) and (e)(9) of this sec-
                                                                                                                        tion; or
                                                                                                                    (D) Reduce emissions of total organic HAP by 98
                                                                                                                        weight-percent by routing emissions to a fuel
                                                                                                                        gas system(a) or process and meet the require-
                                                                                                                        ments specified in § 63.982(d) and (e)(9) of this
                                                                                                                        section.



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      TABLE 7 TO § 63.1103(E)—WHAT ARE MY REQUIREMENTS IF I OWN OR OPERATE AN ETHYLENE PRODUCTION EXISTING
                                      OR NEW AFFECTED SOURCE?—Continued

     If you own or operate . . .                        And if . . .                                                Then you must . . .

     (c) A storage vessel (as defined in                (1) The maximum true vapor pressure of total or-            (i) Except as specified in paragraph (c)(1)(ii) of
        § 63.1101) that stores liquid con-                ganic HAP is ≥76.6 kilopascals.                               this table, reduce emissions of total organic
        taining organic HAP.                                                                                            HAP by 98 weight-percent by venting emissions
                                                                                                                        through a closed vent system to any combina-
                                                                                                                        tion of control devices and meet the require-
                                                                                                                        ments of § 63.982(a)(1).
                                                                                                                    (ii) Beginning no later than the compliance dates
                                                                                                                        specified in § 63.1102(c), comply with paragraph
                                                                                                                        (c)(1)(ii)(A), (B), or (C) of this table, and (e)(10)
                                                                                                                        of this section.
                                                                                                                    (A) Reduce emissions of total organic HAP by 98
                                                                                                                        weight-percent by venting emissions through a
                                                                                                                        closed vent system to a flare and meet the re-
                                                                                                                        quirements of § 63.983 and paragraphs (e)(4)
                                                                                                                        and (9) of this section; or
                                                                                                                    (B) Reduce emissions of total organic HAP by 98
                                                                                                                        weight-percent by venting emissions through a
                                                                                                                        closed vent system to any combination of non-
                                                                                                                        flare control devices and meet the requirements
                                                                                                                        specified in § 63.982(c)(1) and (e)(9) of this sec-
                                                                                                                        tion; or
                                                                                                                    (C) Reduce emissions of total organic HAP by 98
                                                                                                                        weight-percent by routing emissions to a fuel
                                                                                                                        gas system(a) or process and meet the require-
                                                                                                                        ments specified in § 63.982(d) and (e)(9) of this
                                                                                                                        section.
     (d) An ethylene process vent (as de-               (1) The process vent is at an existing source and           (i) Except as specified in paragraph (d)(1)(ii) of
       fined in paragraph (e)(2) of this sec-             the vent stream has a flow rate ≥0.011 scmm                   this table, reduce emissions of organic HAP by
       tion).                                             and a total organic HAP concentration ≥50 parts               98 weight-percent; or reduce organic HAP or
                                                          per million by volume on a dry basis; or the                  TOC to a concentration of 20 parts per million
                                                          process vent is at a new source and the vent                  by volume on a dry basis corrected to 3% oxy-
                                                          stream has a flow rate ≥0.008 scmm and a total                gen; whichever is less stringent, by venting
                                                          organic HAP concentration ≥30 parts per million               emissions through a closed vent system to any
                                                          by volume on a dry basis.                                     combination of control devices and meet the re-
                                                                                                                        quirements specified in § 63.982(b) and (c)(2).
                                                                                                                    (ii) Beginning no later than the compliance dates
                                                                                                                        specified in § 63.1102(c), comply with the main-
                                                                                                                        tenance vent requirements specified in para-
                                                                                                                        graph (e)(5) of this section and either paragraph
                                                                                                                        (d)(1)(ii)(A) or (B) of this table.
                                                                                                                    (A) Reduce emissions of organic HAP by 98
                                                                                                                        weight-percent; or reduce organic HAP or TOC
                                                                                                                        to a concentration of 20 parts per million by vol-
                                                                                                                        ume on a dry basis corrected to 3-percent oxy-
                                                                                                                        gen; whichever is less stringent, by venting
                                                                                                                        emissions through a closed vent system to a
                                                                                                                        flare and meet the requirements of § 63.983 and
                                                                                                                        paragraphs (e)(4) and (9) of this section; or
                                                                                                                    (B) Reduce emissions of organic HAP by 98
                                                                                                                        weight-percent; or reduce organic HAP or TOC
                                                                                                                        to a concentration of 20 parts per million by vol-
                                                                                                                        ume on a dry basis corrected to 3-percent oxy-
                                                                                                                        gen; whichever is less stringent, by venting
                                                                                                                        emissions through a closed vent system to any
                                                                                                                        combination of non-flare control devices and
                                                                                                                        meet the requirements specified in
                                                                                                                        § 63.982(c)(2) and (e)(9) of this section.
     (e) A transfer rack (as defined in para-           (1) Materials loaded have a true vapor pressure of          (i) Reduce emissions of organic HAP by 98
       graph (e)(2) of this section).                     total organic HAP ≥3.4 kilopascals and ≥76                    weight-percent; or reduce organic HAP or TOC
                                                          cubic meters per day (averaged over any con-                  to a concentration of 20 parts per million by vol-
                                                          secutive 30-day period) of HAP-containing ma-                 ume on a dry basis corrected to 3-percent oxy-
                                                          terial is loaded.                                             gen; whichever is less stringent, by venting
                                                                                                                        emissions through a closed vent system to any
                                                                                                                        combination of control devices as specified in
                                                                                                                        § 63.1105 and meet the requirements specified
                                                                                                                        in paragraph (e)(9) of this section.; or




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      TABLE 7 TO § 63.1103(E)—WHAT ARE MY REQUIREMENTS IF I OWN OR OPERATE AN ETHYLENE PRODUCTION EXISTING
                                      OR NEW AFFECTED SOURCE?—Continued

     If you own or operate . . .                        And if . . .                                                                         Then you must . . .

                                                                                                                                             (ii) Install process piping designed to collect the
                                                                                                                                                 HAP-containing vapors displaced from tank
                                                                                                                                                 trucks or railcars during loading and to route it
                                                                                                                                                 to a process, a fuel gas system, or a vapor bal-
                                                                                                                                                 ance system, as specified in § 63.1105 and
                                                                                                                                                 meet the requirements specified in paragraph
                                                                                                                                                 (e)(9) of this section.(a)
     (f) Equipment (as defined in § 63.1101)            (1) The equipment contains or contacts ≥5 weight-                                    (i) Except as specified in paragraph (f)(1)(ii) of this
        that contains or contacts organic                 percent organic HAP; and the equipment is not                                          table, comply with the requirements of subpart
        HAP.                                              in vacuum service.                                                                     UU of this part.
                                                                                                                                             (ii) Beginning no later than the compliance dates
                                                                                                                                                 specified in § 63.1102(c), comply with the re-
                                                                                                                                                 quirements of paragraph (e)(9) of this section
                                                                                                                                                 and subpart UU of this part, except instead of
                                                                                                                                                 complying with the pressure relief device re-
                                                                                                                                                 quirements of § 63.1030 of subpart UU, meet
                                                                                                                                                 the requirements of § 63.1107(h), and in lieu of
                                                                                                                                                 the flare requirement of § 63.1034(b)(2)(iii), com-
                                                                                                                                                 ply with the requirements specified in paragraph
                                                                                                                                                 (e)(4) of this section.(a)
     (g) Processes that generate waste (as              (1) The waste stream contains any of the following                                   Comply with the waste requirements of subpart
       defined in paragraph (e)(2) of this                  HAP: Benzene, cumene, ethyl benzene,                                                 XX of this part. For ethylene production unit
       section.                                             hexane, naphthalene, styrene, toluene, o-xy-                                         waste stream requirements, terms have the
                                                            lene, m-xylene, p-xylene, or 1,3-butadiene.                                          meanings specified in subpart XX.
     (h) A heat exchange system (as de-                 ..................................................................................   Comply with the heat exchange system require-
        fined in § 63.1082(b)).                                                                                                                  ments of subpart XX of this part.
     (i) A closed vent system that contains             (1) The bypass line could divert a vent stream di-                                   Beginning no later than the compliance dates
        one or more bypass lines.                         rectly to the atmosphere or to a control device                                        specified in § 63.1102(c), comply with the re-
                                                          not meeting the requirements in this table.                                            quirements specified in paragraphs (e)(6) and
                                                                                                                                                 (9) of this section.
     (j) A decoking operation associated                ..................................................................................   Beginning no later than the compliance dates
        with an ethylene cracking furnace.                                                                                                       specified in § 63.1102(c), comply with the re-
                                                                                                                                                 quirements specified in paragraphs (e)(7) and
                                                                                                                                                 (8) of this section.
       (a) Beginning no later than the compliance dates specified in § 63.1102(c), any flare using fuel gas from a fuel gas system, of which 50 percent
     or more of the fuel gas is derived from an ethylene production unit as determined on an annual average basis, must be in compliance with para-
     graph (e)(4) of this section.


     *      *     *       *       *                                 operations during periods of                                                 source, then the owner or operator must
     ■ 20. Section 63.1104 is amended by                            malfunction shall not constitute                                             comply with the requirements specified
     revising paragraph (c) to read as follows:                     representative conditions for the                                            in § 63.1103(e)(4) instead of the
                                                                    purpose of an applicability test. For all                                    requirements in § 63.987 and the
     § 63.1104 Process vents from continuous                        other affected sources, operations                                           provisions regarding flare compliance
     unit operations: applicability assessment                      during periods of startup, shutdown,                                         assessments at § 63.997(a) through (c).
     procedures and methods.
                                                                    and malfunction shall not constitute                                         *     *    *     *     *
     *      *    *     *     *                                      representative conditions for the                                            ■ 22. Section 63.1107 is amended by
        (c) Applicability assessment                                purpose of an applicability test.                                            revising paragraph (a) and adding
     requirement. The TOC or organic HAP                            *     *     *    *     *                                                     paragraph (h) to read as follows:
     concentrations, process vent volumetric                        ■ 21. Section 63.1105 is amended by
     flow rates, process vent heating values,                       revising paragraph (a) introductory text                                     § 63.1107    Equipment leaks.
     process vent TOC or organic HAP                                and adding paragraph (a)(5) to read as                                          (a) Each piece of equipment within a
     emission rates, halogenated process vent                       follows:                                                                     process unit that can reasonably be
     determinations, process vent TRE index                                                                                                      expected to contain equipment in
     values, and engineering assessments for                        § 63.1105          Transfer racks.                                           organic HAP service is presumed to be
     process vent control applicability                                (a) Design requirements. Except as                                        in organic HAP service unless an owner
     assessment requirements are to be                              specified in paragraph (a)(5) of this                                        or operator demonstrates that the piece
     determined during maximum                                      section, the owner or operator shall                                         of equipment is not in organic HAP
     representative operating conditions for                        equip each transfer rack with one of the                                     service. For a piece of equipment to be
     the process, except as provided in                             control options listed in paragraphs                                         considered not in organic HAP service,
     paragraph (d) of this section, or unless                       (a)(1) through (5) of this section.                                          it must be determined that the percent
     the Administrator specifies or approves                        *      *    *     *     *                                                    organic HAP content can be reasonably
     alternate operating conditions. For                               (5) Beginning no later than the                                           expected not to exceed the percent by
     acrylic and modacrylic fiber production                        compliance dates specified in                                                weight control applicability criteria
     affected sources, polycarbonate                                § 63.1102(c), if emissions are vented                                        specified in § 63.1103 for an affected
     production affected sources, and                               through a closed vent system to a flare                                      source on an annual average basis. For
     ethylene production affected sources,                          at an ethylene production affected                                           purposes of determining the percent


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     organic HAP content of the process fluid                 pressure relief device is operating with                 (C) Inherently safer designs or safety
     that is contained in or contacts                         an instrument reading of less than 500                instrumentation systems.
     equipment, Method 18 of 40 CFR part                      ppm.                                                     (D) Deluge systems.
     60, appendix A shall be used. For                           (ii) If the pressure relief device                    (E) Staged relief system where the
     purposes of determining the percent                      includes a rupture disk, either comply                initial pressure relief device (with lower
     organic HAP content of the process fluid                 with the requirements in paragraph                    set release pressure) discharges to a flare
     that is contained in or contacts                         (h)(2)(i) of this section (and do not                 or other closed vent system and control
     equipment for the ethylene production                    replace the rupture disk) or install a                device.
     affected sources, the following methods                  replacement disk as soon as practicable                  (iii) If any affected pressure relief
     shall be used for equipment: For                         after a pressure release, but no later than           device releases to atmosphere as a result
     equipment in gas and vapor service, as                   5 calendar days after the pressure                    of a pressure release event, the owner or
     that term is defined in Subpart UU of                    release.                                              operator must perform root cause
     this part, shall use Method 18 of 40 CFR                    (iii) If the pressure relief device                analysis and corrective action analysis
     part 60, appendix A; for equipment in                    consists only of a rupture disk, install a            according to the requirement in
     liquid service, as that term is defined in               replacement disk as soon as practicable               paragraph (h)(6) of this section and
     Subpart UU of this part, shall use a                     after a pressure release, but no later than           implement corrective actions according
     combination of Method 18 of 40 CFR                       5 calendar days after the pressure                    to the requirements in paragraph (h)(7)
     part 60, appendix A, SW–846–8260B                        release. The owner or operator must not               of this section. The owner or operator
     (incorporated by reference, see § 63.14);                initiate startup of the equipment served              must also calculate the quantity of
     and SW–846–8270D (incorporated by                        by the rupture disk until the rupture                 organic HAP released during each
     reference, see § 63.14), as appropriate.                 disc is replaced.                                     pressure release event and report this
                                                                 (3) Pressure release management.                   quantity as required in
     *       *     *    *     *
                                                              Except as specified in paragraphs (h)(4)              § 63.1110(e)(8)(iii). Calculations may be
        (h) Ethylene production pressure
                                                              and (5) of this section, the owner or                 based on data from the pressure relief
     release requirements. Beginning no later
                                                              operator must comply with the                         device monitoring alone or in
     than the compliance dates specified in
                                                              requirements specified in paragraphs                  combination with process parameter
     § 63.1102(c), except as specified in
                                                              (h)(3)(i) through (v) of this section for all         monitoring data and process knowledge.
     paragraph (h)(4) of this section, owners
                                                              pressure relief devices in organic HAP                   (iv) The owner or operator must
     or operators of ethylene production
                                                              service.                                              determine the total number of release
     affected sources must comply with the
                                                                 (i) The owner or operator must equip               events that occurred during the calendar
     requirements specified in paragraphs
                                                              each affected pressure relief device with             year for each affected pressure relief
     (h)(1) and (2) of this section for pressure
                                                              a device(s) or use a monitoring system                device separately. The owner or
     relief devices, such as relief valves or
                                                              that is capable of:                                   operator must also determine the total
     rupture disks, in organic HAP gas or
                                                                 (A) Identifying the pressure release;              number of release events for each
     vapor service instead of the pressure
                                                                 (B) Recording the time and duration                pressure relief device for which the root
     relief device requirements of § 63.1030
                                                              of each pressure release; and                         cause analysis concluded that the root
     of subpart UU or § 63.165 of subpart H.
                                                                                                                    cause was a force majeure event, as
     Beginning no later than the compliance                      (C) Notifying operators immediately
                                                                                                                    defined in § 63.1103(e)(2).
     dates specified in § 63.1102(c), except as               that a pressure release is occurring. The
                                                                                                                       (v) Except for pressure relief devices
     specified in paragraphs (h)(4) and (5) of                device or monitoring system must be
                                                                                                                    described in paragraphs (h)(4) and (5) of
     this section, the owner or operator must                 either specific to the pressure relief
                                                                                                                    this section, the following release events
     also comply with the requirements                        device itself or must be associated with
                                                                                                                    from an affected pressure relief device
     specified in paragraphs (h)(3) and (6)                   the process system or piping, sufficient
                                                                                                                    are a violation of the pressure release
     through (8) of this section for all                      to indicate a pressure release to the
                                                                                                                    management work practice standards.
     pressure relief devices.                                 atmosphere. Examples of these types of                   (A) Any release event for which the
        (1) Operating requirements. Except                    devices and systems include, but are not              root cause of the event was determined
     during a pressure release, operate each                  limited to, a rupture disk indicator,                 to be operator error or poor
     pressure relief device in organic HAP                    magnetic sensor, motion detector on the               maintenance.
     gas or vapor service with an instrument                  pressure relief valve stem, flow monitor,                (B) A second release event not
     reading of less than 500 ppm above                       or pressure monitor.                                  including force majeure events from a
     background as measured by the method                        (ii) The owner or operator must apply              single pressure relief device in a 3-
     in § 63.1023(b) of subpart UU or                         at least three redundant prevention                   calendar year period for the same root
     § 63.180(b) and (c) of subpart H.                        measures to each affected pressure relief             cause for the same equipment.
        (2) Pressure release requirements. For                device and document these measures.                      (C) A third release event not including
     pressure relief devices in organic HAP                   Examples of prevention measures                       force majeure events from a single
     gas or vapor service, the owner or                       include:                                              pressure relief device in a 3-calendar
     operator must comply with the                               (A) Flow, temperature, liquid level                year period for any reason.
     applicable requirements in paragraphs                    and pressure indicators with deadman                     (4) Pressure relief devices routed to a
     (h)(2)(i) through (iii) of this section                  switches, monitors, or automatic                      control device, process, fuel gas system,
     following a pressure release.                            actuators. Independent, non-duplicative               or drain system. (i) If all releases and
        (i) If the pressure relief device does                systems within this category count as                 potential leaks from a pressure relief
     not consist of or include a rupture disk,                separate redundant prevention                         device are routed through a closed vent
     conduct instrument monitoring, as                        measures.                                             system to a control device, back into the
     specified in § 63.1023(b) of subpart UU                     (B) Documented routine inspection                  process, a fuel gas system, or drain
     or § 63.180(b) and (c) of subpart H, no                  and maintenance programs and/or                       system, then the owner or operator is
     later than 5 calendar days after the                     operator training (maintenance                        not required to comply with paragraph
     pressure relief device returns to organic                programs and operator training may                    (h)(1), (2), or (3) of this section.
     HAP gas or vapor service following a                     count as only one redundant prevention                   (ii) Before the compliance dates
     pressure release to verify that the                      measure).                                             specified in § 63.1102(c), both the


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     closed vent system and control device                    equipment served, if the root cause is                owners or operators are prohibited from
     (if applicable) referenced in paragraph                  reasonably expected to be a force                     installing and operating flowing pilot-
     (h)(4)(i) of this section must meet the                  majeure event, as defined in                          operated pressure relief devices. For
     applicable requirements specified in                     § 63.1103(e)(2).                                      purpose of compliance with this
     § 63.982(b) and (c)(2). Beginning no later                  (iii) Except as provided in paragraphs             paragraph, a flowing pilot-operated
     than the compliance dates specified in                   (h)(6)(i) and (ii) of this section, if more           pressure relief device means the type of
     § 63.1102(c), both the closed vent                       than one pressure relief device has a                 pilot-operated pressure relief device
     system and control device (if applicable)                release during the same time period, an               where the pilot discharge vent
     referenced in paragraph (h)(4)(i) of this                initial root cause analysis must be                   continuously releases emissions to the
     section must meet the applicable                         conducted separately for each pressure                atmosphere when the pressure relief
     requirements specified in                                relief device that had a release. If the              device is actuated.
     §§ 63.982(c)(2), 63.983, and                             initial root cause analysis indicates that            ■ 23. Section 63.1108 is amended by
     63.1103(e)(4). For purposes of                           the release events have the same root                 revising paragraphs (a) introductory
     compliance with this paragraph, the                      cause(s), the initial separate root cause             text, (a)(4), (b)(1)(ii), (b)(2) introductory
     phrase ‘‘Except for equipment needed                     analyses may be recorded as a single                  text, (b)(3), (b)(4)(i) introductory text,
     for safety purposes such as pressure                     root cause analysis and a single                      and (b)(4)(ii)(B) to read as follows:
     relief devices’’ in § 63.983(a)(3) does not              corrective action analysis may be
                                                              conducted.                                            § 63.1108 Compliance with standards and
     apply.                                                                                                         operation and maintenance requirements.
        (iii) The drain system (if applicable)                   (7) Corrective action implementation.
                                                              Each owner or operator required to                      (a) Requirements. The requirements of
     referenced in paragraph (h)(4)(i) of this                                                                      paragraphs (a)(1), (2), and (5) of this
     section must meet the applicable                         conduct a root cause analysis and
                                                              corrective action analysis as specified in            section apply to all affected sources
     requirements specified in § 61.346 or                                                                          except acrylic and modacrylic fiber
     § 63.136.                                                paragraphs (h)(3)(iii) and (6) of this
                                                              section, must implement the corrective                production affected sources,
        (5) Pressure relief devices exempted
                                                              action(s) identified in the corrective                polycarbonate production affected
     from pressure release management
                                                              action analysis in accordance with the                sources, and beginning no later than the
     requirements. The following types of
                                                              applicable requirements in paragraphs                 compliance dates specified in
     pressure relief devices are not subject to
                                                              (h)(7)(i) through (iii) of this section.              § 63.1102(c), ethylene production
     the pressure release management                                                                                affected sources. The requirements of
     requirements in paragraph (h)(3) of this                    (i) All corrective action(s) must be
                                                              implemented within 45 days of the                     paragraph (a)(4) of this section apply
     section.                                                                                                       only to acrylic and modacrylic fiber
        (i) Pressure relief devices in heavy                  event for which the root cause and
                                                              corrective action analyses were required              production affected sources,
     liquid service, as defined in § 63.1020 of
                                                              or as soon thereafter as practicable. If an           polycarbonate production affected
     subpart UU.
        (ii) Thermal expansion relief valves.                 owner or operator concludes that no                   sources and beginning no later than the
        (iii) Pressure relief devices on mobile               corrective action should be                           compliance dates specified in
     equipment.                                               implemented, the owner or operator                    § 63.1102(c), ethylene production
        (iv) Pilot-operated pressure relief                   must record and explain the basis for                 affected sources. The requirements of
     devices where the primary release valve                  that conclusion no later than 45 days                 paragraphs (a)(3), (6), and (7) of this
     is routed through a closed vent system                   following the event.                                  section apply to all affected sources.
     to a control device or back into the                        (ii) For corrective actions that cannot            *       *     *    *      *
     process, a fuel gas system, or drain                     be fully implemented within 45 days                      (4)(i) For acrylic and modacrylic fiber
     system.                                                  following the event for which the root                production affected sources and
        (v) Balanced bellows pressure relief                  cause and corrective action analyses                  polycarbonate production affected
     devices where the primary release valve                  were required, the owner or operator                  sources, and beginning no later than the
     is routed through a closed vent system                   must develop an implementation                        compliance dates specified in
     to a control device or back into the                     schedule to complete the corrective                   § 63.1102(c), ethylene production
     process, a fuel gas system, or drain                     action(s) as soon as practicable.                     affected sources, the emission
     system.                                                     (iii) No later than 45 days following              limitations and established parameter
        (6) Root cause analysis and corrective                the event for which a root cause and                  ranges of this part shall apply at all
     action analysis. A root cause analysis                   corrective action analyses were                       times except during periods of non-
     and corrective action analysis must be                   required, the owner or operator must                  operation of the affected source (or
     completed as soon as possible, but no                    record the corrective action(s)                       specific portion thereof) resulting in
     later than 45 days after a release event.                completed to date, and, for action(s) not             cessation of the emissions to which this
     Special circumstances affecting the                      already completed, a schedule for                     subpart applies. Equipment leak
     number of root cause analyses and/or                     implementation, including proposed                    requirements shall apply at all times
     corrective action analyses are provided                  commencement and completion dates.                    except during periods of non-operation
     in paragraphs (h)(6)(i) through (iv) of                     (8) Flowing pilot-operated pressure                of the affected source (or specific
     this section.                                            relief devices. For ethylene production               portion thereof) in which the lines are
        (i) You may conduct a single root                     affected sources that commenced                       drained and depressurized resulting in
     cause analysis and corrective action                     construction or reconstruction on or                  cessation of the emissions to which the
     analysis for a single emergency event                    before October 9, 2019, owners or                     equipment leak requirements apply.
     that causes two or more pressure relief                  operators are prohibited from installing                 (ii) At all times, the owner or operator
     devices that are installed on the same                   a flowing pilot-operated pressure relief              must operate and maintain any affected
     equipment to release.                                    device or replacing any pressure relief               source, including associated air
        (ii) You may conduct a single root                    device with a flowing pilot-operated                  pollution control equipment and
     cause analysis and corrective action                     pressure relief device after July 6, 2023.            monitoring equipment, in a manner
     analysis for a single emergency event                    For ethylene production affected                      consistent with safety and good air
     that causes two or more pressure relief                  sources that commenced construction or                pollution control practices for
     devices to release, regardless of the                    reconstruction after October 9, 2019,                 minimizing emissions. The general duty


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     to minimize emissions does not require                   source, and alternatives approved as                  required in § 63.1103(e)(4)(vii)(D) for a
     the owner or operator to make any                        specified in § 63.1113.                               minimum of 2 years. Retain records of
     further efforts to reduce emissions if                      (4) * * *                                          each 15-minute block during which
     levels required by the applicable                           (i) Applicability assessments. Unless              there was at least one minute that no
     standard have been achieved.                             otherwise specified in a relevant test                pilot flame or flare flame is present
     Determination of whether a source is                     method required to assess control                     when regulated material is routed to a
     operating in compliance with operation                   applicability, each test shall consist of             flare for a minimum of 5 years. For each
     and maintenance requirements will be                     three separate runs using the applicable              pressure-assisted multi-point flare that
     based on information available to the                    test method. Each run shall be                        uses cross-lighting, retain records of
     Administrator that may include, but is                   conducted for the time and under the                  each 15-minute block during which
     not limited to, monitoring results,                      conditions specified in this subpart. The             there was at least one minute that no
     review of operation and maintenance                      arithmetic mean of the results of the                 pilot flame is present on each stage
     procedures, review of operation and                      three runs shall apply when assessing                 when regulated material is routed to a
     maintenance records, and inspection of                   applicability. Upon receiving approval                flare for a minimum of 5 years. You may
     the affected source.                                     from the Administrator, results of a test             reduce the collected minute-by-minute
     *       *   *     *       *                              run may be replaced with results of an                data to a 15-minute block basis with an
        (b) * * *                                             additional test run if it meets the criteria          indication of whether there was at least
        (1) * * *                                             specified in paragraphs (b)(4)(i)(A)                  one minute where no pilot flame or flare
        (ii) Excused excursions are not                       through (D) of this section.                          flame was present.
     allowed for acrylic and modacrylic fiber                                                                          (2) Retain records of daily visible
                                                              *       *   *      *    *
     production affected sources,                                                                                   emissions observations as specified in
                                                                 (ii) * * *
     polycarbonate production affected                                                                              paragraphs (e)(2)(i) through (iv) of this
                                                                 (B) For acrylic and modacrylic fiber
     sources, and beginning no later than the                                                                       section, as applicable, for a minimum of
                                                              production affected sources,
     compliance dates specified in                                                                                  3 years.
                                                              polycarbonate production affected                        (i) To determine when visible
     § 63.1102(c), ethylene production                        sources, and beginning no later than the              emissions observations are required, the
     affected sources. For all other affected                 compliance dates specified in                         record must identify all periods when
     sources, including ethylene production                   § 63.1102(c), ethylene production                     regulated material is vented to the flare.
     affected sources prior to the compliance                 affected sources, performance tests shall                (ii) If visible emissions observations
     dates specified in § 63.1102(c), an                      be conducted under such conditions as                 are performed using Method 22 of 40
     excused excursion, as described in                       the Administrator specifies to the owner              CFR part 60, appendix A–7, then the
     § 63.998(b)(6)(ii), is not a violation.                  or operator based on representative                   record must identify whether the visible
        (2) Parameter monitoring: Excursions.                 performance of the affected source for                emissions observation was performed,
     An excursion is not a violation in cases                 the period being tested. Representative               the results of each observation, total
     where continuous monitoring is                           conditions exclude periods of startup                 duration of observed visible emissions,
     required and the excursion does not                      and shutdown unless specified by the                  and whether it was a 5-minute or 2-hour
     count toward the number of excused                       Administrator or an applicable subpart.               observation. Record the date and start
     excursions (as described in                              The owner or operator may not conduct                 time of each visible emissions
     § 63.998(b)(6)(ii)), if the conditions of                performance tests during periods of                   observation.
     paragraph (b)(2)(i) or (ii) of this section              malfunction. The owner or operator                       (iii) If a video surveillance camera is
     are met, except that the conditions of                   must record the process information                   used pursuant to § 63.670(h)(2) of
     paragraph (b)(2)(i) of this section do not               that is necessary to document operating               subpart CC, then the record must
     apply for acrylic and modacrylic fiber                   conditions during the test and include                include all video surveillance images
     production affected sources,                             in such record an explanation to                      recorded, with time and date stamps.
     polycarbonate production affected                        support that such conditions represent                   (iv) For each 2-hour period for which
     sources, and beginning no later than the                 normal operation. Upon request, the                   visible emissions are observed for more
     compliance dates specified in                            owner or operator shall make available                than 5 minutes in 2 consecutive hours,
     § 63.1102(c), ethylene production                        to the Administrator such records as                  then the record must include the date
     affected sources. Nothing in this                        may be necessary to determine the                     and start and end time of the 2-hour
     paragraph shall be construed to allow or                 conditions of performance tests.                      period and an estimate of the
     excuse a monitoring parameter                            *       *   *      *    *                             cumulative number of minutes in the 2-
     excursion caused by any activity that                    ■ 24. Section 63.1109 is amended by                   hour period for which emissions were
     violates other applicable provisions of                  adding paragraphs (e) through (i) to read             visible.
     this subpart or a subpart referenced by                  as follows:                                              (3) The 15-minute block average
     this subpart.                                                                                                  cumulative flows for flare vent gas and,
     *       *   *     *       *                              § 63.1109    Recordkeeping requirements.              if applicable, total steam, perimeter
        (3) Operation and maintenance                         *     *     *     *     *                             assist air, and premix assist air specified
     procedures. Determination of whether                       (e) Ethylene production flare records.              to be monitored under § 63.670(i) of
     acceptable operation and maintenance                     For each flare subject to the                         subpart CC, along with the date and
     procedures are being used will be based                  requirements in § 63.1103(e)(4), owners               time interval for the 15-minute block. If
     on information available to the                          or operators must keep records specified              multiple monitoring locations are used
     Administrator. This information may                      in paragraphs (e)(1) through (15) of this             to determine cumulative vent gas flow,
     include, but is not limited to,                          section in lieu of the information                    total steam, perimeter assist air, and
     monitoring results, review of operation                  required in § 63.998(a)(1) of subpart SS.             premix assist air, then retain records of
     and maintenance procedures (including                      (1) Retain records of the output of the             the 15-minute block average flows for
     the startup, shutdown, and malfunction                   monitoring device used to detect the                  each monitoring location for a minimum
     plan under § 63.1111, if applicable),                    presence of a pilot flame or flare flame              of 2 years, and retain records of the 15-
     review of operation and maintenance                      as required in § 63.670(b) of subpart CC              minute block average cumulative flows
     records, and inspection of the affected                  and the presence of a pilot flame as                  that are used in subsequent calculations


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     for a minimum of 5 years. If pressure                    time and dates of periods of no                       the date of maintenance vent opening,
     and temperature monitoring is used,                      regulated material flow.                              the pressure of the vessel or equipment
     then retain records of the 15-minute                        (12) Records when the flow of vent                 at the time of discharge to the
     block average temperature, pressure,                     gas exceeds the smokeless capacity of                 atmosphere and, if applicable, the LEL
     and molecular weight of the flare vent                   the flare, including start and stop time              of the vapors in the equipment when
     gas or assist gas stream for each                        and dates of the flaring event.                       active purging was initiated.
     measurement location used to                                (13) Records of the root cause analysis               (4) If complying with the
     determine the 15-minute block average                    and corrective action analysis                        requirements of § 63.1103(e)(5)(i)(C),
     cumulative flows for a minimum of 2                      conducted as required in § 63.670(o)(3)               records of the estimating procedures
     years, and retain records of the 15-                     of subpart CC and § 63.1103(e)(4)(iv),                used to determine the total quantity of
     minute block average cumulative flows                    including an identification of the                    VOC in equipment and the type and size
     that are used in subsequent calculations                 affected flare, the date and duration of              limits of equipment that contain less
     for a minimum of 5 years.                                the event, a statement noting whether                 than 50 pounds of VOC at the time of
        (4) The flare vent gas compositions                   the event resulted from the same root                 maintenance vent opening. For each
     specified to be monitored under                          cause(s) identified in a previous                     maintenance vent opening of equipment
     § 63.670(j) of subpart CC. Retain records                analysis and either a description of the              that contains greater than 50 pounds of
     of individual component concentrations                   recommended corrective action(s) or an                VOC for which the deinventory
     from each compositional analysis for a                   explanation of why corrective action is               procedures specified in paragraph (f)(1)
     minimum of 2 years. If an NHVvg                          not necessary under § 63.670(o)(5)(i) of              of this section are not followed or for
     analyzer is used, retain records of the                  subpart CC.                                           which the equipment opened exceeds
     15-minute block average values for a                        (14) For any corrective action analysis            the type and size limits established in
     minimum of 5 years.                                      for which implementation of corrective                the records specified in this paragraph,
        (5) Each 15-minute block average                      actions are required in § 63.670(o)(5) of             records that identify the maintenance
     operating parameter calculated                           subpart CC, a description of the                      vent, the process units or equipment
     following the methods specified in                       corrective action(s) completed within                 associated with the maintenance vent,
     § 63.670(k) through (n) of subpart CC, as                the first 45 days following the discharge             the date of maintenance vent opening,
     applicable.                                              and, for action(s) not already completed,             and records used to estimate the total
        (6) All periods during which                          a schedule for implementation,                        quantity of VOC in the equipment at the
     operating values are outside of the                      including proposed commencement and                   time the maintenance vent was opened
     applicable operating limits specified in                 completion dates.                                     to the atmosphere.
     § 63.670(d) through (f) of subpart CC                       (15) Records described in                             (5) If complying with the
     and § 63.1103(e)(4)(vii) when regulated                  § 63.10(b)(2)(vi).                                    requirements of § 63.1103(e)(5)(i)(D),
     material is being routed to the flare.                      (f) Ethylene production maintenance                identification of the maintenance vent,
        (7) All periods during which the                      vent records. For each maintenance vent               the process units or equipment
     owner or operator does not perform flare                 opening subject to the requirements in                associated with the maintenance vent,
     monitoring according to the procedures                   § 63.1103(e)(5), the owner or operator                records documenting actions taken to
     in § 63.670(g) through (j) of subpart CC.                must keep the applicable records                      comply with other applicable
        (8) For pressure-assisted multi-point                 specified in (f)(1) through (5) of this               alternatives and why utilization of this
     flares, if a stage of burners on the flare               section.                                              alternative was required, the date of
     uses cross-lighting, then a record of any                   (1) The owner or operator must                     maintenance vent opening, the
     changes made to the distance between                     maintain standard site procedures used                equipment pressure and LEL of the
     burners.                                                 to deinventory equipment for safety                   vapors in the equipment at the time of
        (9) For pressure-assisted multi-point                 purposes (e.g., hot work or vessel entry              discharge, an indication of whether
     flares, all periods when the pressure                    procedures) to document the procedures                active purging was performed and the
     monitor(s) on the main flare header                      used to meet the requirements in                      pressure of the equipment during the
     show burners are operating outside the                   § 63.1103(e)(5). The current copy of the              installation or removal of the blind if
     range of the manufacturer’s                              procedures must be retained and                       active purging was used, the duration
     specifications. Indicate the date and                    available on-site at all times. Previous              the maintenance vent was open during
     time for each period, the pressure                       versions of the standard site procedures,             the blind installation or removal
     measurement, the stage(s) and number                     as applicable, must be retained for 5                 process, and records used to estimate
     of burners affected, and the range of                    years.                                                the total quantity of VOC in the
     manufacturer’s specifications.                              (2) If complying with the                          equipment at the time the maintenance
        (10) For pressure-assisted multi-point                requirements of § 63.1103(e)(5)(i)(A) and             vent was opened to the atmosphere for
     flares, all periods when the staging                     the LEL at the time of the vessel opening             each applicable maintenance vent
     valve position indicator monitoring                      exceeds 10 percent, records that identify             opening.
     system indicates a stage of the pressure-                the maintenance vent, the process units                  (g) Ethylene production bypass line
     assisted multi-point flare should not be                 or equipment associated with the                      records. For each flow event from a
     in operation and when a stage of the                     maintenance vent, the date of                         bypass line subject to the requirements
     pressure-assisted multi-point flare                      maintenance vent opening, and the LEL                 in § 63.1103(e)(6), the owner or operator
     should be in operation and is not.                       at the time of the vessel opening.                    must maintain records sufficient to
     Indicate the date and time for each                         (3) If complying with the                          determine whether or not the detected
     period, whether the stage was supposed                   requirements of § 63.1103(e)(5)(i)(B) and             flow included flow requiring control.
     to be open, but was closed or vice versa,                either the vessel pressure at the time of             For each flow event from a bypass line
     and the stage(s) and number of burners                   the vessel opening exceeds 5 psig or the              requiring control that is released either
     affected.                                                LEL at the time of the active purging                 directly to the atmosphere or to a
        (11) Records of periods when there is                 was initiated exceeds 10 percent,                     control device not meeting the
     flow of vent gas to the flare, but when                  records that identify the maintenance                 requirements specified in Table 7 to
     there is no flow of regulated material to                vent, the process units or equipment                  § 63.1103(e), the owner or operator must
     the flare, including the start and stop                  associated with the maintenance vent,                 include an estimate of the volume of


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     gas, the concentration of organic HAP in                 kept that document that the planned                   ■ d. Adding paragraphs (d)(1)(iv) and
     the gas and the resulting emissions of                   treatment occurred.                                   (v);
     organic HAP that bypassed the control                       (6) For each decoking operation of an              ■ e. Revising paragraph (e)(1);
     device using process knowledge and                       ethylene cracking furnace subject to the              ■ f. Adding paragraphs (e)(4) through
     engineering estimates.                                   requirements in § 63.1103(e)(8), the                  (8); and
        (h) Decoking operation of ethylene                    owner or operator must keep records                   ■ g. Revising paragraphs (g)(1) and (2).
     cracking furnace records. For each                       that document the day each inspection                   The revisions and additions read as
     decoking operation of an ethylene                        took place and the results of each                    follows:
     cracking furnace subject to the                          inspection where an isolation problem
     standards in § 63.1103(e)(7) and (8), the                                                                      § 63.1110    Reporting requirements.
                                                              was identified including any repairs
     owner or operator must keep the records                  made to correct the problem.                             (a) Required reports. Each owner or
     specified in paragraphs (h)(1) through                      (i) Ethylene production pressure relief            operator of an affected source subject to
     (6) of this section.                                     devices records. For each pressure relief             this subpart shall submit the reports
        (1) Records that document the day                     device subject to the pressure release                listed in paragraphs (a)(1) through (8) of
     and time each inspection specified in                    management work practice standards in                 this section, as applicable. Each owner
     § 63.1103(e)(7)(i) took place, the results               § 63.1107(h)(3), the owner or operator                or operator of an acrylic and modacrylic
     of each inspection, and any repairs                      must keep the records specified in                    fiber production affected source or
     made to correct the flame impingement;                   paragraphs (i)(1) through (3) of this                 polycarbonate production affected
     and for any repair that is delayed                       section.                                              source subject to this subpart shall also
     beyond 1 calendar day, the records                          (1) Records of the prevention                      submit the reports listed in paragraph
     specified in paragraphs (h)(1)(i) through                measures implemented as required in                   (a)(9) of this section in addition to the
     (iii) of this section.                                   § 63.1107(h)(3)(ii).                                  reports listed in paragraphs (a)(1)
        (i) The reason for the delay.                            (2) Records of the number of releases              through (8) of this section, as applicable.
        (ii) An estimate of the emissions from                during each calendar year and the                     Beginning no later than the compliance
     shutdown for repair and an estimate of                   number of those releases for which the                dates specified in § 63.1102(c), each
     the emissions likely to result from delay                root cause was determined to be a force               owner or operator of an ethylene
     of repair, and whether the requirements                  majeure event. Keep these records for                 production affected source subject to
     at § 63.1103(e)(7)(i)(A) or (B) were met.                the current calendar year and the past                this subpart shall also submit the
        (iii) The date the repair was                         five calendar years.                                  reports listed in paragraph (a)(10) of this
     completed or, if the repair has not been                    (3) For each release to the atmosphere,            section in addition to the reports listed
     completed, a schedule for completing                     the owner or operator must keep the                   in paragraphs (a)(1) through (8) of this
     the repair.                                              records specified in paragraphs (i)(3)(i)             section, as applicable.
        (2) If the owner or operator chooses to               through (iv) of this section.                         *      *     *     *     *
     monitor the CO2 concentration during                        (i) The start and end time and date of                (7) Startup, Shutdown, and
     decoking as specified in                                 each pressure release to the atmosphere.              Malfunction Reports described in
     § 63.1103(e)(7)(ii), then for each                          (ii) Records of any data, assumptions,             § 63.1111 (except for acrylic and
     decoking cycle, records must be kept for                 and calculations used to estimate of the              modacrylic fiber production affected
     all measured CO2 concentration values                    mass quantity of each organic HAP                     sources, ethylene production affected
     beginning before the expected end of the                 released during the event.                            sources, and polycarbonate production
     air-in decoke time, the criterion used to                   (iii) Records of the root cause analysis           affected sources).
     begin the CO2 monitoring, and the target                 and corrective action analysis
     used to indicate combustion is                           conducted as required in                              *      *     *     *     *
     complete. The target record should                                                                                (9) Within 60 days after the date of
                                                              § 63.1107(h)(3)(iii), including an
     identify any time period the site                                                                              completing each performance test (as
                                                              identification of the affected pressure
     routinely extends air addition beyond                                                                          defined in § 63.2), the owner or operator
                                                              relief device, a statement noting
     the specified CO2 concentration and any                                                                        must submit the results of the
                                                              whether the event resulted from the
     decoke completion assurance                                                                                    performance tests, including any
                                                              same root cause(s) identified in a
     procedures used to confirm all coke has                                                                        associated fuel analyses, required by
                                                              previous analysis and either a
     been removed prior to stopping air                                                                             this subpart according to the methods
                                                              description of the recommended
     addition that occurs after the CO2 target                                                                      specified in paragraph (a)(9)(i) or (ii) of
                                                              corrective action(s) or an explanation of
     is reached.                                                                                                    this section.
                                                              why corrective action is not necessary
        (3) If the owner or operator chooses to               under § 63.1107(h)(7)(i).                             *      *     *     *     *
     monitor the temperature at the radiant                      (iv) For any corrective action analysis               (10)(i) Beginning no later than the
     tube(s) outlet during decoking as                        for which implementation of corrective                compliance dates specified in
     specified in § 63.1103(e)(7)(iii), then for              actions are required in § 63.1107(h)(7), a            § 63.1102(c), within 60 days after the
     each decoking cycle, records must be                     description of the corrective action(s)               date of completing each performance
     kept for all measured temperature                        completed within the first 45 days                    test required by this subpart, the owner
     values and the target used to indicate a                 following the discharge and, for                      or operator must submit the results of
     reduction in temperature of the inside of                action(s) not already completed, a                    the performance test following the
     the radiant tube(s) is necessary.                        schedule for implementation, including                procedures specified in paragraphs
        (4) If the owner or operator chooses to               proposed commencement and                             (a)(10)(i)(A) through (C) of this section.
     comply with § 63.1103(e)(7)(iv), then                    completion dates.                                        (A) Data collected using test methods
     records must be kept that document that                  ■ 25. Section 63.1110 is amended by:                  supported by the EPA’s Electronic
     decoke air is no longer being added after                ■ a. Revising paragraphs (a)                          Reporting Tool (ERT) as listed on the
     each decoking cycle.                                     introductory text, (a)(7), and (a)(9)                 EPA’s ERT website (https://
        (5) If the owner or operator chooses to               introductory text;                                    www.epa.gov/electronic-reporting-air-
     treat steam or feed to reduce coke                       ■ b. Adding paragraph (a)(10);                        emissions/electronic-reporting-tool-ert)
     formation as specified in                                ■ c. Revising paragraphs (d)(1)                       at the time of the test. Submit the results
     § 63.1103(e)(7)(v), then records must be                 introductory text and (d)(1)(i);                      of the performance test to the EPA via


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     CEDRI, which can be accessed through                     which the report is submitted. If you                 extension to the reporting deadline is
     the EPA’s CDX (https://cdx.epa.gov/).                    claim some of the information required                solely within the discretion of the
     The data must be submitted in a file                     to be submitted via CEDRI is CBI, then                Administrator.
     format generated through the use of the                  submit a complete report, including                      (G) In any circumstance, the report
     EPA’s ERT. Alternatively, you may                        information claimed to be CBI, to the                 must be submitted electronically as
     submit an electronic file consistent with                EPA. Periodic Reports must be                         soon as possible after the outage is
     the extensible markup language (XML)                     generated using the appropriate                       resolved.
     schema listed on the EPA’s ERT                           template on the CEDRI website. Submit                    (iv) If you are required to
     website.                                                 the file on a compact disc, flash drive,              electronically submit a report through
        (B) Data collected using test methods                 or other commonly used electronic                     CEDRI in the EPA’s CDX, you may
     that are not supported by the EPA’s ERT                  storage medium and clearly mark the                   assert a claim of force majeure for
     as listed on the EPA’s ERT website at                    medium as CBI. Mail the electronic                    failure to timely comply with the
     the time of the test. The results of the                 medium to U.S. Environmental                          reporting requirement. To assert a claim
     performance test must be included as an                  Protection Agency, Office of Air Quality              of force majeure, the owner or operator
     attachment in the ERT or an alternate                    Planning and Standards, Sector Policies               must meet the requirements outlined in
     electronic file consistent with the XML                  and Programs Division, U.S. EPA                       paragraphs (a)(10)(iv)(A) through (E) of
     schema listed on the EPA’s ERT                           Mailroom (E143–01), Attention:                        this section.
     website. Submit the ERT generated                        Ethylene Production Sector Lead, 109                     (A) You may submit a claim if a force
     package or alternative file to the EPA via               T.W. Alexander Drive, Research                        majeure event is about to occur, occurs,
     CEDRI.                                                   Triangle Park, NC 27711. The same file                or has occurred or there are lingering
        (C) CBI. If you claim some of the                     with the CBI omitted must be submitted                effects from such an event within the
     information submitted under paragraph                    to the EPA via the EPA’s CDX as                       period of time beginning five business
     (a)(10)(i)(A) or (B) of this section is CBI,             described earlier in this paragraph.                  days prior to the date the submission is
     then the owner or operator must submit                      (iii) If you are required to                       due. For the purposes of this paragraph,
     a complete file, including information                   electronically submit a report through                a force majeure event is defined as an
     claimed to be CBI, to the EPA. The file                  CEDRI in the EPA’s CDX, you may                       event that will be or has been caused by
     must be generated through the use of the                 assert a claim of EPA system outage for               circumstances beyond the control of the
     EPA’s ERT or an alternate electronic file                failure to timely comply with the                     affected facility, its contractors, or any
     consistent with the XML schema listed                    reporting requirement. To assert a claim              entity controlled by the affected facility
     on the EPA’s ERT website. Submit the                     of EPA system outage, the owner or                    that prevents you from complying with
     file on a compact disc, flash drive, or                  operator must meet the requirements                   the requirement to submit a report
     other commonly used electronic storage                   outlined in paragraphs (a)(10)(iii)(A)                electronically within the time period
     medium and clearly mark the medium                       through (G) of this section.                          prescribed. Examples of such events are
     as CBI. Mail the electronic medium to                       (A) The owner or operator must have                acts of nature (e.g., hurricanes,
     U.S. EPA/OAQPS/CORE CBI Office,                          been or will be precluded from                        earthquakes, or floods), acts of war or
     Attention: Group Leader, Measurement                     accessing CEDRI and submitting a                      terrorism, or equipment failure or safety
     Policy Group, MD C404–02, 4930 Old                       required report within the time                       hazard beyond the control of the
     Page Rd., Durham, NC 27703. The same                     prescribed due to an outage of either the             affected facility (e.g., large scale power
     file with the CBI omitted must be                        EPA’s CEDRI or CDX systems.                           outage).
     submitted to the EPA via EPA’s CDX as                       (B) The outage must have occurred                     (B) The owner or operator must
     described in paragraphs (a)(10)(i)(A) and                within the period of time beginning five              submit notification to the Administrator
     (B) of this section.                                     business days prior to the date that the
        (ii) Beginning no later than the                                                                            in writing as soon as possible following
                                                              submission is due.                                    the date you first knew, or through due
     compliance dates specified in                               (C) The outage may be planned or
     § 63.1102(c), the owner or operator must                                                                       diligence should have known, that the
                                                              unplanned.                                            event may cause or has caused a delay
     submit all subsequent Notification of                       (D) The owner or operator must
     Compliance Status reports required                                                                             in reporting.
                                                              submit notification to the Administrator                 (C) The owner or operator must
     under paragraph (a)(4) of this section in                in writing as soon as possible following
     PDF format to the EPA via CEDRI,                                                                               provide to the Administrator:
                                                              the date you first knew, or through due                  (1) A written description of the force
     which can be accessed through EPA’s                      diligence should have known, that the
     CDX (https://cdx.epa.gov/). All                                                                                majeure event;
                                                              event may cause or has caused a delay                    (2) A rationale for attributing the
     subsequent Periodic Reports required                     in reporting.
     under paragraph (a)(5) of this section                                                                         delay in reporting beyond the regulatory
                                                                 (E) The owner or operator must                     deadline to the force majeure event;
     must be submitted to the EPA via CEDRI                   provide to the Administrator a written
     using the appropriate electronic report                                                                           (3) Measures taken or to be taken to
                                                              description identifying:                              minimize the delay in reporting; and
     template on the CEDRI website (https://                     (1) The date(s) and time(s) when CDX
     www.epa.gov/electronic-reporting-air-                                                                             (4) The date by which you propose to
                                                              or CEDRI was accessed and the system
     emissions/compliance-and-emissions-                                                                            report, or if you have already met the
                                                              was unavailable;
     data-reporting-interface-cedri) for this                    (2) A rationale for attributing the                reporting requirement at the time of the
     subpart beginning no later than the                      delay in reporting beyond the regulatory              notification, the date you reported.
     compliance dates specified in                            deadline to EPA system outage;                           (D) The decision to accept the claim
     § 63.1102(c) or once the report template                    (3) Measures taken or to be taken to               of force majeure and allow an extension
     has been available on the CEDRI website                  minimize the delay in reporting; and                  to the reporting deadline is solely
     for one year, whichever date is later.                      (4) The date by which you propose to               within the discretion of the
     The date report templates become                         report, or if you have already met the                Administrator.
     available will be listed on the CEDRI                    reporting requirement at the time of the                 (E) In any circumstance, the reporting
     website. The report must be submitted                    notification, the date you reported.                  must occur as soon as possible after the
     by the deadline specified in this                           (F) The decision to accept the claim               force majeure event occurs.
     subpart, regardless of the method in                     of EPA system outage and allow an                     *      *     *     *      *


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        (d) * * *                                             include the information specified in                  pressure monitor(s) on the main flare
        (1) Contents. The owner or operator                   paragraphs (d)(1)(v)(A) and (B) of this               header show the burners operating
     shall submit a Notification of                           section.                                              outside the range of the manufacturer’s
     Compliance Status for each affected                         (A) A description of the monitoring                specifications.
     source subject to this subpart containing                system to be implemented, including                      (vi) For pressure-assisted multi-point
     the information specified in paragraphs                  the relief devices and process                        flares, the periods of time when the
     (d)(1)(i) and (ii) of this section. For                  parameters to be monitored, and a                     staging valve position indicator
     pressure relief devices subject to the                   description of the alarms or other                    monitoring system indicates a stage
     requirements of § 63.1107(e)(3), the                     methods by which operators will be                    should not be in operation and is or
     owner or operator of an acrylic and                      notified of a pressure release.                       when a stage should be in operation and
     modacrylic fiber production affected                        (B) A description of the prevention                is not.
     source or polycarbonate production                       measures to be implemented for each                      (5) Ethylene production maintenance
     affected source shall also submit the                    affected pressure relief device.                      vent reports. For maintenance vents
     information listed in paragraph                          *       *    *     *     *                            subject to the requirements
     (d)(1)(iii) of this section in a supplement                 (e) * * *                                          § 63.1103(e)(5), Periodic Reports must
     to the Notification of Compliance Status                    (1) Contents. Except as specified in               include the information specified in
     within 150 days after the first applicable               paragraphs (e)(4) through (8) of this                 paragraphs (e)(5)(i) through (iv) of this
     compliance date for pressure relief                      section, Periodic Reports shall include               section for any release exceeding the
     device monitoring. For flares subject to                 all information specified in this subpart             applicable limits in § 63.1103(e)(5)(i).
     the requirements of § 63.1103(e)(4), the                 and subparts referenced by this subpart.              For the purposes of this reporting
     owner or operator of an ethylene                         *       *    *     *     *                            requirement, owners or operators
     production affected source shall also                       (4) Ethylene production flare reports.             complying with § 63.1103(e)(5)(i)(D)
     submit the information listed in                         For each flare subject to the                         must report each venting event
     paragraph (d)(1)(iv) of this section in a                requirements in § 63.1103(e)(4), the                  conducted under those provisions and
     supplement to the Notification of                        Periodic Report shall include the items               include an explanation for each event as
     Compliance Status within 150 days after                  specified in paragraphs (e)(4)(i) through             to why utilization of this alternative was
     the first applicable compliance date for                 (vi) of this section in lieu of the                   required.
     flare monitoring. For pressure relief                    information required in § 63.999(c)(3) of                (i) Identification of the maintenance
     devices subject to the pressure release                  subpart SS.                                           vent and the equipment served by the
     management work practice standards in                       (i) Records as specified in                        maintenance vent.
     § 63.1107(h)(3), the owner or operator of                § 63.1109(e)(1) for each 15-minute block                 (ii) The date and time the
     an ethylene production affected source                   during which there was at least one                   maintenance vent was opened to the
     shall also submit the information listed                 minute when regulated material is                     atmosphere.
     in paragraph (d)(1)(v) of this section in                routed to a flare and no pilot flame or                  (iii) The LEL, vessel pressure, or mass
     a supplement to the Notification of                      flare flame is present. Include the start             of VOC in the equipment, as applicable,
     Compliance Status within 150 days after                  and stop time and date of each 15-                    at the start of atmospheric venting. If the
     the first applicable compliance date for                 minute block.                                         5 psig vessel pressure option in
     pressure relief device monitoring.                          (ii) Visible emission records as                   § 63.1103(e)(5)(i)(B) was used and active
        (i) Except as specified in paragraphs                 specified in § 63.1109(e)(2)(iv) for each             purging was initiated while the LEL was
     (d)(1)(iv) and (v) of this section, the                  period of 2 consecutive hours during                  10 percent or greater, also include the
     Notification of Compliance Status shall                  which visible emissions exceeded a                    LEL of the vapors at the time active
     include the information specified in this                total of 5 minutes.                                   purging was initiated.
     subpart and the subparts referenced by                      (iii) The periods specified in                        (iv) An estimate of the mass of organic
     this subpart. Alternatively, this                        § 63.1109(e)(7). Indicate the date and                HAP released during the entire
     information can be submitted as part of                  start time for the period, and the net                atmospheric venting event.
     a title V permit application or                          heating value operating parameter(s)                     (6) Bypass line reports. For bypass
     amendment.                                               determined following the methods in                   lines subject to the requirements in
     *      *     *      *     *                              § 63.670(k) through (n) of subpart CC as              § 63.1103(e)(6), Periodic Reports must
        (iv) For each flare subject to the                    applicable.                                           include the date, time, duration,
     requirements in § 63.1103(e)(4), in lieu                    (iv) For flaring events meeting the                estimate of the volume of gas, the
     of the information required in                           criteria in § 63.670(o)(3) of subpart CC              concentration of organic HAP in the gas
     § 63.987(b) of subpart SS, the                           and § 63.1103(e)(4)(iv):                              and the resulting mass emissions of
     Notification of Compliance Status shall                     (A) The start and stop time and date               organic HAP that bypass a control
     include flare design (e.g., steam-                       of the flaring event.                                 device. For periods when the flow
     assisted, air-assisted, non-assisted, or                    (B) The length of time that emissions              indicator is not operating, report the
     pressure-assisted multi-point); all                      were visible from the flare during the                date, time, and duration.
     visible emission readings, heat content                  event.                                                   (7) Decoking operation reports. For
     determinations, flow rate                                   (C) Results of the root cause and                  decoking operations of an ethylene
     measurements, and exit velocity                          corrective actions analysis completed                 cracking furnace subject to the
     determinations made during the initial                   during the reporting period, including                requirements in § 63.1103(e)(7) and (8),
     visible emissions demonstration                          the corrective actions implemented                    Periodic Reports must include the
     required by § 63.670(h) of subpart CC, as                during the reporting period and, if                   information specified in paragraphs
     applicable; and all periods during the                   applicable, the implementation                        (e)(7)(i) through (iii) of this section.
     compliance determination when the                        schedule for planned corrective actions                  (i) For each control measure selected
     pilot flame or flare flame is absent.                    to be implemented subsequent to the                   to minimize coke combustion emissions
        (v) For pressure relief devices subject               reporting period.                                     as specified in § 63.1103(e)(7)(ii)
     to the requirements of § 63.1107(h), the                    (v) For pressure-assisted multi-point              through (v), report instances where the
     Notification of Compliance Status shall                  flares, the periods of time when the                  control measures were not followed.


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       (ii) Report instances where an                         requirement to submit electronic reports              polycarbonate production affected
     isolation valve inspection was not                       required in this subpart to the EPA.                  sources.
     conducted according to the procedures                      (2) Submission of copies. If any State              *     *    *     *    *
     specified in § 63.1103(e)(8).                            requires a notice that contains all the               ■ 27. Section 63.1112 is amended by
       (iii) For instances where repair was                   information required in a report or                   revising paragraph (d)(2) to read as
     delayed beyond 1 calendar day as                         notification listed in this subpart, an               follows:
     specified in § 63.1103(e)(7)(i), report the              owner or operator may send the
     information specified in § 63.1109(h)(1).                appropriate EPA Regional Office a copy                § 63.1112 Extension of compliance, and
       (8) Ethylene production pressure relief                of the report or notification sent to the             performance test, monitoring,
                                                              State to satisfy the requirements of this             recordkeeping and reporting waivers and
     devices reports. For pressure relief
                                                              subpart for that report or notification,              alternatives.
     devices subject to the requirements of
     § 63.1107(h), Periodic Reports must                      except that performance test reports and              *      *    *     *     *
     include the information specified in                     performance evaluation reports required                  (d) * * *
     paragraphs (e)(8)(i) through (iii) of this               under paragraph (a)(10) of this section                  (2) Recordkeeping or reporting
     section.                                                 must be submitted to CEDRI in the                     requirements may be waived upon
       (i) For pressure relief devices in                     format specified in that paragraph.                   written application to the Administrator
     organic HAP gas or vapor service,                        *      *     *     *    *                             if, in the Administrator’s judgment, the
     pursuant to § 63.1107(h)(1), report any                  ■ 26. Section 63.1111 is amended by                   affected source is achieving the relevant
     instrument reading of 500 ppm or                         revising paragraphs (a) introductory                  standard(s), or the source is operating
     greater.                                                 text, (b) introductory text, and (c)                  under an extension of compliance, or
       (ii) For pressure relief devices in                    introductory text to read as follows:                 the owner or operator has requested an
     organic HAP gas or vapor service subject                                                                       extension of compliance and the
                                                              § 63.1111 Startup, shutdown, and                      Administrator is still considering that
     to § 63.1107(h)(2), report confirmation                  malfunction.
     that any monitoring required to be done                                                                        request. Electronic reporting to the EPA
                                                                 (a) Startup, shutdown, and                         cannot be waived, and as such,
     during the reporting period to show                      malfunction plan. Before July 6, 2023,
     compliance was conducted.                                                                                      compliance with the provisions of this
                                                              the requirements of this paragraph (a)                paragraph does not relieve owners or
       (iii) For pressure relief devices in                   apply to all affected sources except for
     organic HAP service subject to                                                                                 operators of affected facilities of the
                                                              acrylic and modacrylic fiber production               requirement to submit electronic reports
     § 63.1107(h)(3), report each pressure                    affected sources and polycarbonate
     release to the atmosphere, including                                                                           required in this subpart to the EPA.
                                                              production affected sources. On and
     duration of the pressure release and                     after July 6, 2023, the requirements of               *      *    *     *     *
     estimate of the mass quantity of each                    this paragraph (a) apply to all affected              ■ 28. Section 63.1113 is amended by
     organic HAP released; the results of any                 sources except for acrylic and                        revising paragraph (a)(2) to read as
     root cause analysis and corrective action                modacrylic fiber production affected                  follows:
     analysis completed during the reporting                  sources, ethylene production affected                 § 63.1113 Procedures for approval of
     period, including the corrective actions                 sources, and polycarbonate production                 alternative means of emission limitation.
     implemented during the reporting                         affected sources.
     period; and, if applicable, the                                                                                  (a) * * *
                                                              *      *     *    *     *                               (2) Any such notice shall be
     implementation schedule for planned                         (b) Startup, shutdown, and
     corrective actions to be implemented                                                                           published only after public notice and
                                                              malfunction reporting requirements.                   an opportunity for public comment.
     subsequent to the reporting period.                      Before July 6, 2023, the requirements of
     *      *     *    *     *                                this paragraph (b) apply to all affected              *     *    *     *    *
       (g) * * *                                              sources except for acrylic and                        ■ 29. Section 63.1114 is amended by
       (1) Submission to the Environmental                    modacrylic fiber production affected                  revising paragraph (b) introductory text
     Protection Agency. All reports and                       sources and polycarbonate production                  and adding paragraph (b)(6) to read as
     notifications required under this subpart                affected sources. On and after July 6,                follows:
     shall be sent to the appropriate EPA                     2023, the requirements of this paragraph              § 63.1114 Implementation and
     Regional Office and to the delegated                     (b) apply to all affected sources except              enforcement.
     State authority, except that request for                 for acrylic and modacrylic fiber
                                                                                                                    *      *     *      *     *
     permission to use an alternative means                   production affected sources, ethylene
                                                                                                                       (b) In delegating implementation and
     of emission limitation as provided for in                production affected sources, and
                                                                                                                    enforcement authority of this subpart to
     § 63.1113 shall be submitted to the                      polycarbonate production affected
                                                              sources.                                              a state, local, or tribal agency under
     Director of the EPA Office of Air Quality
                                                                                                                    subpart E to this part, the authorities
     Planning and Standards, U.S.                             *      *     *    *     *                             contained in paragraphs (b)(1) through
     Environmental Protection Agency, MD–                        (c) Malfunction recordkeeping and
                                                                                                                    (6) of this section are retained by the
     10, Research Triangle Park, North                        reporting. Before July 6, 2023, the
                                                                                                                    EPA Administrator and are not
     Carolina, 27711. The EPA Regional                        requirements of this paragraph (c) apply
                                                                                                                    transferred to the State, local, or tribal
     Office may waive the requirement to                      only to acrylic and modacrylic fiber
                                                                                                                    agency.
     submit a copy of any reports or                          production affected sources and
     notifications at its discretion, except                  polycarbonate production affected                     *      *     *      *     *
     that electronic reporting to CEDRI                       sources. On and after July 6, 2023, the                  (6) Approval of an alternative to any
     cannot be waived, and as such,                           requirements of this paragraph (c) apply              electronic reporting to EPA required by
     compliance with the provisions of this                   only to acrylic and modacrylic fiber                  this subpart.
     paragraph does not relieve owners or                     production affected sources, ethylene                 [FR Doc. 2020–05898 Filed 7–2–20; 8:45 am]
     operators of affected facilities of the                  production affected sources, and                      BILLING CODE 6560–50–P




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